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           Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 2 of 71




   Complete items 1, 2, and 3.                                  A. si   are
   Print your naMe and address on the reverse                                                                  0 Agent
   so that we can return the card to you.
                                                                x                                              0 Addressee
   Attach this card to the back of the mailpiece,                  Rec lved b doted Nam)                   C. Date     i}rery
                                                                          „                                        L
   or on the front if space permits.                             C~                  ~5 P'                  ~-' rl
1. Article Addressed to:                                        D: Is delivery address dbrent.frorn item 1? -❑ Yes
                                                                   if YES, enter delivery address below:- . Q No
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PS Form 3811, July 2015 PSi4 7530-Q2-000-9053                                                        Domestio Return Receipt




                                                                                                       First=Class Mall
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                                                                                                                           --


Requesting Reviewf Afidavit
2 messages

Allen Pendergrass <pendergrassallen@gmail.com>                                               Sat, Mar 17, 2018 at 12:54 PM
To: Robert Citronberg <rcitronberg@gmail.com>

 To: Robert Citronberg
 From: Allen Pendergrass

 Mr. Citronberg, I would apprecate if you could review the attached Affidavit and supporting documents for submission to
 the court. I would like for you to review and recommend changes or suggestions on how to proceeds.

 Thank You
 Allen Pendergrass

  15 attachments
      TABLE OF CONTENT EXHIBITS 3.xlsx
      13K
      AFFIDAVIT.docx
      29K
      EXHIBIT A - NUF 2001 TAX RETURN.pdf
      317K

      EXHIBIT B - NUF 2002 TAX RETURN.pdf
      613K
      EXHIBIT C - GWS 2002 TAX RETURN.pdf
      439K
      EXHIBIT D - GWS 2003 TAX RETURN.pdf
      486K
      EXHIBIT E - GWS 2004 TAX RETURN.pdf
      339K
      EXHIBIT F - GWS 2006 TAX RETURN.pdf
      289K
      EXHIBIT G -GWS 2007 TAX RETURN.pdf
      202K
      EXHIBIT H - GWS 2008 TAX RETURN.pdf
      282K
      EXHIBIT I - GWS 2009 TAX RETURN.pdf
      160K
      EXHIBIT J - 2010 IRS TAX TRANSCRIPT.pdf
      16K
      EXHIBIT K - 2011 IRS TAX TRANSCRIPT.pdf
      15K
      EXHIBIT L - GWS 20012 TAX RETURN.pdf
      366K
      EXHIBIT M - CLAIM STATUS REPORT 2004-2012.pdf
      38K
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UNITED STATES OF AMERICA,

               Plaintiff,             CRIMINAL ACTION

       v.

ALLEN J PENDERGRASS,                  No. 1:17-CR-224-AT-CMS

               Defendant.




I, Allen James Pendergrass of flesh and blood states I am not a
corporation. I currently reside at 230 Camelot Drive,
Fayetteville, GA 30214 and I am employed by Healing Hearts
Counseling Center, LLC as Project Manager. From 1999 to 2002 I was
employed by National Unclaimed Funds,Inc (NUF) as President and
from 2002 thru 2013 I was employed by Guishard, Wilburn & Shorts,
LLC (GWS)as Vice President & President. I declare that I am of
majority and competent to state the matters set forth herein with
first-hand knowledge of the facts and that they are true, correct,
not misleading, and certain, admissible as evidence. I, Allen
James Pendergrass makes oath and says:
    1.It is a fact that, I did attach to this affidavit and marked
      as Exhibit A is a true copy of National Unclaimed Funds, Inc
      (NUF) 2001 Corporate tax return, (See Cost of Goods Sold) NUF
      did assist and pay to all of its multiple clients a full
      return of their unclaimed funds in the amount of
      $2,025,237.00 from its income received.

    2. It is a fact that, I did attach to this affidavit and marked
       as Exhibit B is a true copy of National Unclaimed Funds, Inc
       (NUF) 2002 Corporate tax return, (See Cost of Goods Sold).

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      NUF did assist and pay to all of its multiple clients a full
      return of their unclaimed funds in the amount of $930,096.00
      from its income received.

    3. It is a fact that, I did attach to this affidavit and marked
       as Exhibit C is a true copy of Guishard, Wilburn & Shorts,
       LLC (GWS) 2002 Corporate tax return, (See Cost of Goods
       Sold). GWS did assist and pay to all of its multiple clients
       a return of their unclaimed funds in the amount of
       $2,530,080.00 from its income received.

    4.It is a fact that, I did attach to this affidavit and marked
      as Exhibit D is a true copy of Guishard, Wilburn & Shorts,
      LLC (GWS) 2003 Corporate tax return, (See Cost of Goods
      Sold). GWS did assist and pay to all of its multiple clients
      a return of their unclaimed funds in the amount of
      $1,763,364.00 from its income received.

    5. It is a fact that, I did attach to this affidavit and marked
       as Exhibit E is a true copy of Guishard, Wilburn & Shorts,
       LLC (GWS) 2004 Corporate tax return, (See Cost of Goods
       Sold). GWS did assist and pay to all of its multiple clients
       a return of their unclaimed funds in the amount of
       $791,906.00 from its income received.

    6.It is a fact that, I did attempt to locate and recover the
      2005 tax returns on behalf Guishard, Wilburn & Shorts, LLC by
      contacting the IRS, but I was unsuccessful in obtaining said
      tax returns.

    7. It is a fact that, I did attach to this affidavit and marked
       as Exhibit F is a true copy of Guishard, Wilburn & Shorts,
       LLC (GWS) 2006 Corporate tax return, (See Cost of Goods
       Sold). GWS did assist and pay to all of its multiple clients
       a return of their unclaimed funds in the amount of
       $811,212.00 from its income received.

    8.It is a fact that, I did attach to this affidavit and marked
      as Exhibit G is a true copy of Guishard, Wilburn & Shorts,
      LLC (GWS) 2007 Corporate tax return, (See Cost of Goods
      Sold). GWS did assist and pay to all of its multiple clients
      a return of their unclaimed funds in the amount of
      $619,783.00 from its income received.




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       Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 6 of 71


     9.It is a fact that, I did attach to this affidavit and marked
       as Exhibit H is a true copy of Guishard, Wilburn & Shorts,
       LLC (GWS) 2008 Corporate tax return, (See Cost of Goods
       Sold). GWS did assist and pay to all of its multiple clients
       a return of their unclaimed funds in the amount of
       $478,511.00 from its income received.

10. It is a fact that, I did attach to this affidavit and marked
  as Exhibit I is a true copy of Guishard, Wilburn & Shorts, LLC
  (GWS) 2009 Corporate tax return, (See Cost of Goods Sold). GWS
  did assist and pay to all of its multiple clients a return of
  their unclaimed funds in the amount of $616,712.00 from its
  income received.

11. It is a fact that, December of 2009 thru 2010, my wife Judy
  Pendergrass who was at the time President and CEO of Guishard
  Wilburn & Shorts, LLC became ill with Ovarian Cancer and died.
  We closed all operations.

12. It is a fact that, I did attach to this affidavit and marked
  as Exhibit J is a true copy of Guishard, Wilburn & Shorts, LLC
  (GWS) 2010 Internal Revenue Service Account Transcript (Zero
  Balance).

    13. It is a fact that, I did attach to this affidavit and marked
      as Exhibit K is a true copy of Guishard, Wilburn & Shorts, LLC
      (GWS) 2011 Internal Revenue Service Account Transcript (Zero
      Balance).

    14. It is a fact that, I did attach to this affidavit and marked
      as Exhibit L is a true copy of Guishard, Wilburn & Shorts, LLC
      (GWS) 2012 Corporate tax return, (See Cost of Goods Sold), GWS
      did assist and pay to all of its multiple clients a return of
      their unclaimed funds in the amount of $427,835.00 from its
      income received.


    15. It is a fact that, I did attach this affidavit and marked as
      Exhibit M is true copy of (GWS Claim Status Report) Guishard,
      Wilburn & Shorts, LLC database records from 2004 thru 2009.
      GWS did mail letters thru the US Postal Service in excess of
      993 notification's to client's and called 608 client's in
      order to assist 151 clients in receiving their lost treasure
      in excess of $3,237,066.30.



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    16. It is a fact that, there is no evidence that I, ALLEN J.
      PENDERGRASS did knowingly and willfully defraud, combine,
      conspire with another to use, without lawful authority, a
      means of identification, signature of another belonging to
      Johnson, Coleman & Stephenson LLC.

    17. It is a fact that, there is no evidence that I, ALLEN J.
      PENDERGRASS did knowingly and willfully defraud, combine,
      conspire with another to use, without lawful authority, a
      means of identification, signature of another belonging to
      Georgia Municipal Association.

    18. It is a fact that, there is no evidence that I, ALLEN J.
      PENDERGRASS did knowingly and willfully defraud, combine,
      conspire with another to use, without lawful authority, a
      means of identification, signature of another belonging to
      Georgia Municipal Association.


    19. It is a fact that, there is no evidence that I, ALLEN J.
      PENDERGRASS did knowingly and willfully defraud, combine,
      conspire with another to use, without lawful authority, a
      means of identification, signature of another belonging to
      Long,Weinbery,Ansley & Wheeler.

    20. It is a fact that, there is no evidence that I, ALLEN J.
      PENDERGRASS did knowingly and willfully defraud, combine,
      conspire with another to use, without lawful authority, a
      means of identification, signature of another belonging to
      James H. Bone, Trustee.

    21. It is a fact that, there is no evidence that I, ALLEN J.
      PENDERGRASS did knowingly and willfully defraud, combine,
      conspire with another to use, without lawful authority, a
      means of identification, signature of another belonging to
      Actor Express.

      I, Allen J. Pendergrass, the authorized representative for
      Trust entity known as ALLEN J. PENDERGRASS ACCT # XXX-XX-XXXX
      and creator of this Affidavit, does hereby confirm and affirm
      that all facts stated are true and correct, complete to the
      best of my knowledge, not misleading, admissible as evidence,
      and are signed under the penalty of perjury.




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                                      IMPORTANT NOTICE:

Receipt of this AFFIDAVIT requires a response as stipulated above,
acquiescence will be your answer to all below statements if
respondents fail or refuse to provide a written response in the form
of a rebuttal Affidavit. Acquiescence means "A person's tacit or
passive     acceptance; implied consent to an act."                                Review Morris vs.
NCR, 44 SW2d 433 which states: "An Affidavit if not contested in a
timely manner is considered undisputed facts as a matter of law."

Date:       1c)y. ~LF   cj



        BY:
        Allen J.         ergraSs, Autnorized Representative

REAFFIRMED ON 11/17/2018                                                 seal

                                      JURAT


State of Georgia              )
                              ) ss:
County of Fayette             )

On                                                     s
          the           day      of           kx,Ou        (                          2018       before

me,._     ~Ulu~                                appeared                                      ,   4,   who

proved to me on the basis of satisfactory evidence to be the person

whose name is subscribed to this instrument and acknowledge to me

that he is the person that executed this instrument. I certify under

PENALTY OF PERJURY under the laws of the Georgia state that the

foregoing paragraph is true and correct.


WITNESS by my hand and official seal
                                tp1EoF•.                      T ARMSTRONG
                                                               Fayette County
                                                           My Commission Expires
                                                  a;


                                                                July 26, 2019

     Signature of Notary Public


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Form1120                         I For calendar year        U.S. Corporaflon Income Tax Return                                                       OMB W IS45M
                                                       2012 or tau year      ning .,          , 20112, ending
hdanat Revue=         V                 ► Inforawflon, about Fai ► 1120 and its separate instruction is at www.                 ~r»tf f~                  2012
                                                                                                                                8 &0WD +er rde*ncatwn nW*W




                          -U
4
                                              COLT,EGE PARK                                              GA 30337                s                        -123 480.
                   ....      UIE      Check if: (1)   inifial ratwn          (2j     Firtai return        (3) U Name change    (4) U Address change
                                                                                                     1
            1a Gross receipts or sales ... . .. . ...................                     lal                        811,60§-.-
             bReturns and allowances ........................                      . .    1b                         464,919.
             c Balance. Subtract line lb from One 1a ...................................                                           1c            ,. 90 .
                                                                                                                                              34§,
            2 Cost of goods goad (attach Form 1125-A) ..................................                                           2            7 13 5 .
    h       3 Gross prafit. Subtract Hoe 2 from One 1c ..............          • ...............                        • ..       3         -81.145.
            4 Dividends (Sdxxkde C, Une 19) .......         . .............................                                  .     4
    M       5 Interest............................... ...................                                                                6
     6 Grass rents ...................                       I . I. I ........................                     B
     7 Cross royalties .................                   . ........................                    ....      7
     8 Capital gain net income (attach Schedule D (Form 1120)) ...................                   • • ....      8
     9 Net gain or (loss) from Form 4797, Part 11, fine 17 (attach Form 4797) ....................                 8
    10 00er k      (see ing" dlons - attach schedule) .................................                           10
    11 Total Inconw. Add lines 3 through 10 .                                                                 . ► ti                                       -al, 145.
    12 Compensation of officers (see instructions -- attach Form 1125-E) .....................                  ► 12
    13 Salaries and wages (less employment credits) ...............................                               13
    14 Repairs and maintenance ....................                        . ...    ................              14                                      _r _
o 0 16 Bad debts ............................                                  ...................                16
                                                                                                                                                                      4.
u
  ~ 17 Taxers and HOW$es.. . ...................                  . ........       .....      ... . .....                                17
  m 18 Interest...........      I .................                 . .....................                                              18
T
0   19 Charitable contributions          .. ....           ....................                  . ......                                19
  T
s   20 Depreciation from Form 4582 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) • .
s o 21 Depletion..............................................                                         . ...                             21
  s 22 Advertising .................................................                                                                     22
r O 23 Pension, profit-sharing. etc, plans ........    • ..............            • .............                                       23
s M 24 Employee benefit programs ........................................                                                                24                      352,
R B 25 Domestic producOon adWitles decbuctiort (attach Forms $903) .                                        ..        ...           25
C $         26 Odw dedoorts (attach staM%wit) 4"             rPp*0M S.SjateMr4 .. . ....................                            26                       8,507.
  t         27 Total deductions. Add frees 12 through 26.................................                                        P. 27                      42,413,
H o         28 Taxable §reorrce before net eperamhg toss deWon and special dsduc titm. Subaacx this 27 from WWII ............       28                    -123,558,
s                                                                                                           294
        g   29a Net operating lass dedrxxion (see instructions) ..............
              b Special deductions (Sdiedute C, line 20) ..................                                 28
              q.M knes 29a and 2g                                                                                                   29c
        c   30 TOM" irtaorne, Subtract line 29c from Nhe 2$ (see instnudior~) .........                        . .... . ... .       30                    -123,558,
X
            3f Toted tax (Schedule J, Pmt 1, Una 11) ....................................                                           31
R R
F A         32 Total payments and refundable credits (Schedule J, Part 11, Fire 21) ...                 .............               32                     ~—
            33 Estimated tax penalty (see instructions). Check If Form 2220 is attached ..............                      ► ®     33
UN 0
   P        34 Amount owed. If One 32 is smaller than the total of him 31 and 33, enter amount owed ...........                     34
D
   T        36 pvorpeymerrt if Hne 32~JsJ W- ttan ,total of Ones 31 and 33, enter amount overpaid                       ........    35
L a
E           36 EnW amour franht-              avant        ~ 20'13 estiraaisd WX .. ►                                I Refundod ► 36
                               rjtsy. I decW6 Bret t have    Ace rebnrt krL tsow r pwa*q **v*ms as sw m ok era so a* bad at ray w000dw             May th RS dr wss
             aid    . e rw                                          r (carer   fe~syer) Is bead on Wt  arNtt preps her ery WwwieUpa•               ore,
Sign                                                                                                                                                       oast~berow
)i6re              r A. "                                                      iO4/I6114                     PRF SIDEN~              _                    ~?      ,
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Preparer               enema                  se1f-                                                                       r"~hhe ~       ►    ..
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                                                                                                            MAOM 11A3M2                             Farm
          Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 10 of 71




                                    W1                                                           XX-XXXXXXX                     Page 2
                                                                                 (a) Dividends    (b) Percentage    (c) Spekal dbucdons
                                                                                   received                                ( X
1 DWIdends from fens-them               domestic corporations (Other
  than debt-financed stock)........................                                                      70
2 Dividends from 20%ar-mo              domestic corporations (other
  than debt-Inanced stock).......................                         .                              80
3 Dividends on debt-        d stock of domestic and                                                     see
  foreign corporations .........................                          .                          instructions
4 Dividends on certain preferred stock of Wss4hw2WkomW
  public utBties .............                ..............              .
8 Dividends on certain preferred stock of 245 -or
  public utilities .............................                          .                              48
B Dividends from less-than-M-owned foreign oorporatiom and
  certain FSCs .............................                              .                              70
7 Dividends from 20%-or                foremen corporations and
  certainFSCs .... ...................                                    .                              80

 8 Dividends from wholly owned foreign subsidiaries........... .                                        100

 9 Total. Add fines 1 through 8. See instructions for drrvfation ......   .
10 Dividends from domestic corporations received by a small business
   investment company operaWtg under the Small Business
   Investment Act of 1558 ........................                        .                             100

11 Dividends from affiliated group members ...............                .                             100

12 Dividends from certain FSCs .....................                   .                                100
13 Dividends from foreign oorporations not included on Ones 3.8, 7, 8,
   11,or12• ...............................
14 Income from controlled foreign corporations undersubpart F
   (attach Fomt(s) 5471) ..... , .....                            .... .

13 Foreign dividend gross-up ......................                       .

18 IC-DISC and forma DISC dividends not included on Ones 1, 2, or 3.. -

17 Otherdividends ...........................                             .
18 Deduction for dividends poll on certain pre%fked stock of
   public utilities .............................                         .
18 Tate) dividends. Add fines 1through 17. Enter hens and on
   page 1, line 4 ,                     ......... . .......               r


                                                                                                                        Form 1120




                                                                cPCA%12 111IM2
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Ftmm1120(2012)       GUISHAR) WILBURN SHORTS LLC                                                                  XX-XXXXXXX                     Page3


 1 Check if the corpora6an is a member of a controlled group (attach Schedule O (Form 1120)) ........
 2 Income tax. Check If a qualified personal serAoe corporation
      (seeinstrudions) .....................                          ...... . .................`                0    2
  3 Alternative minimum tax (attach Form 4626) ...................................                                    3
  4 Add tines 2 and 3.. . .............................                                              ..........       4
  5a Foreign tax aWit (attach Form 1118) .......................                             5a
    b Credit from Form 8834, line 30 (attach Form 8834) .. ..........            .......     6b
    c General business credit (attach Form 3800) ...................                         5c
    d Credit for prior year minknurm tax (attach Form 8827) ................                 5d
    e Bond credits from Form 8912 ................                .     ..........           So
  6 Total credits. Add lines 5a through 5e .... . ................................                                 . 6
  7 Subtract tine 6 from lire 4.....................................                                     . ...... . 7
  8 Personal holding company tax (attach                  PH (Farm 1120)) ......       I .         ...........        6
  9 a Recapture of imrestffmM credit (attach Fomn 4255) ...........               L ... .    9a
    b Recapture of tow4noome housing credit (attach Form 8611) .........               ,     8b
    c interest dire under the look-back method — completed long-term     contracts
      (attach Form 8697) ................................                                    9c
    d interest due dander the lock-back method — income forecast method (attach
      Form8M). . . .................................                                         9d
    e Alternative tax on qualifying shipping activities (attach Form 8902) .........       F 9-61-
    f Other (see instructions — attach statement).....................                       9f
 10 total. Add [bias 9a through 9f .... . .....................................                                      10
 11 Total tax. Add lines 7.8. and 10. Enter here and on Dwe 1. tine 31..... .. .......             . ...........     11

12 2011 overpayment aedited to 2012..............              . .... ......................           hx
13 2012 estimated tax payments...... . ....................................                            13
14 2012 refund applied for on Form 4466 ......................................                         14
15 Combine Ones 12, 13, and 14 ...........................................                             1s
16 Tax deposited with Form 7004 ....................................                          ..... I is
17 Withholding (see instructions). .............................                  . .... I .......     17
18 Total payments. Add Canes 15, 16 and i7 ....................................                        18
19 Refundable credits from:
  a Form 2439 ....................................                              19a
  bForm 4136 ..............                 . .....................             19 b
  c Form 8,827 fine 8c ...................                .............         19C
  d Other (attach statement — see instructions) ....................            19d
20 Total credits. Add Ones 19a through 19d .....................................                       20
21 Taut navnwnfa and madihL Add Ynas 1A and ?(1 Fninr ham and on awe 1. IMA 32 . ........     ...... 1 21

  1 Check accounting method             a EjCash          b UAca ral          c UOther (specify) ►      — — — — — — — — — -- — — —           Yw NO
  2 See the Instructions and enter Uwe.
   a Busiwwss activity code no, ►     561_44.Q -----------               - --------          - ----- -------                  ---_
    b Business akxi*P, 9_tbAr ZeSY;LGq                                                                      _._.._—__—_—__
   cProductor rvice®            OLIZqT ,Q~1̀—.....__—_.-------__..._...______________________.
  3 is the corporation a subsidiary In an sMated group or a parent-subsidiary controlled group? ....................                               X
    If'Yes; entername andEiNoftheparentcorporation I- --------------------------------
    ---------------------------------------                                                 - -------------------                        -
  4 At the end of the tax year.
   a Did any foreign or domestic corporation,             (Iwc             e+>tl~f treated as a          ), bust, or tank-exempt
     organization own directly 2D% or more, or own, directly ar            , 50% or more of ft total voting power of all         of
     the corporation's stock entitled to vote? if Ye&' complete Part I of Schedule G (Form 1120) (attach Schedule G) .....          I .... ,       X
   b Din any Individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of
     all dosses of tha corporation's rdeak anMd td vete0 tf 'Yps' camnlele Part 11 of Schedule G (Form 1120) (art Sctedule G) ......         X
                                                                  cacacnac 12128n2                                                 Form 1120 (2012)
            Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 12 of 71




FWm1120 (2012)        GUISHARD WILBURN SHOATS LLC                                                        XX-XXXXXXX                                Page4
l4to-ho'diallaW     IfUharinfftrnss4tnn nnnHns#otr laaa ano-tner4innal
  S At fie end of the tax year, did the corporation:                                                                                           Yea   No
   a Own ditedly 20% or more, or own,directly or indirectly.50% or more of the total voting power of ail dosses of stock entitled
     to       any foreign or dornesticcorporation not included on f=orm 051, Affiliations Schedule? For nztes~ of constructive
     ownership, see instructions.          .................                    ...... .......................                                           X
     lf'Ye-%' complete (i through (iv) below.
                                                                                 (ii Errrhxver              (N3) Cou      of          (iv) Pfercentage
                        (1) Nam of C                                         identi          umber           1                    Owned in VdM Stock
                                                                                      if a




    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of W% or more in any foreign or domestic           yvid Ko
      pmb>erft (including an entity treated as a partnership) or in the beneficial interest or a trust? For ndes of constnerttve
     owrership, seeInsWdtons                  ...............................................                                                            X
     if'Yes: complete (i) through (iv) below.
                                                                   @) Employer     (m) County of                                     (fir) Maximum
                           (1) Name of Entity                                          i Ntmrber
                                                                             Mertificalon                     Organization        peroprltage Owned In
                                                                                                                                   e            Capital —




  s During this tax yeas, did fie corporation pay dividends (other than stock dividends and distributions In exchange for stock) in
    excess of the corporation's currant and accumulated earnings and profits? (See sections 301 and 316.) ...............                                X
    If'Yes; file Form 5452,Corporate Report of Nondividerd Distributions.
     If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary
  7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 260A of (a) the total voting power of
     all dosses of Nee corporalloWs stack entitled to vote or (b) the total value of all classes of the corporatioWs stock? ..........                   X
     For rules of attribution, we section 3% if'Yes; enter.
     (1) Percentage owned ► --_---. (H)                                        ' _ _-- _ r------------ - --- --
     (c) The corporation may have to tide Form and    5472, information
                                                              Owners country
                                                                        Return of a 25% Foreign-Owned U.S. Corporation or a Foreign +   _
     Corporaton Engaged in a U.S. Trade or Business. Enter the number of Forms $472 attached ►                 _ — _ _ — —_ _ — — _
  8 Check this box If the corporation issued publicly offered debt instruments with ottginrat issue discount ............. --         ►
     Ichecked,the corporation may have to tie Forty 8281,hNdmWo t Return for Pug"f MPW Original issm {7iscoW hMmxft
  9 Enter the amount of tax-exempt interest received or accrued during the tax year ►              $ — —-- — — — — — — — — — — — — — — —
 10 tinter the number of shareholders at the end of the tax year (if 100 or bw er) ►          1— —— _ _               __
 11 if the corporation has an NOI. for the lax year and is electing to forego the carrybardc period, check here ..        .. _ _ _ _ ®~ _
     If the corporation is filling a consolidated return,the statement required by Regulations section 1.1602-21(b)(3) must the
     attached or the election veinnot be valid.
 12 Etter the awmlabieNOl.carryoverkom prior tax yeam (do notreduce8by any deduction anIm29a.) ► $—___r--------------
 13 Are the corporation's total receipts (tine 1c plus fines 4 through 10 on page 1) for the tax year and its total assets at the and
     of the tax year less than fell,000?.................................................                                                                X
     If'Yes; the corpor On is not           rred OD ownp~te Schedules 1, M-1, and M-2 on page S. Instead, enter
     tine tarsi em ourd of rash d=             and the book value property distributions(other than cash)
     made durlrg the tax year.                           __—_— _ -
 14 Is the corporation               to ►$_---_
                                        Re Schedule UTP (Form 1120), Uncertain Tax Position SYaternent (see indrucoons)?..........                       X
      W'Yes,' complete a~ttac h Schedule UTP.
 ISa Did the corporation make any payments in 2012 that would require N to file Fonn(s)10"? .....................                                        X
   b if'Yes; did or will the corporation file required Forms 1099? ................... ................ .
 16 During this tax Year, did the corporation have an 80% or more change In ownership, including a charge due to redemption of
     itsown stock? ...........................................................                                                                           X
 17 During or subsequent to this tax year, but before the h'fing of this return, did the corporation dispose of male than 66% (by
    value) of its assets in a taxable, non-taxable, or tax deferred transaction?..............................                                           X
 18 Did the corporation receive assets in a section 351 hansfer in which any of the transbrred assets had a fair market basis or
    fair market value of more than $1 million                                                                                                            X
                                                                    CPCA0234 12M2                                                       "M .112U tzulz)
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                                                                                                        74—                                     5

                         Assets
 iCash......................
 2 a Trade notes and accounts receivable .....            .
   b Less allowance for bad debts .........               .
 3 Inventories ..................                         .
 4 U.S. 9ovemment ob#fgalions .........                   .
 6 Tax-exempt securities (see Instnutions) ...            .
 6 Odw lament assets (attach statemeno ........
 7 Loans to shareholders ............                     .
 8 Mortgage and real estate loans ........                .
 9 OBtm' httatsthtents (attach sta   g} . La .9. Stoat:
10a Buildings and other depreciable assets ....           .
   b Less accumulated depreciation .........
14 a Deptetable assets ...............
   b Less accumulated depletion ..........
12 Land (net of any amortization) .........
13a intangible assets (amortizable onty).......
   b Less accumulated amortization .........
14 Other assets (attach statement) .......... .
15 Total assets ..................                                                                                                          4
16 Accounts payable ...............
17 Mortgages, notes, bends payable in less than t year - - .
18 Other flxr d1abi ties (attach Sant)..........
19 Loans from shareholders ............
20 MortyW% notes, bonds payable in 1 year or more .. .
21 Odrer liat>ies (attach statement).......... .
22 Capital stock: a Preferred stock ...... .
                       b Common stock....... .
23 Additional paki-k► capital .... , ..... .
24 Retained ewMp — AWW (att s►mU Ln• 2 4 Stmt
26 Retained earnings — Unappropriated ......
26 A" to s areWd NV ropily (alt s0l) ........
27 Less cost of treasury stock ...........
28 Total liablities and shareholders' eauitv.... .
                      tYete: Schedule M4 required instead of SWedule M-1 if total assets are $10 million or more — see irtstrueGorts
 i Net income (t)ss) per books ...........                    —123,558. 7 rnOoM recorded omt books this year cwt
 2 Federal Income tats per books .........                                         included on this return (itemize):
 3 Excess of capital tosses over capital gains ...                                  Tae-exempt kwenast $_ — — — — — — _ — —
 4 Income sub)ect to tax not veconded on books
   tttis year (#terrirze):                                                        —_----_—_—_--_—_--_--            _---— ——
                                                                                8 Deductions on t#Is retum rat charged
 5— Expenses recorded on books this year not                                        age booir ittcorrw gms year~temixe}:
    deducted on this return (itemize):                                     a Depreciation . $ _ _ — — _ _ _ — — _
  a Depredation • . • $ --_--_--_                                          bCharWecono m$ ------ _„ — _
  bCharitableoxtUdons. $_—_..._—__                                         _—_-----_ —_------__
  cTorm&ewbumnrent . $_-------                                             _                                —_—
  SestnBStmt --------------            0.                                                       ----------
      _                                                               0.1 9 Add Ones 7 and 8........... .
 6— Addrlrslthrouof5 --____—"__                                _123.558. 10                                    ...                     —123.558.

 1 Balance at beginning of year .........                                        5 Distributions ......... a Cash .
 2 Net Income (loss) per books .........                       —123,558.          b 5tak                           c PropeAy
 3 O#w Wreases (maize):                                                          6 Other d            (      ):
  ----------------------                                                                                ,---_—. ' .--
                                                                                 7-----sSa--
                                                                                    Add
  4— Add#ietesl.2.and3 .—~_—_—_- 77                            _123.558.         8 Balance at end ofvarbne4 loss 11w71                 —123,558.
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Form                                                             Cost of Goods Sold
(Rev O8OW4WMiz}                           r Aftech to form 1120, 1120-G. i126-F,1120.•5,1066. or 10658.                        OMB No. 1545-2225

I                                 ® Informatim about Form M&A and its                Is at                     1123&



    1 Inventory at beginning of year .......         . ..................................                                 1                        _
    2 Purchases .................................. .................                                                      2
    3 Costoftabor ............................................. .....                                                     3
    d Adddionet sKtm 263A casks (attach sd ie&M ......................................                                    4
    5 Other costs (attach schedule)...W PtW.QP*k                    ..........................                            8             427 835.
    6 Total. Add Nnes 1 through 6 ...........................................                                             B             427,835.
    7 inventory at end of year .............................................                                              7
    8 Cast of goods stud. Subtract fine 7 from Iine 6. Enter here and on Form 1120, page 1, tine 2 or the
      appropriate Yneof your tax return (see instructions)................................                                a             427 835.
    9 a Che"11 methods used for valuing dosing inventory:
         A) ucost
        (H)     Lower of cost or market
        p7t) {~Jyaher (speaty meuad used and attadt e~tanationl ...         _ _ _ _ _ _ . _ _ _ ~ _ .. m _ — — —
                                                                        —
     b Check if there was a writedown of subnormal goods ...... ..........                 . ............            ...........          y

     o Check If the LIFO Inventory method was adopted this tax year for any goods (if         , attach Form 970) ..............           ►
     d If the LIFO inventory method was used for this tax year, enter amount of dosing Inventory computed
       underLlFO....................................................                                                      8d
  e If property Is produced or acquired for resale, do the rules of section 263A appty to the entity (see Instructions)? .......       yes       Ho
  f Was there any change in determining quantities, cost, or valuations between opaning and
    closing Irmpt       if'Yes; attach explanation .                                                                                 Oyes        No
SAA For Paperwork Reduction Act NoNce, no Inswitoom                                                                         Form i126-A (Rev 12-2012)




                                                                      CPC7o401 12/26/12
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GUISHARD VY1LBURN SHORTS LLC XX-XXXXXXX                                      1

Form 1120, Page 1, Line 26
Other Deductions Statment

BANK CHARGES                                 203.
DUES AND SUBSCRIPTIONS                       100.
INSURANCE                                      0.
JANITORIAL                                 2,075.
LEGAL AND PROFESSIONAL                    16,500.
OFFICE EXPENSE                             21719.
POSTAGE                                    1,621.
PRINTING                                     605.
TELEPHONE                                  5,140.
TRAINING/CONTINUING EDUCATION              9,100_
UTILITIES                                    444._

Total                                      38,507.


Form 1120, Page 5, Schedule L, Line 9
Ln 8 Stmt

                                              Beginning of        End of
Other Investments,                              tax year         tax year

Members Draw                              }                  }     40,000.

Total                                                              40,000.


Form 1120, Page 5, Schedule L, Line 24
Ln 24 Stmt

                                              Beginning of        End of
Retained Earnings — Appropriated.               tax year         tau year

CARRYOVER                                 }       43,899.1       -123,480.

Total                                             43,899.        -123,480.


Fonn 1120, Page 4, Schedule M-1, Line 5
Ln 5 Stmt

Insurance Expense                                0.

Total                                             0.


Form 1125, Line 5
Other Costs Stdoment

Check Cash.in~Payout                      4278,35.

Total                                     427 835.
     S
             Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 16 of 71



            Internal     Revenue Service
             United States    Department of the Treasury
                                 This Product Contains Sensitive Taxpayer Data

                                        Tax Return Transcript
                                                                              Request Date:          08-29-2017
                                                                             Response Date:          08-29-2017
                                                                           Tracking Number:        100348050772


    BIN Provided:               XX-XXXXXXX
    Tax Period Requested:       Dec. 31, 2012
    Form Number:                1120
    Duplicate Amendment Number: 000


    The following items reflect the amount as shown on the return as filed or as adjusted during return
    processing. It does not include adjustments to the account after return settlement.



                                                  Original Return

    NAMES) SHOWN ON RETURN: GUISHARD WILBURN & SHORTS LLC
    ADDRESS:                4854 OLD NATIONAL HWY
                            COLLEGE PARK, GA 30337-6221


     CYCLE POSTED:             201442
'    DLN:           17310-284-07700-4
'    REMITTANCE:                $0.00
f
     RECEIVED DATE:        06-13-2014
1


    Indicators, Codes, and Miscellaneous Information
j   CORRESPONDENCE RECEIVED DATE:                                                                     00-00-0000
    PARENT CORP EIN:
    DESIGNEE CHECKBOX:
    DESIGNEE PHONE NUMBER:
    TOTAL ASSETS:                                                                                  $-123,480.00
    SCH K NET OPERATING LOSS CARRYOVER PRIOR TAX YEARS:                                                   $0.00
    SCH N TOTAL ESTIMATED TAX INCOME EXCLUSION:                                                           $0.00

     Income
    GROSS RECEIPTS OR SALES:                                                                         $811,609.00
    RETURNS AND ALLOWANCES:                                                                          $464,919.00
    NET RECEIPTS PER COMPUTER:                                                                       $346,690.00
    COST OF GOODS SOLD:                                                                              $427,835.00
    COST OF GOODS SOLD PER COMPUTER:                                                                 $427,835.00
    GROSS PROFIT PER COMPUTER:                                                                       $-81,145.00
    DIVIDENDS INCOME:                                                                                      $0.00
    INTEREST INCOME:                                                                                       $0.00
    GROSS RENTS:                                                                                           $0.00
    GROSS ROYALTIES:                                                                                       $0.00
              Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 17 of 71


       hiternal Revenue                        ice
         United States Department of the Treasury
                               This Product Contains Sensitive T4xpayer Data

                                       Account Transcript
                                                                          Request Date:      08-29-2017
                                                                         Response Date:      08-29-2017
                                                                       Tracking Number:    100348051331
FORM NUMBER:       1120
TAX PERIOD:         Dec. 31, 2011


TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX


GUISHARD WILBURN & SHORTS LLC
4854 OLD NATIONAL HWY
COLLEGE PARK, GA 30337-6221-995
« «POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
   --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---


ACCOUNT BALANCE:                               $0.00
ACCRUED INTEREST:                              $0.00   AS OF: Apr. 24, 2017
ACCRUED PENALTY:                               $0.00   AS OF:


ACCOUNT BALANCE PLUS ACCRUALS
(THIS IS NOT A PAYOFF AMOUNT):                 $0.00


          ** INFORMATION FROM THE RETURN OR AS ADJUSTED **
NET RECEIPTS:                                   0.00
TOTAL INCOME:                                   0.00
TOTAL DEDUCTIONS:                               0.00

NET TAXABLE INCOME:                             0.00
MINIMUM TAX AMOUNT:                             0.00
ESTIMATED TAX CREDITS:                          0.00
PERSONAL HOLDING TAX:                           0.00
ES/7004 PAYMENTS CLAIMED:                       0.00
TAX PER RETURN:                                 0.00


RETURN NOT PRESENT FOR THIS ACCOUNT


                                                TRANSACTIONS

 CODE EXPLANATION OF TRANSACTION                                    CYCLE DATE                AMOUNT

 n/a   No tax return filed
 960   Appointed representative                                               11-07-2011          $0.00
 460   Extension of time to file tax return ext. Date 09-15-2012              05-07-2012         $0.00
 960   Appointed representative                                               09-16-2013         $0.00
                   Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 18 of 71


              internalevenService
               United States Department of Treasury
                                              the
    1                                This Product Contains Sensitive Taxpayer Data                            1
                                              Account Transcript
                                                                                  Request Date:      08-29-2017
                                                                                 Response Date:      08-29-2017
                                                                               Tracking Number:    100348051331
    FORM NUMBER:          1120
    TAX PERIOD:           Dec. 31, 2010


    TAXPAYER IDENTIFICATION NUMBER, XX-XXXXXXX


    GUISHARD WILBURN & SHORTS LLC
    4854 OLD NATIONAL HWY
    COLLEGE PARK, GA 30337-6221-995
    ««POWER OF ATTORNEY/TALC INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
           --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---


    ACCOUNT BALANCE:                                 $0.00
    ACCRUED INTEREST:                                 $0.00    AS OF: Apr. 24, 2017
    ACCRUED PENALTY:                                 $0.00     AS OF:
i
    ACCOUNT BALANCE PLUS ACCRUALS
    (THIS IS NOT A PAYOFF AMOUNT):                    $0.00'


                 ** INFORMATION FROM THE RETURN OR AS ADJUSTED **
i
'
I   NET RECEIPTS:                                      0.00
I   TOTAL INCOME:                                      0.00
i
        TOTAL DEDUCTIONS:                              0.00
    NET TAXABLE INCOME:                                0.00
    MINIMUM TAX AMOUNT:                                0.00
    ESTIMATED TAX CREDITS:                             0.00
    PERSONAL HOLDING TAX:                              0.00
    ES/7004 PAYMENTS CLAIMED:                          0.00
        TAX PER RETURN:                                0.00


        RETURN NOT PRESENT FOR THIS ACCOUNT


                                                      TRANSACTIONS

        CODE EXPLANATION OF TRANSACTION                                    CYCLE DATE                 AMOUNT
        n/a    No tax return filed
        960    Appointed representative                                               03-04-2011         $0.00

        960    Appointed representative                                               09-16-2013         $0.00

                                      This Product Contains Sensitive Taxpayer Data
                                   Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 19 of 71
(_j

                                                                                                                                                                                                               1
                                                                                                                                                                                                                        ~
      Form                                                                   VS
                                                                             U.S . Corporation
                                                                                   C orporat ion II ncome Tax Re urn
                                                                                                                                                   #
                                                                                                                                                   t                                          OMB No. 1545-01
                                                 For calendar year 2009 or tax year beginning O1/G1 , 2009, ending 12/31                                                  , 2 0 09                   n~
      Department of the Treasury
      Infernal Revenue Service                                                    ► See separate instructions.                                                                                       ill
                                                                                                                                                                                                     ~N 09
                                                              Name                                                                                                        B Employer tdentlficatton number

                                                              Guishard, Wilburn, & Shorts, LLC                                                                             XX-XXXXXXX
                                                              Number, street, and room or suite number. if a P.O. box, see instructions.                                  C Date incorporated.

                                                              175 Carnegie Place Suite 115                                                                                 11/01/2001
                                                              City or town                                                      state      ZIP code                       D Total assets (see instructions)
                corp (see tnstr)      -Ell                    Fa etteville                                                       GA 30214                                 $                        136,164.
      4         Schedule M-3
                aft—h- 1                n F.         r'hPrk if-   P I        initial rPtr,m        091          Final rP4rrn        AN             NAMP rhannP                Mal        AririrPCC r'hnnni-
                    1 a Gross receipts or sales      681 44 4 , 1 b Less returns & allowances .                                                              c Balance.. ®          1c             681,444.
                    2 Cost of goods sold (Schedule A, line 8) ........... . ....... . ..........................                                        . ..                        2              416,712,
                    3 Gross profit. Subtract line 2 from line 1 c ...... . ........................................                                        . ...... . . ....        3              264,732.
           1        4 Dividends(Schedule C,line 19) ....................................................................                                                            4
          O
          N5          Interest ................      ...................................................................                                                            5
          O         6 Gross rents .........             ................................................................                                                            6
          M         7 Gross royalties ............                       ................. .............................                                                            7
                    8 Capital gain net income (attach Schedule D (Form 1120)) .............................. . .............                                                        8
                    9 Net gain or (loss) from Form 4797, Part 11, line 17 (attach Form 4797) ... . ............. . ..............                                    9
                   10 Other income (see instructions — attach schedule) ........................                     . . . ... . .. . ..........................    10
                   11 Total income. Add lines 3 through 10 .......                                                                                         ...... ® 11                             264,732"
                   12 Compensation of officers (Schedule E, line 4)....................................................... 12                                                                                  _
           13 Salaries and wages (less employment credits)                                                                                                                      13                      54,547.
      E 0F 14 Repairs and maintenance ........ - ..                                                                                                                             14                      7 1 54 9_a
      D
      U   15 Bad debts.........         ............................................                  ......... 15
      C i 16 Rents ...........................................                      ..................          16                                                                                    12,102.
      T            17 Taxes and licenses ..........                                                                                                                             17
      O T                                                                                              .......... 18
        A 18 Interest ............
      N   19 Charitable contributions ........................................................................... 19
        i
               o 20 Depreciation from Form 4562 not claimed on Schedule A or elsewhere on return (attach Form 4562) .... 20
       s       s 21 Depletion ........................................................................................ 21
       E       o 22 Advertising ...................................             ...........--...          ........... 22                                                                                1,854,
       1       N   23 Pension, profit-sharing, etc, plans . ...... . ...... .
                                                                                                                        24                                                                                    8R
                                                                                                                                                                                                               8.
       S        E 24 Employee benefit programs ........................................................................
                                                                                                <
                   25 Domestic production activities deduction (attach Form 8903) .........................................                                                     25
       R c 26 Other deductions (attach schedule) ..See.Other-Deductions.Statement. .............                                                            . . .... . . .. . . 26 1               198,301a
       T 1         27 Total deductions. Add lines 12 through 26 ............. ...................                                 ........ :...............®                    27                  275,161.
                   28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 .... _ ...............                           28                  —10,429.
       N s 29 Less: a Net operating loss deduction (see instructions) ........... . ..............2)a
       S
                             b Special deductions (Schedule C, line 20) ................... . ... 29b                                                                         29c
       T           30 Taxable income. Subtract line 29c from line 28 (see instructions) .........                                                                     .. , .. 30                    —10,429.
       A           31 Total tax (Schedule J, line 10) ................................................................. 31
                   32a 2008 overpayment credited to 2009.. 32a                                                      _
       E
       F N           b 2009 estimated tax payments ....... 32b
       N o             c 2009 refund applied for on Form 4466 ....... 132 c                                             d Bal► 32d
       A a             e Tax deposited with Form 7004 .......................................... 32e
       B                              (1) Form                                   (2) Form
               y       f Credits:         2439                                       4136                                         32f
       E       E     g Refundable credits from Form 3800, line 19c, and Form 8827, line 8c ...... 32g                           32h
       R s         33 Estimated tax penalty (see instructions). Check if Form 2220 is attached ..................... ® 0        33
       E           34 Amount owed. If line 32h is smaller than the total of lines 31 and 33, enter amount owed ........... . .. 34
       0
       T
       1           35 Overpayment. If line 32h is larger than the total of lines 31 and 33, enter amount overpaid               35
       S           36 Enter amount from line 35 you want Credited to 2010 estimated tax .. , . ►                   Refunded ► 36
                     Under penalties of perjury, I declare that I,have examined th is return, including accompanying schedules and statements, and to the best of my knowledge               May the IRS discuss
                     and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.           this return with the
      Sign                                                                                                                                                                                   preparer shown below
      Here                                                +             .•L✓                                                                PRESIDENT                                        (see instructions)?
                                           F
                          Signature of offl r                                                            Date                              Title                                                       Yes         No
                                                                                                                        Date                                        Preparer's SSN or PTIN
                                   Preparer's                                                                                                          iedIf-
      Paid                         signature     ►                                                                                          em ployed
                                                                                                                                            em    y
      Preparers                    Firm's name                Self-Pre            ared                                                                              EiN
                                   <or yours if
      Use Only                     self-emPioyed),    T
                                   adds s, and
                               ZIP code                                                                                                                             Phone no.

      BAA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                               CPCA0212     08125/09                   Form 1120 (2009)
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Form 1120                                                                                                                                                                             XX-XXXXXXX

  1 Inventory at beginning of year ................................................. ........ .............,._... 1
  2 Purchases .............................................................. ............................... 2                                      0.                                                               T

  3    Cost   of   labor   ....................................................................                                                             .......................                       3


  4 Additional section 263A costs (attach schedule) .. . ............................... . ............................., .... 4
  5 Other costs (attach schedule) .......... ................                              ...... . .......................... 5             416,712.
  6 Total. Add lines 1 through 5 .............................. . ...... . .......................................              6            416,712.
  7 Inventory at end of year ................ ...... ........---• ...............................................                7
  8 Cost of goods sold. Subtract line 7 from line 6. Enter here and on page 1, line 2 .................. . . ........ 8                      416,712.
  9a Check all methods used for valuing closing inventory:
        (i)   Cost
       (Ir)   Lower of cost or market
      (iii)   Other (Specify method used and attach explanation) ...... _
                                                                           --------------------------------------
    b Check if there was a writedown of subnormal goods ................                                                                       ® 8
    C Check if the LIFO inventory method was adopted this tax year for anyods       go      (if checked, attach Form 970) .................... b'
      d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of closing inventory
        computed under LIFO .................................................... ............................... 9d
      e If property is produced or acquired for resale, do the rules of section 263A apply to the corporation? ................ . ..                                                                             0 Yes []No
      f Was there any changge in determining quantities, cost, or valuations between opening and
        clnsinn inventnrv? If'Yac ' atrarh a nlanahnn                                                                                                                                                            nYes Xn No
Schedule C I Dividends and Special Deductions                                                                                                (a) Dividends                             (b) Percentage         (c) Special deductions
                           (see instructions)                                                                                                    received                                                           (a) x (b)

  1 Dividends from less-than-20%-owned domestic corporations (other
    than debt-financed stock) .......... ...............................                                                                                                                     70

  2 Dividends from 20%-or-more-owned domestic corporations (other
    than debt-financed stock) .......... ...............................                                                                                                                     80
  3 Dividends on debt-financed stock of domestic and foreign corporations ............                                                                                                 see instructions
  4 Dividends on certain preferred stock of less-than-200/6-owned public utilities .......                                                                                                   42
  5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ........                                                                                                      48
  6 Dividends from less-than-20%-owned foreign corporations and certain FSCs .......                                                                                                         70
  7 Dividends from 20%-or-more-awned foreign corporations and certain FSCs ... _ .....                                                                                                       80
  8 Dividends from wholly owned foreign subsidiaries ...................                                                                                                                    100
  9 Total. Add lines 1 through 8. See instructions for limitation ..........
 10 Dividends from domestic corporations received by a small business investment
    company operating under the Small Business Investment Act of 1958 ... ...........                                                                                                       100
 11 Dividends from affiliated group members ...........................                                                                                                                     100
 12 Dividends from certain FSCs ....... ...............................                                                                                                                     100
 13 Dividends from foreign corporations not included on lines 3, 6,7,8, 11, or 12 .......
 14 Income from controlled foreign corporations under subpart F (attach Form(s) 5471) ...
 15 Foreign dividend gross-up ......... ...............................
 16 IC-DISC and former DISC dividends not included on lines 1, 2, or 3 ....... . . .... . .
 17 Other dividends ................... ...............................
 18 Deduction for dividends paid on certain preferred stock of public utilities ...... , ... .
 19 Total dividends. Add lines I through 17. Enter here and on page 1, line 4 .. , ... , . 110                                       1
                                                                                                                                         1


 20 Total special deductions. Add lines 9, 10, 11, 12, and 18. Enter here and on page 1, line 29b ...............
kSchedule E i Compensation of Officers (see instructions for page 1, line 12)
                           Note: Complete Schedule E oniv if total receipts (line la Alus lines 4 through 10 on paae 1) are $500,000 or more.
  1                                 (a)                                                                    (b)                c) Percent of           Percent of corporation stock owned                          (f) Amount of
                       Name of officer                                                            Social security number     time devoted                                                                         compensation
                                                                                                                              to business           (d) Common              (e) Preferred



                                                                                                                                             %                                    %                       %


  2 Total compensation of officers ......................... _.._............,....,..._............................
  3 Compensation of officers claimed on Schedule A and elsewhere on return . ....................... . .............. .
  4 Subtract line 3 from line 2. Enter the result here and on page 1, line 12 ..................... . . . ................. .
                                                                                                                                                                                                                   rorrn r lzu <<uuzy)



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Form 1120 (2009)        Guishard, Wilburn, & Shorts,                            LLC                                XX-XXXXXXX                                  Page 4
Schedule K              Continued
    b Own directly an interest of 20% or more, or own, directly or indirectly, an Interest of 50% or more in any foreign or domestic
      partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive
      ownership see instructions ...........
      If 'Yes,' complete (i) through (v)
                                                    .............. _ ............................,..................:..............

                                                                                                                                                  (IV) Maximum
                                                                                                                                                              4-  X


                              (i) Name of Entity                                 CH) Employer identification          (Ili) Country of        Percentage
                                                                                                                                                      n     Owned in
                                                                                      Number (if anY)                  Incorporation
                                                                                                                             p                Profit, Loss, or Capital




  6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
    excess of the corporation's current and accumulated earnings and profits? (See sections 301 and 316.) ....... .. ..............                               X
    If 'Yes,' file Form 5452, Corporate Report of Nondividend Distributions.
    If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary
  7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of (a) the total voting power of
    all classes of the corporation's stock entitled to vote or (b) the total value of all classes of the corporation's stock? ...... . .. . . . .                 X
    For rules of attribution see section 318. If 'Yes," enter:
    (i) Percentage owned ►                              and (i) Owner's country ► -----------------------------
                                    -------
    (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
    Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached ►
                                                                                                                                ------------
  8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ................... ►
    If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9 Enter the amount of tax-exempt interest received or accrued during the tax year ► $ — — — — — — — — — — — — — — — — — — — —
 10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) ► ------------          1                              — — — — — _ --
 11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ........... . . . . ►TT
    If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be
    attached or the election with not be valid.
 12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction online 29a ► $                                        27,328.
 13 Are the corporation's total receipts (line la plus lines 4 through 10 on page 1) for the tax year and its total assets at the end
    of the tax year less than $250,000? .................                          ...... ..................... ....... ..............                            X
    If 'Yes,' the corporation is not required to complete Schedules L, M-1, and M-2 on page 5. Instead, enter
    the total amount of cash distributions and the book value property distributions (other than cash)
    made during the tax year. 11$
                                                                                                                                                    Form 1120 (2009)




                                                                           CPCA0234    08/25/09
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Fnrm 112n (9(1()91        Giii charr3_         Wi lhnrn _             9 Rhnri - S.   T.U.                                  XX-XXXXXXX.                               Paae 5
Schedule L               Balance Sheets per Books                               Beginning of tax year                                         End of tax year
                   Assets                                                    (a)                      (b)                           (c)                         (d)
  1 Cash .............. ....................I...                                                       73,142.                                                    43 r 899.
  2a Trade notes and accounts receivable ........                              41,481.                                                 50,566.
   b Less allowance forbad debts ...............                                                           41,481.                               0.              50,566.
  3 Inventories ................................
  4 U.S. government obligations ........ . ...... .
  5 Tax-exempt securities (see instructions) ... .
  6 Other current assets (attach schedule) ..... . .........     .
 7 Loans to shareholders ......................
 8 Mortgage and real estate loans ............. .
 9 Other investments (attach schedule) ................
10a Buildings and other depreciable assets .......                           131, 961.                                              131,961.
   b Less accumulated depreciation ..............                             82,262.                      49 Y 699.                 90,262.                     41,699.
11 a Depietable assets ..........................
   b Less accumulated depletion .................
12 Land (net of any amortization) ............. .
13a Intangible assets (amortizable only) .........
   b Less accumulated amortization ..............
 14 Other assets (attach schedule) ......... _ _ ......
15 Totalassets ...............................                                                         164 322.                                                 136 164.
         Liabilities and Shareholders' Equity
 16 Accounts payable ..........................
 17 Mortgages, notes, bonds payable in less than 1 year ...                                                         0.
 18 Other current liabilities (attach sch) ................
 19 Loans from shareholders .... _ _ ......... .
 20 Mortgages, notes, bonds payable in 1 year or more .... .
 21 Other liabilities (attach schedule) .............. ....
 22 Capital stock: a Preferred stock ............
                           b Common stock ...........                        209 432.                  209,432.                      209 432.                   209,432.
 23 Additional paid-in capital ...................
 24 Retained earnings — Approp (att sch) .. . ..........       .. .                                                                                             —10 ,706.
 25 Retained earnings — Unappropriated ...... _ _                                                      —45,110.                                                 —62,562.
 26    Adimnt to shareholders' equity (att sch) .—.=~ ....... , .
 27 Less cost of treasury stock ............. .....
 28 Total liabilities and shareholders' equity                   164 322.                                                                                       136 1 164.
i Schedule M-1 I Reconciliation of Income (Loss per Books With Income per Return
                  Note: Schedule M-3 required instead of chedule M-1 if total assets are 10 million or more — see instructions
  1 Net income (loss) per books ........ , ... _ _        —10,706. 7 Income recorded on books this year not
  2 Federal income tax per books ...............                               included on this return (itemize):
  3 Excess of capital losses over capital gains ...                                                Tax-exempt interest $— — — — — — _ — _ _ _
  4 Income subject to tax not recorded on books                                                 ______—______ ______
    this year (itemize):                                                                        --_—_---------------
                                                                                               8 Deductions on this return not charged
  5 Expenses recorded on books this year not                                                       against book income this year (itemize):
       deducted on this return (itemize):                                                       a Depreciation .. $_ _ — _ — — — — — _ _
      a Depreciation ... _ .. $                                                                  b Charitable conhibns $
                                                                                                                         -----------
                                  -----------
    b Charitable contributions . $ —          200.
    c Travel & entertainment .. $    — —       77.                                         --------------------
                                  -----------
    -----------------------                                                                --------------------
                                                                                   277. 9 Add lines 7 and 8 .............. .......
   6 Add lines 1 through 5 .......................                            —10, 429 . 10 Income ( age 1, line 28) — line 6 less line 9 ... _                 —10, 4 29.
 Schedule M-2 I Analysis of Unappropriated Retained Earnin s per Books Line 25, Schedule L
  1 Balance at beginning of year ................                             —45,110.         5 Distributions ............ _.. a Cash ...
   2 Net income (loss) per books ................                             —10,706.           b Stock                                c Property . .
   3 Other increases (itemize):                                                                6 Other decreases (itemize):
    --------------------                                                                        --------------------
                                                                                               7 Add lines 5 and 6 .....................
    -----------------------
   4 Add lines 1, 2, and 3 .......... .............                           —55, 816.        8 Balance at end of year (line 4 less line 7) ......              —55,816.
                                                                                CPCA0234 08/25/09                                                          Form 1120 (2009)
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       Internal
        United
                c cnuc Service
                   States Department of the Treasury
                               This Product Contains Sensitive Taxpayer Data

                                        Account Transcript
                                                                            Request Date:    08-29-2017
                                                                           Response Date-
                                                                         Tracking Number:   100348051331
FORM NUMBER:       1120
TAX PERIOD:         Dec. 31, 2009


TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX


GUISHARD WILBURN & SHORTS LLC
4854 OLD NATIONAL HWY
COLLEGE PART{, GA 30337-6221-995
« «POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
       --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---


ACCOUNT BALANCE:                                 $0.00
ACCRUED INTEREST:                                $0.00    AS OF: Apr. 24, 2017
ACCRUED PENALTY:                                 $0.00    AS OF: Mar. 15, 2010


ACCOUNT BALANCE PLUS ACCRUALS
(THIS IS NOT A PAYOFF AMOUNT):                   $0.00


               ** INFORMATION FROM THE RETURN OR AS ADJUSTED **
NET RECEIPTS:                              $681,444.00
TOTAL INCOME:                              $264,732.00
TOTAL; DEDUCTIONS:                         6275,1GI.00
NET TAXABLE INCOME:                        -$10,429.00
MINIMUM TAX AMOUNT:                              $0.00
ESTIMATED TAX CREDITS:                           $0.00
PERSONAL HOLDING TAX:                            $0.00
ES/7004 PAYMENTS CLAIMED:                        $0.00
TAX PER RETURN:                                  $0.00
NAICS CD:                                        561440


RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Jan. 26, 2012
PROCESSED DATE                                               Mar. 12, 2012


                                                TRANSACTIONS

                                                                      CYCLE DATE               AMOUNT

 150   Tax return filed                                               201209 03-12-2012           $0.00
 n/a   29310-035-15515-2
 460   Extension of time to file tax return ext. Date 09-15-2010             05-03-2010           $0.00
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Guishard, Wilburn, & Shorts, LLC XX-XXXXXXX

Form 1120, Page 1, Line 26
Other Deductions Statement

Accounting                                         2,275.
Bank charges                                         261.
Computer services and supplies                    10,333.
Dues and subscriptions_                            1,029.
Insurance                                          1,152.
Legal and professional                            76,620.
Meals and entertainment (500)                         78.
Office expense     _                              10,071.
Outside services/independent contractors          15,502.
Postage                                            9,142.
Printing      — —                                    229.
Telephone                                          7,788.
Training/continuing education                      2,212.
Travel                                             7,990.
Utilities                                          6,017.
Data Entry Services                                2,738.
Outsourcing Expenses                              23,698.
Data Expenses                                     20,563.
Pavchex EIB Invoice                                  603.

Total                                            198, 301.
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                        '

Form 1            1                                                                 .   /+
                                                                           U.S Corporation i n come Tax Return
                                                       For calendar year 2008 or tax year beginning , 2009, ending
                                                                                                                                                                                           OMBNo.1545-0123
Department of the Treasu ry
nternal Revenue Service                                                                         ® See se arate instructions.                                                                  2008
                                                                Name                                                                                                    B Employer identification number

                                                                Guishard,Wilburn & Shorts, LLC                                                                           XX-XXXXXXX
                                                                Number, street, and room or suite number. If a P.O. box, see instructions.                              C Date incorporated

                                                                175 Carnegie Place, Suite 115                                                                            11/01/2001
                                                                City or town                                                      state      ZIP code                   D Total assets (see instructions)
               ersona
              corp (see instr):,.
                       service                                  Fayetteville                                                       GA        30214                      $                       164,322.
4             Schedule M•3
              attached .... ,                      E    Check if:   [1)        Initial return        (2)          Final return        [31            Name chance          [41 n     Address chanae
                  1 a Gtoss receipts or sales       94 9, 45 6 . b Less returns & allowances .                     _~       c Balance .. R                                    1c             94 9, 456.
                  2 Cost of goods sold (Schedule A, line 8) ..... . ..................................................:....                                                   2          ;478,     511.
                  3 Gross. profit. Subtract line 2from line 1c ............................................................                                                   3              470, 945.
      1           4         Dividends (Schedule C, line 19)....................................................................                                               4
      N           5         Interest ..'..................                                                                                                                    5
     C
     0            6         Gross rents ......................
                                                             •...:..............................................                                                              6
                  7         Gross royalties ........                                                                                  ........................                7
     M
                  8         Capital gain net income (attach Schedule D (Form 1120)) ............................................                                              8
                 9 Net gain or (loss) from Form 4797, Part 11, line 17 (attach Form 4797) ......................                     . ........ . 9
                10 Other income (see instructions — attach schedule) ............................................................                 10
                11 Total income. Add lines 3 through 10 .........                                               ........................       ® 11                                             470,945.
                 12 Compensation of officers (Schedule E, line 4) ............................                                        .................1...... 12
D _F            13 Salaries and wages (less employment credits) ........................................................                                                     13                 101, 4 68 .
                 14 Repairs and maintenance                                                     ........................................... I ....... 14                                             2,072.
 E        R
U                15 Sad debts..........                                                                                .................................... 15
C~               16 Rents....................... _ ............................                                                           ..............-........ 16                               17,355.
T M              17 Taxes and licenses ........                                                                                              .................... 17
l
p T              18 Interest ..:........................................................................ .............. 18
  A
N T              19 Charitable contributions ................— ........................................................ 19
 S 0             20         Depreciation from Form 4562 not claimed on Schedule A or elsewhere on return (attach Form 4562) .... 20                                                                   2, 878.
 S5              21 Depletion ........................................................................................ 21
 Eo              22 Advertising ....................................................................................... 22                                                                         16,554.
 1 N             23 Pension, profit-sharing, etc, plans ..............                                                    ........                                           23
 N                                                                                                                        ........                                           24                      1,312.
   o
 s E             24 Employee benefit programs ...................
 T D             25 Domestic production activities deduction (attach Form 8903) ..........................................                                                   25
 U c             26 Other deductions (attach schedule) ..See C.then.Deductions.Stat,ement........................................                                             26                 329,306.
 C 1             27 Total deductions. Add lines 12 through 26 ........................................................ ►                                                      27                 470,94 .
 o N             28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ....................                             28                                 0.
 5 s 29 Less: a Net operating loss deduction (see instructions) .......................       . 29a
                    b Special deductions (Schedule C, line 20) ......... ......... .....) 29bl                                                                                29c
 T   30 Taxable income. Subtract line 29c from line 28 (see instructions) .....................................                                                               30                                 0.
 X   31 Total tax (Schedule J, line 10)..........                                          .......... ...................                                                .. 31
 R   32 a 2007 overpayment credited to 2008.. 1 32 a
 F N    b 2008 estimated tax payments .. , .... 32b
   o    c 2008 refund applied for on Form 4466 ....... 32c                             Id7
                                                                                        1Ba      32d
 M
                            Tax deposited with Form 7004..................................                                          32e
 A Pe
 L M                   f Credits: ~1~ 2439                                        ~2~
                                                                                        4136                                        32f

 E EN              g Refundable credits from Form 3800, line 19c, and Form 8827, line              32                                                                         32h
 R s             33 Estimated tax penalty (see instructions). Check if Form 2220 is attached . ........ ..:... .......                                                        33
 E               34 Amount owed. If line 32g is smaller than the total of lines 31 and 33, enter amount owed ..............                                                   34
 D                                                                                                                                                                                                        —
  1              35 Overpayment. If line 32g is larger than the total of lines 31 and 33, enter amount overpaid ..... ........                                                35
 s               36 Enter amount from line 35 you want: Credited to 2009 estimated tax .... `                    Refunded ►                                                   36
                   Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge              May the IRS discuss
                                                                                            (oth than taxpayer) is based on all information of which preparer has any knowledge.
                   and beli~ef,, ft is true, correct, and complete. Declaration of preparer (other                                                                                       Uiis return with the
Sign                              t                                                                                                                                                      ~re         hown
 Here              `         Ll        i       as  ~1Lxru                                               103/13/09                     `      Vice President                              see eInstr
                                                                                                                                                                                               instructionsb)?
                            Signature of offider                                                           Date                              Title                                                  YeS          [jq
                                                                                                                        Date                                      Preparer's SSN or PTIN
                                      Preparer's                                                                                              Check if-self-
 Paid ,                               signature                                                                                               employed
 Preparer' s                          Firm 's name
                                          yours it
                                                                Self—Prepared                                                                                     EIN
 Use Only                             self-employed),
                                      Sel
                                      address, and
                                      ZIP code                                                                                                                    Phone no.
 BAA For Privacy Act and Paperwork Reduction Act NVooce, see separate instructions.                                                                     CPCA0212 12101108                  Form 11ZU (zuU6)
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Form 1120 (2008)       Guishard,Wilburn & Shorts,                        LLC                                   XX-XXXXXXX                               Page4
                       Continued
  5 At the end of the tax year, did the corporation:                                                                                  Yes                   No
   a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled
     to vote of any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive
     ownership see instructions .......... ......................................................     .........................:.....                       X
     If 'Yes,' complete (i) through (iv)

                         (i) Name of Corporation                             (ii) Employer Identification        (M) Country of           (iv) Percentage
                                                                                   Number (if any)                Incorporation         Owned in Voting Stock




   b Own directly 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
     (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership see
     instructions ..............                                                                 ....... ........................                           X
     If 'Yes,' complete (i) through (iv)
                                                                                                                                                      imum
                            (i) Name of Entity                                 u Employer Identification
                                                                              (")                                (iii}       y of       Percentage Owned in
                                                                                  Number (if any)                 Incorporation
                                                                                                                       rpora            Profit, Loss, or Capital




  6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
    excess of the corporation's current and accumulated earnings and profits? (See sections 301 and 316.) ............ . . . .........                      X
    If 'Yes,' file Form 5452, Corporate Report of Nondividend Distributions.
    If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary
  7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of (a) the total voting power of
    all classes of the corporation's stock entitled to vote or (b) the total value of all classes of the corporation's stock? .............              I X
    For rules of attribution see section 318, If 'Yes," enter:
    (i) Percentage owned 0 _ — _          _     and (ii) Owner's country ► _ _ _ _ _ _ _ _ _ _ _ _ _ _
     (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned US. Corporation or a Foreign
     Corporation Engaged in a U.S, Trade or Business. Enter the number of Forms 5472 attached
  8 Check this box if the corporation issued publicly offered debt instruments with original issue discount .............. . .... ►
    If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9 Enter the amount of tax-exempt interest received or accrued during the tax year ► $                                                  _________- _
                                                                                                     ----------
 10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) ►                           ———————_
 11 If the corporation has an NOL for, the tax year and is electing to forego the carryback period, check here ....... . .. . .... ►
    If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be
    attached or the election with not be valid.

 12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction on line 29a ► $— — — — — — — — — — — — — — 2 7L 32 8_
 13 Are the corporation's total receipts (line la plus lines 4 through 10 on page 1) for the tax year and its total assets at the end
    of the tax year less than $250,000? .............              ...... ........ ......... ................................... ......                     X
      If 'Yes,' the corporation is not required to complete Schedules L, M-1, and M-2 on page 5. Instead, enter
      the total amount of cash distributions and the book value property distributions (other than cash)
      made during the tax year. ►$

                                                                                                                                              Form 1120 (2008)




                                                                       CPCA0234    01/09/09
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          Form 1120 (4008)         Guishard,Wilburn & Shorts, LLC                                                                   XX-XXXXXXX                                            Paget
                                 Cost, Of Oaood5 $old See instructions
           1  Inventory at beginning of year .............           .............................................................                          1
           2  Purchases ..............................................................                        ...............................               2
           3 Cost of labor.....:..                                                                                 ...........................              3                               0.
           4 Additional section 263A costs (attach schedule) .....................................            ...............................               4
           5 Other costs (attach schedule) , .. See Other. Casts. Statement........... ............. ........ ........... ....                              5               .478,511.
           6. Total. Add lines 1 through 5 . . .... . ..........            .........................................               I..............         6                478,511.
           7 Inventory at end of year ..........................                                                         ..........:............            7
           8 Cost of goods sold. Subtract line 7 from line 6. Enter here and on page 1, line 2 ............................                                 8                 478,511.
           9a Check all methods used for valuing closing inventory:
                (i) X Cost .
                    60      Lower of cost or market
'-                 (iii)    Other (Specify method used and attach explanation.) .......
                                                                                            -------------                      ----------                             —     — — — — —: —-
     '.          b Check if there was a writedown of subnormal goods .........                ....... ... .........
                                                                                                    ........................................
                                                                                                                                                                                  ®   8

                c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) .... . . . . . . . . . .                         ... i

                 d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of closing inventory
     :.            computed under LIFO ....................................................       ...............................                           9dl
                 e If property is produced or acquired for resale, do the rules of section 263A apply to the corporation? .............                     . .....         Yes            No

                f Was there any change in determining quantities, cost, or valuations between opening and
                  closing inventory? If 'Yes,' attach explanation ......................................................................                               Fhes           X No
            e                     Dividends and Special Deductions                                             (a) Dividends            (b) Percentage              (c) Special deductions
                                  (see instructions)                                                              received                                                 (a) x (b)

            1      Dividends from less-than-20%-owned domestic corporations (other
                   than debt-financed stock) . ............ ___ ................ ......                                                        70

            2 Dividends from 20%-or-more-owned domestic corporations (other
              than debt-financed stock) ...............           :..................       .......                                            80
            3 Dividends on debt-financed stock of domestic and foreign corporations . , ........: .
            4 Dividends on certain preferred stock of less-than-20%-owned public utilities .. , .....                                          42
            5 Dividends on certain preferred stock of 20%-or-more-owned public utilities .........                                             48
            6 Dividends from less-than-20%-owned foreign corporations and certain FSCs .......                                                 70
            7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs .........                                                 80
            8 Dividends from wholly owned foreign subsidiaries ...................                                                            100
            9 Total. Add lines 1 through 8. See instructions for limitation ......... .
           10      Dividends from domestic corporations received by a small business investment
              company operating under the Small Business Investment Act of 1958 ....... .......                                               100
           11 Dividends from affiliated group members ...........................                                                             100
           12 Dividends from certain FSCs ....... ...............................                                                             10 0
           13 Dividends from foreign corporations not included on lines 3, 6, 7, 8, 11, or 12 ...... .
           14 Income from controlled foreign corporations under subpart F (attach Form(s) 5471)
           15 Foreign dividend gross-up, ........ i .................                     ...........
           16 IC-DISC and former DISC dividends not included on lines 1, 2, or 3 ...... . ........
           17 Other dividends...................             ...............................
           18 Deduction for dividends paid on certain preferred stock of public utilities ...........
           19 Total dividends. Add lines 1 through 17. Enter here and on page 1, line 4 ........
           20: Total special deductions. Add lines 9, 10, 11, 12, and 18. Enter here and on page 1, line 29b ...................                                p
                            Compensation of Officers (see instructions for page 1, line 12)
                                  Nnte_- Cmmnlete Brheduie F nnly if tntal receints (line la plus lines 4 through 70 on Aaae 1) are $500,000 or more.

             1                      (a)                                     (b)                c) Percent of           Percent of corporation stock owned                 (f) Amount of
                                                                                              time devoted                                                                compensation
                               Name of officer                    Social security number       to business            (d) Common             e) Preferred




                                                                                                             %                     %                        %


             2 Total compensation of officers ................................................................................                                                 _
             3 Compensation of officers claimed on Schedule A and elsewhere on return ...............                    . ........ `...............     .
             4 Subtract line 3 from line 2. Enter the result here and on page 1, line 12 ........... . .....................                 . .... I .. .




                                                                                           CPCA0212 12/01/08
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Form 1120 (2008) Guishard,Wilburn & Shorts, LLC                                                                    XX-XXXXXXX                     Page 3
       ~t0       Tax CoM utation_ see instructions
 1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ... ......           El
 2 Income tax. Check if a qualified personal service corporation
    (see instructions) .... _ _ ......I .........................                                               ` ❑          2
 3 Alternative minimum tax (attach Form
                                      _ 4626).               ......... ..... . ......................................        3
 4 Add lines 2 and 3 .........               ...._ _ ............................. _ .............................           4
 5a Foreign tax credit (attach Form 1118) ...........................                   ...   5a
  h Credit from Form 8834 ......................................................              5b
  c General business credit (attach Form 3800) ...................................            5c
  d Credit for prior year minimum tax (attach Form 8827) ........................: .          5d
  e Bond credits from Form 8912 .........:.....'....................... I ....... , .         5e ,
 6 Total credits. Add lines 5a through 5e ...............................
                                                              .          '....................................               6
 7 Subtract line 6from line 4 ........::.:................... ...............................................                7
 8 Personal holding company tax (attach Schedule PH (Form 1120)) ..... ...................... ............. .:                8
 9 Other taxes.       Form 4255       Form 8611        Form 8697
   Check if from:     Form 8866 e                                                                                             9
                                      Form 8902 e Other (att schedule) .................................
10 Total tax., Add lines 7 through 9. Enter here and on page 1, line 31 ............................... . ......... 10
                    Other Information see instructions
 1 Check accounting method             a ® Cash-          b U Accrual          c     Other (specify) ► ----------------                       Yes     No
 2 See the instructions and enter the:
  a Business activity code no. ► " 561440                          --------------------------------_
                                     -------------
   b Business activity ► As set Recovery_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ -- — — — — — — — — — — — — — — — — — — —
   cProductorservice~ Services                                              ---------------------
 3 Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? .................................
                           ----------------------------                                                                                               X
      If 'Yes,' enter name and EIN of the parent corporation ►                                              ——————————- ———
   -------------------------------------                                                -- ---------------------
 4 At the end of the tax year:
   a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), or trust own directly 20%                           V
     or more, or own, directly or indirectly, 50% or more of the total voting power of ail classes of the corporation's stock entitled to
      vote? .......:.:...........................:......................................................................:.....                        X
      For rules of constructive ownership, see instructions. If 'Yes,' complete (i) through v).
                                                            (ii) Employer                                  (iv) Country of           (v) Percentage
                   (i) Name of Entity                        Identification       (M) Type of Entity         Organization         Owned in Voting Stock
                                                           Number (if any)...




   b Did any individual or estate own, directly 20% or more, or own directly or indirectly, 50% or more of the total voting power of
      all classes of the corporation's stock entitled to vote? .....................................................................                  X
      For rules of constructive ownership, see instructions. If 'Yes,' com lete (1) through (iv)
                                                                                                           (iii) Country of          ,v Percentage
                    (i) Name of individual or Estate                        (ii) Identifying Number          Cttizenshi             O in VotinggStock
                                                                                                                                  Owned
                                                                                     (if any)            (see instructions)




BAA                                                                                                                                    r orm .r .rzu (zuuts)
                                                                    CPCA0234 01/09/09
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Fnrm 11,2n (9nnR)         fiii   charri   Wi lhilrn     Z       lqhnri-c _    T.T.r'                                  XX-XXXXXXX                             Paae 5
                         Balance Sheets per Books                            Beginning of tax year                             End of tax year
                           Assets                                       (a)                          (b)                         (c)                    (d)
  1 Cash .:........:.:.........:...............                                                        69,179.                                           73,142.
  2a Trade notes and accounts receivable .......                         40,126.                                                  43, 724.
    bless allowance for bad debts ...............                         5,560.                      .34, 566.                    2,243.                41,481.
  3 Inventories ................................
  4 U.S. government obligations .....:......... .
  5 Tax-exempt securities (see instructions) ....                                                         "
  6 Other current assets (attach schedule) ............. ... .
  7 Loans to shareholders ....... ...........:..
  8 Mortgage and real estate loans .... , ....... , .
  9 Other investments (attach schedule) ................
 10a Buildings and other depreciable assets.......                      131, 961.                                                131,9-61.
    b Less accumulated depreciation ..............                       74,262.                        57,699,                   82, 262.               49,6 9.
 11 a Depletable assets ..........................
    b Less accumulated depletion ................ .
 12 Land (net of any amortization) ............ . .
 13a Intangible assets (amortizable only) ........ .
    b Less accumulated amortization . ............ .
 14 Other assets (attach schedule) ................... .
 15 Total assets ...............................                                                      161, 444.                                         1641-322.
         Liabilities and Shareholders' Equity
 1.6 Accounts payable ..........................
 17 Mortgages, notes, bonds payable in less than 1 year .. .
 18 Other current liabilities (attach sch) ............... .
 19 Loans from shareholders ...................
 20 Mortgages, notes, bonds payable in 1 year or more ... .
 21 Other liabilities (attach schedule) ............. . ... .
 22 Capital stock: a Preferred stock ..........



                                                                                                              1.0[
                           bCommon stock ......,.....                   209, 432.                     209, 432.                  209, 432.              209, 432.
 23 Additional paid-in capital ...................
 24,,. Retained earnings — Approp (att sch) ...... _ ........
 25 Retained earnings — Unappropriated ...... _ OI                                                    -47,                                              —45 110 .
 26 Adimnt to shareholders' equity (att sch) .............. .
 27 Less cost of treasury stock ......
 28 Total liabilities and shareholders' equi                                                          161                                               164 322.
59     t                  Reconciliation of Income (Loss) per Books With Income per Return
                          Note: Schedule M-3 required instead of Schedule M-1 if total assets are 10 million or more — see instructions
   1       Net income (loss) per books ....... . ...... . .                   2 ; 87 8 .      7 Income recorded on books this year not
   2       Federal income tax per books ...............                                         included on this return (itemize):
   3       Excess of capital losses over capital gains ...                                        Tax exempt interest $_ _ _ _
   4       Income subject to tax not recorded on books                                         ———— ——————— —————— ——
           this year (itemize):                                                                ________________                           ___
      ______ ________ ___ ___                                                                 8 Deductions on this return not charged
     5 Expenses recorded on books this year not                                                  against book income this year (itemize):
        deducted on this return (itemize):                                                     a Depreciation     .. $ — — — — — 2,878.
      a Depreciation ....... $                                                                 b charitable contribns$
                                                                                                                       -----------
      b Charitable contributions . $
       --                            -----------                                               —— ——— —— — — — — ————— — ——
      c Travel & entertainment .. $                                                                                                 ______
                                                                                                                                                           2,878.
      ————————————————————— —                                                                  --------------------
                                                            -                                 9 Add lines 7 and 8 .................... .                   2,878.
     6 Add lines 1 through 5 .......................                          2, 87 8 .      10 Income (page 1; line 28) — line 6less line 9 ....              0.
                          anal sis of Unappropriated Retained Earnin s per Books Line 25, Schedule L
     1 Balance at beginning of year ............ , ...                   —47, 988.            5 Distributions ...............       a Cash .. .
     2 Net income (loss) per books ........... . ....                      2 1 87 8 .          b Stock                              c Property . .
     3 Other increases (itemize):                                                             6 Other decreases (itemize):

      ---------------------                                                         --------------------
                                                                                   7 Add lines 5 and 6 .................... .
      -----------------------
     4 Add lines 1, 2, and 3 .......................                     —45,110.1 8 Balance at end of year (line 4 less line 7) ......                  —45,110.
                                                                              CPCA0234     0»09/09                                                   Form 1120 (2008)
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Buis}ard,Wl(bum & Shorts, LLC 74,-3025861

Form 112b, Pagel , Line 26
Other Deductions Statement

 Accotinq
     ur~                                            250
 Bank charges                                       900_._
 Credit and collection costs"                   88,0.93.
 Dues` arid subscriptions '                         405.
-Insurance                                      . 7,717.
 Legal .and professional                        46,779.
 Office"ex erase                                11,727.
 Postage                                        19,682.
 Printing                                   _    3,381._
 Security.                                       11 916.
 Supplies                                       13,856.
 Telephone                                      16,658.
'Training/continuing education                   1,925•
 Travel                                         58,862.                    <,
 Utilities                                      10,587.
 Outsourcing Exp                                32,900.
 Data Entry Services                             5,424.
 Communication Exp                                 479.
 Software Development                            6,450.
 Paychex Exp                                     1,315.

 Total                                          329, 306.


 Form 1120, Page 2, Schedule A, Line 5
 Other Costs Statement

 Other cost of goods -sold -                    478,511.

 Total                                          478, 511.
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       Internal Revenue' Service
         United States Department of the Treasury
                               This Product Contains Sensitive Taxpayer Data

                                       Account Transcript
                                                                           Request Date:     08-29-2017
                                                                          Response Date:     08-29-2017
                                                                        Tracking Number:   100348051331
FORM NUMBER:        1120
TAX PERIOD:         Dec. 31, 2008


TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX


GUISHARD WILBURN & SHORTS LLC
4854 OLD NATIONAL HWY
COLLEGE PARK, GA 30337-6221-995
««POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
       --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---


ACCOUNT BALANCE:                                 $0.00
ACCRUED INTEREST:                                $0.00   AS OF: Apr. 24, 2017
ACCRUED PENALTY:                                 $0.00   AS OF: Mar. 15, 2009


ACCOUNT BALANCE PLUS ACCRUALS
(THIS IS NOT A PAYOFF AMOUNT):                   $0.00


               ** INFORMATION FROM THE RETURN OR AS ADJUSTED **
NET RECEIPTS:                              $949,456.00
TOTAL INCOME:                              $470,945.00
TOTAL DEDUCTIONS:                          $470,945.00
NET TAXABLE INCOME:                              $0.00
MINIMUM TAX AMOUNT:                              $0.00
ESTIMATED TAX CREDITS:                           $0.00
PERSONAL HOLDING TAX:                            $0.00
ES/7004 PAYMENTS CLAIMED:                        $0.00
TAX PER RETURN:                                  $0.00
NAICS CD:                                       561440


RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Mar. 22, 2009
PROCESSED DATE                                                  Apr. 13, 2009


                                                TRANSACTIONS


                                                                     CYCLE DATE               AMOUNT
 150   Tax return filed                                              200913 04-13-2009           $0.00
 n/a   93310-081-00965-9
 960   Appointed representative                                             03-04-2011           $0.00
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Form 1                     -
                                                                       U .J. Corporation Income Tax Return                                                                         OM6 No, 1545-0123
                                            For calendar year 2007 or tax year beginning             2007, ending
Department of the Treasury
Intemai Revenue Service                                                      ® See separate instructions.                                                                             2007
                                                        Name                                                                                                    B Employer identification number

                                                        Guishard,Wilburn & Shorts, LLC                                                                           XX-XXXXXXX
                                                        Number, street, and room or suite number. If a P.O. box, see instructions.                              C Date incorporated
                                                       175 Carnegie Place, Suite 115                                                                             11/01/2001
                                                        Ciiy or town                                                         state    ZIP code                  D Total assets (see instructions)
         corp (see instr) ...                           Fa etteville                                                          GA      30214                     $                      161, 444.
4        Schedule M-3
         ~ii~N,o,a              n     F      ('.11—It if-   M.         Initial r f,,rn       r91            Final rafurn        131           Nnmchanne           (Al        Address rhanne
             1a Gross receipts or sales   1, 251, 2 0 8. 1 b Less returns & allowances .                          c Balance .. °' 1c                                               1,251,208.
             2 Cost of goods sold Schedule A, line 8                  ................................................. 2                                                            619,783.
             3 Gross profit. Subtract line 2 from line 1c ............................................................ 3                                                             631,425.
             4 Dividends (Schedule C, line 19 .......                                   ........... ....... • . .... • • • .. • • • • • 4
    N5               Interest ..........................................................................................                                                5
    c
    0        6 Gross rents ......................................................................................                                                       6
    M        7 Gross royalties                                                                                                                                          7
             8       Capital gain net income (attach Schedule D (Form 1120)) ............................................                                               8
             9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ................................           9
            10 Other income-(see instructions — attach schedule) .. . ......................................................... 10
            11 Total income. Add lines 3 through 10 ................ . ........................................... ® 11                                                                 631,425.
            12 Compensation of officers (Schedule E, line 4)....................................................... 12
D   13 Salaries and wages (less employment credits) ... . .... . .. . .......................................... 13                                                                     220,518.
    14 Repairs
         p—    and maintenance                            ................... . .............................. 14                                                                                ,980.
                                                                                                                                                                                                    --
D R 15 Bad debts
U                ........................................................................................ 15                                                                                 1
C ,         16       Rents ............................................................................................ 16                                                                25,566.
T M 17 Taxes and licenses                                                                                       ..................................... 17                                     2,513.
0    T      18 Interest ................................
                                  ..                    ......................................................
                                                           ..                                                  18
N T 19               Charitable contributions ...........................................................................                                            19
S o 20 Depreciation from Form 4562 not claimed on Schedule A or elsewhere on return (attach Form 4562) .... 20
 sS         21       Depletion .................................................................................1...... 21
 E                                                                                                                       ............ 22                                                  13,983.
            22 Advertising ............
1 N 23 Pension, profit-sharing, etc, plans ................                         ........................................ Y37 ,
N o 24 Employee benefit programs                                                                                       .............. 24                                                     1,493.
T D 25 Domestic production activities deduction (attach Form 8903) ...... . .................................. 25
u c 26 Other deductions (attach schedule) ..See. Other.Deductions.Statement................................ . ....... 26                                                                392,700.
C T
T 1 27 Total deductions. Add lines 12 through 26 ........................ . ...............................                           27                                                658,753.
 oN 28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ....................  28                                                —27,328.
N S 29 Less., a Net operating loss deduction (see instructions) ..........................            I 29 al
                 b Special deductions (Schedule C, line 20) ....................... I 29bj                                            29c
    30 Taxable income. Subtract line 29c from.Iine 28 (see instructions) ............................ . ....... . 30                                                                    —27,328.
            31 Total tax (Schedule J, line 10)                                                                             ..............................               31
            32a 2006 overpayment credited to 2007.. 32 a
     T
     A        b 2007 estimated tax payments , ...... 32b
              c 2007 refund applied for on Form 4466 ....... 32c                                                  d Ball-      32d
     D           e Tax deposited with Form 7004 .......................................... 32e
                 f Credits: (1) o r                                       (2) For                                              32f                                      32
     A
     Y      33       Estimated tax penalty (see instructions). Check if Form 2220 is attached ......... . ........            33
     N      34       Amount owed. If line _, is smaller than the total of lines 31 and 33, enter amount owed ..............~ 34
            35       Overpayment. if li 32g larger than the total of lines 31 and 33, enter amount overpaid ...
            36       Enter amount from (i 35 you w nt: Credited to 2008 e ' tax ..., "                        (    Refunded ► 36
              Under penalties of perju 1 declare        at 1 have exa rye this eet , in tiding accompanying schedules and statements, and to the best of my knowledge            May the IRS discuss
              and belief, it is true, Corr ct, and c      te. Dec         prepay r (    r than taxpayer) is based on all information of which preparer has any knowledge.        this return with the
Sign
  g                                                                                                                                                                              preparer shown below
Here                                                                                             `                                                                               (see instructions)?
                     Signature of officer                                                            Date                             Title                                           P YeS           No
                                                                                                                  Dale                                    Preparers SSN or PTIN
                           Preparer's                                                                                                  Check if self-
Pali                       sig nature                                                                                                  employed
Preparer°s                 Firm's name
                                urs if                  Self—Pre a ed                                                                                     EIN
                                               `
 Use Onl y                sel
                          selt~mployetl),      I
                          address, and
                           ZIP code                                                                                                                       Phone no.
 BAA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                            CPCA0212   12127/07                 I-orm i          (zuvi)
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r


-   Form 1120 (2007)           Guishard, Wilburn & Shorts,                             LLC                                       XX-XXXXXXX                                              Page 2
                            Cost of Goods Sold see instructions
      1                                                               .
           Inventory at beginning of year .:.........................................................................                                         1
      2    Purchases ........
      3    Cost of labor .............                                     ................                                                                   3
      4 Additional section 263A costs (attach schedule) ..................................     . .................................                            4
      5 Other costs (attach schedule) , ..See Other, Casts. Staten-Lent...............................................                                        5                619, 783.
      6 Total. Add lines 1 through 5 .............................................................................                                            6                619,783.
      7    Inventory at end of year .................                                        ..........................................                       7
      8 Cost of goods sold, Subtract line 7 from line 6. Enter here and on page 1, line 2 .......                         ................       . ...        8                619, 783.
      9a Check all methods used for valuing closing inventory;
              (i)    Cost
             (ii)    Lower of cost or market
!
+
            (iii)    Other (Specify method used and attach explanation.) .......      --------              ------------------------------
          b Check if there was a writedown of subnormal goods .................................                       • ..... • • • ... .
                                                                                                                                            ............
~         c Check if the LIFO inventory method was adopted
                                                      p             year for an y goods (if checked, attach Form 970) ..... ..............
                                                           this tax y                                                                                                          . R 8

          d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of closing inventory
           computed under LIFO ...................................................................................                                            9d
          e If property is produced or acquired for resale, do the rules of section 263A apply to the corporation? ...................                                       Yes          No
          f Was there any change in determining quantities, cost, or valuations between opening and
i           rincinn invan+nrv? If 'Yec ' a++~rh evninno+inn                                                                                                              ~   Yes          NO
                            Dividends and Special Deductions                                              (a) Dividends             (b) Percentage                    (c) Special deductions
                            (see instructions)                                                               received                                                        (a) x (b)

      1     Dividends from less-than-20%-owned domestic corporations (other
            than debt-financed stock).........................................                                                                70

      2 Dividends from 20%-or-more-owned domestic corporations (other
        than debt-financed stock) ........ _ _ ............................                                                                   80
      3 Dividends on debt-financed stock of domestic and foreign corporations ............
      4 Dividends on certain preferred stock of less-than-20%-owned public utilities ........                                                 42
      5 Dividends on certain preferred stock of 20%-or-mare-owned public utilities .........                                                  48
      6     Dividends from less-than-20%-owned foreign corporations and certain FSCs .......                                                  70
      7     Dividends from 20%-or-more-owned foreign corporations and certain FSCs .........                                                  80
      8 Dividends from wholly owned foreign subsidiaries ...................                                                                 100
      9 Total. Add lines 1 through 8. See instructions for limitation ..........
     10     Dividends from domestic corporations received by a small business investment
            company operating under the Small Business Investment Act of 1958 ..............                                                 100
     11     Dividends from affiliated group members ...........................                                                              100
     12 Dividends from certain FSCs ......................................                                                                   100
     13 Dividends from foreign corporations not included on lines 3, 6, 7, 8, 11, or 12 ...... .
     14 Income from controlled foreign corporations under subpart F (attach Form(s) 5471) ..     .
     15     Foreign dividend gross-up ........................................
     16     IC-DISC and former DISC dividends not included on lines 1, 2, or 3 ...............
     17     Other dividends ..................................................
     18 Deduction for dividends paid on certain preferred stock of public utilities ...........
     19 Total dividends. Add lines 1 through 17, Enter here and on page 1, line 4 ........ ►
     20 Total special deductions. Add lines 9, 10, 11, 12, and 18. Enter here and on page 1, line 29b ............                                 . ......
    IMENIM Compensation of Officers (see instructions for page 1, line 12)
                            Note: Comolete Schedule F only if total receiots (line la olus lines 4 through 10 on pane 1) are $500,000 or more.
      1                         (a)                                  (b)                  c) Percent of           Percent of corporation stock owned                      (f) Amount of
                                                                                         time devoted                                                                     compensation
                        Name of officer                     Social security number        to business           (d) Common                  (e) Preferred

                                                                                                                               %
                                                                                                        $                      $s
                                                                                                                               %

      2     Total compensation of officers ................................................................................
      3 Compensation of officers claimed on Schedule A and elsewhere on return .................            . ...... . ..............                             .
      4 Subtract line 3 from line 2. Enter the result here and on page 1, line 12 ..........................................




                                                                                      CPCA0212 12/27/07
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Form 1120 (2007)      Guishard,Wilburn & Shorts, LLC                                                                     XX-XXXXXXX                   3
             MI Tax Computation see instructions
  1 Check if the corporation is a member of a controlled group (attach Schedule 0 (Form 1120)) .........                 Ej
  2 Income tax. Check if a qualified personal service corporation
     (see instructions) ................................................         ...............................     ®F]     2
  3 Alternative minimum tax (attach Form 4626) ...............................             ............................... 3
  4 Add lines 2 and 3 .......................................................              ............................... 4
  5a Foreign tax credit (attach Form 1118) ....... ...............................          . .. 5 a
   b Credits from Forms 5735 and 8834 ............ ............................... 5 b _
   c General business credit Check applicable box(es):     Form 3800        Form 5884 .... .
         Form 6478    n       Form 8835, Section B [] Form 8844      H      Form 8846 ....
   d Credit for prior year minimum tax (attach Form 8827) ...................... . ... 5 d
                                                                                                 5c

   e Bond credits from:             Form 8860             Form 8912 ..... ........ : ........ .I 5e
  6 Total credits. Add lines 5a through 5e ..... _ _ ..........................................................              6
  7 Subtract line 6 from line 4 ....... .............. _ _ ...........                                           ........... 7
  8 Personal holding company tax (attach Schedule PH (Form 1120)) ...........          ........................1....''       8
  9 Other taxes.             Form 4255             Form 8611      Form 8697
     Check if from:
                             Form 8866         HForm 8902  7      Other (att schedule) .. ............................... 9
 10 Total tax. Add lines 7 throuah 9. Enter here and on oaae 1, line 31 .......... ............................... 10
                     Other Information see instructions
 1 Check accounting method:                                    Yes No                                                                            Yes No
  a     Cash        b     Accrual                                          7 At any time during the tax year, did one foreign person
  C  8
     N  Ober (specify) ► — — — — — — — — — — — — — — — — — — .
 2 See the instructions and enter the:
                                                                              own, directly or indirectly, at least 25% of (a) the total
                                                                              voting power of all classes of stock of the corporation
                                                                              entitled to vote or (b) the total value of all classes of
  a Business activity code no. ► _5_61_4_4_0                                  stock of the corporation? ... ...............................         X
  b Business activity ► Ass_e_t R_ec_ov     _ery_ _ _ _ _ _                   If 'Yes,' enter: (a) Percentage owned ........ ®_ _ _ _ _
  c Product or service ► _S_e rvices _ —_ _ _ _ _ _ _                         and (b) Owner's country ► _ _ _ _ _ _ _ _ _ _ _ _ — _ _ _
 3 At the end of the tax year, did the corporation own,                     c The corporation may have to file Form 5472,
    directly or indirectly, 50% or more of the voting stock                   Information Return of a 25% ForeignU.S. -Owned
    of a domestic corporation? (For rules of attribution,                     Corporation or a Foreign Corporation Engaged in
    see section 267(c).) . , .......... _ _ .................      X          a U.S. Trade or Business. Enter number of
    If 'Yes,' attach a schedule showing: (a) name                             Forms 5472 attached ..................... ® _ _ _ _ _ _
    and employer identification number (EIN), (b)                          8 Check this box if the corporation issued publicly offered
    percentage owned, and (c) taxable income or
    (loss) before NOL and special deduction of such                           debt instruments with original issue discount ....... ►
    corporation for the tax year ending with or within                        If checked, the corporation may have to file Form 8281,
    your tax year.                                                            Information Return for Publicly Offered Original Issue
  4 Is the corporation a subsidiary in an affiliated group                    Discount Instruments.
    or a parent-subsidiary controlled group? ............ . .         X    9 Enter the amount of tax-exempt interest received or
    If 'Yes,' enter name and EIN of the parent corporation                    accrued during the tax year .... ® $ _ _ _ _ _ _ _ _ _ _
      ►                                                                   10 Enter the number of shareholders at the end of the ta x year -
       --------------------------
       _                                                 ____                 (if 100 or fewer)... .............................. ®
  5 At the_end_ of the_tax
                         _ year
                           _ _ , did
                                  _ _any
                                      _ individual
                                          _ _ _ _,_part
                                                     _ -                  11 If the corporation has an NOL for the tax year and is electing
    nership, corporation, estate or trust own, directly or                   to forego the carryback period, check here ......... ►
    indirectly, 50% or more of the corporation's voting
    stock? (For rules of attribution, see section 267(c).) ....       X      If the corporation is filing a consolidated return, the
    If 'Yes,' attach a schedule showing name and                             statement required by Regulations section 1.1502-21(b)(3)
    identifying number. (Do not include any information                      must be attached or the election will not be valid.
    already entered in 4 above.)                                          12 Enter the available NOL carryover from prior tax years
    Enter % owned ► _ _ _ _ _ _                                              (Do not reduce it by any deduction on line 29a.)

 6 During this tax year, did the corporation pay dividends
    (other than stock dividends and distributions in                      13 Are the corporation's total receipts (line la plus lines 4
    exchange for stock) in excess of the corporation's                       through 10 on page 1) for the tax year and its total assets
    current and accumulated earnings and profits? (See                       at the end of the tax year
                                                                                                    y    less than $250,000? ........... . ...       X
    sections 301 and 316.) ..............................             X      If 'Yes,' the corporation is not required to complete
    If 'Yes,' file Form 5452, Corporate Report of                            Schedules L, M-1, and M-2 on page 4. Instead, enter the
    Nondividend Distributions.                                               total amount of cash distributions and the book value of
                                                                             property distributions (other than cash) made during the
    If this is a consolidated return, answer here for the
                                                                             tax year. ► $
    parent corporation and on Form 851, Affiliations                                            ---------------------
    Schedule for each subsidiary.
BAA                                                                                                                                   Form 1120 (2007)




                                                                   CPCA0234 07/09/07
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Form 1120 (2007)           Guishard,Wilburn & Shorts, LLC                                                             XX-XXXXXXX                                Page
                          Balance Sheets per BookS                         Beginning of tax year                                        End of tax year
                           Assets                                       (a)                        (b)                           (c)                      (d)
  1     Cash ......................................                                                    87,652.                                             69,179.
  2a Trade notes and accounts receivable ........                        26,56                                                    40,126.
      bless allowance for bad debts ...............                                                    26,566.                     5,560.                  34,566.
  3     Inventories ................................                                                                                                      _
  4     U.S. government obligations ...............                 .
  5 Tax-exempt securities (see instructions) ....
  6 Other current assets (attach schedule) ...... . .........
  7 Loans to shareholders . ....................              .                                         8,855.
  8 Mortgage and real estate loans .............                    .
  9     Other investments (attach schedule) ...............         .
10a Buildings and other depreciable assets.......                       131,961.                                                131,961.
      b Less accumulated depreciation ..............                     66,262.                       65 699.                   74,262.                   57,699.
 11a Depietable assets ..........................
      b Less accumulated depletion ................                 .
12      Land (net of any amortization) . . ..... . ......
13a Intangible assets (amortizable only) .........
      b Less accumulated amortization .... . ........               .
14 Other assets (attach schedule) ........       . ..........       .
 15 Total assets ...............................                                                   188,772.                                               161,444.
       Liabilities and Shareholders' Equity
 16 Accounts payable ..........................
 17 Mortgages, notes, bonds payable in less than 1 year ...
 18 Other current liabilities (attach sch) ................
 19 Loans from shareholders ...................
 20 Mortgages, notes, bonds payable in 1 year or more .....
 21 Other liabilities (attach schedule) .................   .
 22 Capital stock: a Preferred stock ............
                           bCommon stock ............                   209,432.                   209,432.                     209,432,                  209,432.
 23 Additional paid-in capital ...................
 24 Retained earnings — Approp (att sch) ...............    .
 25 Retained earnings — Unappropriated .......                                                     —20,660.                                               —47,988.
 26 Adjmm to shareholders' equity (aft sch) ..............  .
 27 Less cost of treasury stock .. . ..............         .
 28 Total liabilities and shareholders' equity                                                     188 772.                                               161,444.
                          Reconciliation of Income (Loss per Books With Income per Return
                          Note: Schedule M-3 required instead of        chedule M-1 if total assets are 10 million or more — see instructions
                                                                                                                                                                 MEN
  1      Net income (loss) per books ................                   —26 944.        7 Income recorded on books this year not
  2      Federal income tax per books ... . .........                                          included on this return (itemize):
  3 Excess of capital losses over capital gains ...                                            Tax-exempt interest$
                                                                                                                      -----------
  4      Income subject to tax not recorded on books                                                                  _—— ——— —————
         this year (itemize):                                                            --------------------
                                                                                        8 Deductions on this return not charged
      -----------------------
  5 Expenses recorded on books this year not                                               against book income this year (itemize):
         deducted on this return (itemize):                                                  a Depreciation .. $_ _ — — — — — —384.
       a Depreciation .......      $                                                         b Charitable contribns$_
                                        -----------                                                                   ----------
       b Charitable contributions . $
                                        ------------
       c Travel & entertainment .. $
                                                                                                                                                               384.
      --------------------                                                                --------------------                                                 384.
                                                            ---                          9           .....................
                                                                                               Add lines 7 and 8
  6 Add lines 1 through 5 .............               . .........       — 26,94 4. 10          Income (page 1, line 28) — line 6 less line 9 ...:         — 27,328.
                          Anal sis of Unappropriated Retained Earnin s per Books Line 25 Schedule L
  1      Balance at beginning of year ................                   — 20,660.       5 Distributions ..........         , .... a Cash ...
   2     Net income (loss) per books ................                   — 26,944.            b Stock                               c Property ..
  3 Other increases (itemize):                                                           6 Other decreases (itemize):

      ------------------                               —_                                 --------------------
      -----------------------
                 .......................
   4 Add lines 1, 2, and
                                                              ———
                                                                         —47,604.
                                                                                         7 Add lines 5 and 6 ....................
                                                                                         8 Balance at end of year (line 4 less line 7) ......
                                                                                                                                              .
                                                                                                                                                          — 47,604.
                                                                           CPCA0234 07/09/07                                                         Form 1120 (2007)
  Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 36 of 71

Guishard,Wilburn & Shorts, LLC XX-XXXXXXX

Form 1120, Page 1, Line 26
Other Deductions Statement

Accounting                                      839.
Bank charges                                  3,271.
Computer services and supplies               21,521.
Credit and collection costs                  64,172.
Dues and subscriptions                          728.
Insurance                                    10,957.
Legal and professional                       83,447.
Office expense                                    0.
Outside services/independent contractors      8,091.
Postage      _                               17,249.
Printinq                                        749.
Security                                        395.
Supplies                                     19,115.
Telephone                                    15,294.
Training/continuing education                   240.
Travel                                       68,627.
Utilities                                     5,732.
Outsourcing Exp _                            46,053.
Data Entry Services                           3,733.
Subscription Exp                                290.
Software Development                         21,997.
Charitable Contribution                         200._

Total                                       392,700-


Form 1120, Page 2, Schedule A, Line 5
Other Costs Statement

Other cost of goods sold                    619,783.

Total                                       6L9,_783.
              Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 37 of 71


       Internal
        United States
                      eve                       ice
                          Department of the Treasury
                                This Product Contains Sensitive.Taxpayer Data

                                        Account Transcript
                                                                             Request Date:     08-29-2017
                                                                            Response Date:     '08-29-2017
                                                                          Tracking Number:   100348051331
FORM NUMBER        1120
TAX PERIOD:         Dec. 31, 2007


TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX


GUISHARD WILBURN & SHORTS LLC
4854 OLD NATIONAL, HWY
COLLEGE PARK, GA 30337-6221-995
««POWER OF ATTORNEY/TAX INFORMATION Ai3THIORIZATION (POA/TIA) ON FILE»»
        -- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---


ACCOUNT BALANCE:                                  $0.00
ACCRUED INTEREST:                                 $0.00   AS OF: Apr. 24, 2017
ACCRUED PENALTY:                                  $0.00 AS OF: Mar. 15, 2008


ACCOUNT BALANCE PLUS ACCRUALS
(THIS IS NOT A PAYOFF AMOUNT):                    $0.00


               ** INFORMATION FROM THE RETURN OR AS ADJUSTED **
NET RECEIPTS:                             $1,251,208.00
TOTAL INCOME:                               $631,425.00
TOTAL DEDUCTIONS:                           $658,753.00
NET TAXABLE INCOME:                         -$27,328.00
MINIMUM TAX AMOUNT:                               $0.00
ESTIMATED TAX CREDITS:                            $0.00
PERSONAL HOLDING TAX:                             $0.00
ES/7004 PAYMENTS CLAIMED:                         $0.00
TAX PER RETURN:                                   $0.00
NAICS CD:                                        561440


RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Mar. 17, 2008
PROCESSED DATE                                                  May   12, 2008



ill                                              TRANSACTIONS


 CODE EXPLANATION OF TRANSACTION                                      CYCLE DATE                AMOUNT
 150   Tax return filed                                               200818 05-12-2008             $0.00
 n/a   29310-096-28832-8
 460   Extension of time to file tax return ext. Date 09-15-2008             05-19-2008             $0.00
               Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 38 of 71


       Internal even e Service
        United States     Department Of the Treasury
                                This Product Contains Sensitive Taxpayer Data

                                        Account Transcript
                                                                            Request Date:     08-29-2017
                                                                           Response Date:     08-29-2017
                                                                         Tracking Number:   100348051331
FORM NUMBER:       1120
TAX PERIOD:         Dec. 31, 2006


TAXPAYER IDENTIFICATION NUMBER: XX-XXXXXXX


GUISHARD WILBURN & SHORTS LLC
4854 OLD NATIONAL HWY
COLLEGE PARK, GA 30337-6221-995
««POWER OF ATTORNEY/TAX INFORMATION AUTHORIZATION (POA/TIA) ON FILE»»
       --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---


ACCOUNT BALANCE:                                  $0.00
ACCRUED INTEREST:                                 $0.00 AS OF: Apr. 24, 2017
ACCRUED PENALTY:                                  $0.00 AS OF: Sep. 15, 2007


ACCOUNT BALANCE PLUS ACCRUALS
(THIS IS NOT A PAYOFF AMOUNT):                    $0.00


               ** INFORMATION FROM THE RETURN OR AS ADJUSTED **
NET RECEIPTS:                             $1,448,013.00
TOTAL INCOME:                               $636,801.00
TOTAL DEDUCTIONS:                           $641,057.00
NET TAXABLE INCOME:                          -$4,256.00
MINIMUM TAX AMOUNT:                               $0.00
ESTIMATED TAX CREDITS:                            $0.00
PERSONAL HOLDING TAX:                             $0.00
ES/7004 PAYMENTS CLAIMED:                         $0.00
TAX PER RETURN:                                   $0.00
NAICS CD:                                        561440


RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Apr. 14, 2007
PROCESSED DATE                                                  May   21, 2007


                                                 TRANSACTIONS


 CODE EXPLANATION OF TRANSACTION                                      CYCLE DATE               AMOUNT
 150   Tax return filed                                               200719 05-21-2007           $0.00

 n/a   81310-105-00017-7
 460   Extension of time to file tax return ext. Date 09-15-2007             04-30-2007           $0.00
                     Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 39 of 71



'   Form 1120                                                      U.S. Corporation Income Tax Return                                                                        OMs No. IW-0123
                                        For calendar year 2006 or tax year beginning                                , 2006, ending
    Department of the Treasury
    Internal Ravenue Service (77)                                                    ► See Separate instructions.                                                              2006
                                                    Name                                                                                                  g    Employer Werr66ca6on oambor

                                                    GUISHARD, WILBURN & SHORTS                                     LLC                                        XX-XXXXXXX
                                                    Number, street, and room or suite number. If a P.O. box, see instructions.                            C Date incorporated

                                                    175 CARNEGIE PLACE, SUITE 115                                                                             11/01/2001
                                                    City or town                                                        state ZIP code                    D Total assets (see instructions)
    4             requrred
        itch Sch M3                                 FAYETTEVILLE                                                        GA 30214              $                                   188,772.
    E Check if: [1)       Initial return            [21 Final return       [31      Name chance                         [4) Address chance
          1 a Gross receipts or sales               1, 448 013.    b Less returns &allowances .                                    c Balance . ► 1 c                         1 448,013.
               2 Cost of goods sold Schedule A, line 8                   ....... ... , -- ....                           2                                                        811,212.
               3 Gross profit. Subtract fine 2 from line 1c ........................................................ . . 3                                                        636, 801.
        1      4 Dividends (Schedule C, fine 19) ...................                                   ............... 4
        N     5 Interest ........ ....     .. .... .............                   :...........................                                                    5
        C     6 Gross rents . ... ..                             ..... .. .. .... .............................                                                    6
        M     7 Gross royalties ...............                                                  ...............                                                   7
               8 Capital gain net income (attach Schedule.D (Form 1120))........                                            . 8
               9 Net gain or (loss) from Form 4797; Part 11, line 17 (attach Form 4797).. . ... ........ ................. 9
              10 Otter income (see instructions — attach schedule) .......................................................... 10
         11 Total income. Add lines 3 through 10 ...........................................................      -- 11                                                           636, 801.
         12 C6mpensation of officers (Schedule E, line 4) .....................................................      12
     D   13 Salaries and wages (less employment.credits) ...............................................       --    13                                                         _213,265.
       F
         14 Repairs and maintenance .......................................................................          14                                                            7,634.
     D e
     U15           Bad debts ...................................:................................................. 15
          16 Rents .......................................................................................... 16                                                                     23 , 256.
     T tN 17 Taxes and licenses .........             ................ ........................................ 17                                                                   16,940.
       T
     OT 18 Interest ...................................................................................... 18
     N T 19 Charitable contributions ..................•...................................................... 19
     S . o 20 Depreciation from Form 4562 not claimed on Schedule A or elsewhere on return (attach Form 4562) ... , 20                                                                 8,606.
     s s 21 Depletion ..................................................................................... 21
     E o 22 Advertising ....................................................:............................... 22                                                                        1,137-
     1 n 23 Pensibrt, profit-sharing, etc, plans .................. .
     S a 274 Employee benefit programs .......... _............. . ............................ . .............. . 24                                                                  2,551.
     T D 25 Domestic production activities deduction (attach Form 8903) ............................... ......... 25
     R c 26 Other deductions (attach soliedule) .Sea Other.Dedurtions Statement .... — ................................                                            26              367,668.
     T 1 27 Total deductions. Add lines 12 through 26 ........                                          .... —                           '                         27              641,057.
         28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ...................                           28                — 4,2 56 .
     N    S 29 Less, a Net operating loss deduction see instructions                ...... 29 a
                      b Special deductions Pche0ule C, line 20 ....... ............ 29b                               29c
         T 30 Taxable income. Subtract line 29c from line 28 (see instructions) ... ................................. 30                                                              —4,256.
         A 31 Total tax (Schedule J, line 10) .. ... .... .........     ..... . .                                     31
         )(
              32a 2005 overpayment credited to 2006 .. 32a
         A      62006 estimated tax payments ...... 32b                                                                    .s;rYr;,
                                                                                                                                                                   x i-•-
         ®       e 2006 refund implied for on Farm 4466..... - - 32e                                         d Ball       32d
                  e Tax deposited with Form 7004. ............................                         . ..........       32e                                 0.
         P
         A        f Credits: (1) Form
                                 2439
                                                                        (2) Form                                            f
                                                                            4136
         Y       g Credit for federal telephone excise tax paid (attach Form 8913) ........... 32                                                                  32h                           0.
         M     33 Estimated tax penalty (see instructions). Check if Form 2220 is attached .................... ®                                                  33
         E     34 Amount owed If line 32h is smaller than the total of lines 31 and 33, enter amount owed ..............                                           34
         N
         T     35 Overpayment. If line 32h is larger than the total of lines 31 and 33, enter amount overpaid .............                                        35                            0.
         S     36 Falter amount from line 35 you want: Credited to 2007 estimated tax .... b"                  Refunded ►                                          36
                Under penalties of perjury, I declare that 1 have examined this return, inducing accompanying scfadules and statements, and to the hest of my Wrawl           May the IRS discuss
                and t ief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is haste an au information of which,preparer has arty Iorowtedge. this
     Sign                              r
                                                                                                                                                                                   arter shown below
      here      `                                                                                                            \                 ,                              (see instructions)?
                                                     IZ.i.t~
                    Signature of offi r                                                              to                      I   Title                                                    Yes      No
                                                                                                               Date                                    Prepames SSN w PTiN _
                          Preparer's
      Paid
      Preparers
                          signature
                    Firm's Name
                                        ®,                                                                          I         4    Check if self-
                                                                                                                                      employe d   .   X XXX-XX-XXXX
                                                                                                                                                                   XX-XXXXXXX
                    (or yours if    E Dennis Bridcfes. PA                                                                                               EIN
      Use Only      saif-employed), 1640 Powers Ferr                 d\29-100
                    add` and
                    z               Marietta                                         GA 30067                                                           Phoneno.       (770) 984-8008
      BAA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.      CPCAM2                                                    07113MIS               Form 11iU (GUUb)
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Form 4562 (2006)        GUISHARD WILBURN & SHORTS, LLC                                                                       XX-XXXXXXX              Page 2
             Listed Property (Include automobiles, certain other vehicles, cellular telephones, certain computers, and property used for
             entertainment, recreation, or amusement.)
             Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete on/y24a, 24b,
             columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
               Section A — Dowilation and E twinformation Caution: See the instructions for limits for passe2ger automobiles.
 24a Do You have evidence to suonort the business/investment use claimed? .......... n Yes       rl
                                                                                           No 124b If 'Yes.' is the evidence written? ....... n Yes n No
         (a)                    (b)              (c)                (d)               (e)       (f)               (g)                 (h)           (i)
   yp of property
  Type   p p y gist          Date placed      Businessl     Cost or           Basis for depreciation   Recovery          Method/           Depredation          Elected
     vehicles first           in service     investment                       (businessrinvestment      period          Convention          deduction         section 179
                                                use       other basis
                                                                                    use only)                                                                     cost
                                             percentage
 25 Special allowance for qualified New York Liberty or Gulf Opportunity Zone property placed in service
    during the tax year and used more than 50% in a qualified business use (see instructions) ..




 27 Pram-ft used Sn0f. nr IACa inn nualifiarl hucinAcc naa•




  28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 .................
  29 Add amounts in column (j), line 25. Enter here and on line 7, page 1 ...............................................         29
                                                          Section B — Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other 'more than 5% owner,' or related person. If you provided vehicles
to Your employees, first answer the ouestions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                 (a)            (b)            (c)         (d)             (e)             (t)
  30 Total businesslinvestment miles driven                           1     Vehicle         Vehicle 3   Vehicle 4       Vehicle 5      Vehicle 6
     during the year (do not include                          Vehicle               2
      commuting miles) ........................           .
  31 Total commuting miles driven during the year ....... .
  32 Total other personal (noncommuting)
      miles driven ..............................
  33 Total miles driven during the year. Add
      lines 30 through 32 ........................
                                                             Yes      No    Yes No         Yes     No  Yes      No     Yes     No     Yes      No
  34 Was the vehicle available for personal use
      during oft-duty hours? .....................
  35 Was the vehicle used primarily by a more
      than 5% *owner or related person? ........
  36 Is another vehicle available for
      personal use? ............................
                                 SRr_hnn r — CNooctinnt fnr Fmnloupm Who PmvidA Vehicles for Use by Their Emolovees
 Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who are not more than
 5% owners or related persons (see instructions).
                                                                                                                                       Yes     No
  37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,
      byyour employees? .......... ...................................................................................
  38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
     employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ................                           .
  39 Do you treat all use of vehicles by employees as personal use? ......................................................                               .
  40 Do you provide more than five vehicles to your employees, obtain information from your employees about the use of the
     vehicles, and retain the information received? .......................................................................
  41 Do you meet the requirements concerning qualified automobile demonstration use? (See instructions) ...................                              .
     Note: if your answer to 37, 38, 39, 40, or 41 is 'Yes,' do not complete Section B for the covered vehicles.
        .......... A mnr6i'atinn
                             (a)                                 th)                       (C)                    (d)                (eD
                      Description of costs                Date amortization            Amortizable             Code              Amortization            Amortization
                                                               begins                   amount                section             period or              for this year
                                                                                                                                 percentage

  42


  43    Amortization of costs that began before your 2006 tale year ..............................    . ...............                    43
  44    Total. Add amounts in column (f). See instructions for where to report ....................................                        44
                                                                         FDEZ0812 06fW06                                                                 Form 4562 (2006)
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Form 1120(2006)
                                                                                                                                                                                              XX-XXXXXXX                                                                                          Page d
                                                                                                                                      of tax year                                                      End of tax year
                                  Assets
  1 Cash .....................................                                                                                                                                   «:;:; ::.::>:; ;:w {, :z:<.t-: >.>.,:
                                                                                                                                                                          582 .~Y>}: };r>:;£4 ~:.:..-:-{.:_::.:-...x+:r:                                                             87,652.
  2a Trade notes and accounts receivable.
     b Less allowance for bad debts ............. .
                                                                                                                                                                                                                                                                                                       :.
  3 Inventories .....................°..
  4 U.S. government obligations ...............                              .
  5 Tax-exempt securities (see instructions) .... ,
  6 Other current assets (attach schedule) ...............
  7 Loans to shareholders , .......... .
                                                                                               {kl ..>.~`Sr."'r':~`~:- `+-                                                                    'k:;y::,r•;,,"~.`-,;.':~:;~:r::Ji•~%y%4kx:8~''•:~                                           S S-
                                                                                                 -:. +s:}xY:YC•x{                                                                                  :::. ri"s?,,t.-':,`:ci::>:•r,:a$:'t:'r;.u:_:i_v
 8 Mortgagagee and real estate loans ........... .•         .
 9 Other investments (attach schedule) .. . ..... . ..... .
                                                                                                                ......                                  .........
10a Buildings and other depreciable      e assets .                                                   106, 809. :J:J
                                                                                                                   ..:.:'Eih':.}:£;~.`.~<~:µ;
                                                                                                                                'A+
                                                                                                                                                     ?"
                                                                                                                a~R~nvPe'o..-.,:::A:`{'
                                                                                                                                     '~S:2u{;r:,{...Ei                                                              131t 961_                              f:£;:::.su..{-x•a.>J.;~:,a:,, ;~"tc:::.,,r
     b Less accumulated depreciation ...... ° ......
                                                                                                       49,153.                    57,656.                                                                            66,262.                                                          65,699.
11a Depletable assets ...................                                                                                            it.::%::i::;c::p:.{S.;{
                                                                                                                                                           ;::::c?':';ir•..cra:£:>•:.h-xc
                                                                                                                                                    •r4;{i'+h}ij£            ~K?;
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                                                                                                                                          :i}Yri-                2~y ✓                                                                                                                            ~+K'3}y T:~i:
                                                                                                                                      _      _,.:it'::~d•.>iii.\4sN..~.>.iY-:-){i~ £:                                                                        ~i<J~:w}i~.":v~'v'N.'~n.h.. _..:'3:v tin
  b Less accumulated depletion ...............
12 Land (net of any amortization) ...... • ...... . 3 ^.~z'v.'t.' ''~ ~-;s---=-f•'•v"c;;Avv:
                                                                                  '-.      v'`:-z                                                                                           {<s~ t• t,'~.'.3Y;iTk;t%'y<F<-',-,s-'ah
                                                                -',
                                                                 -v
13a Intangible assets (amortizable only) .........                                                                                                                                                                                                                                                           •}~{J;-
                                                                                                                                                 -~~~'. .:4.~'
                                                                                                                                                            -.'t"•'.vafik.                                                                                 .`o.'Y.:f22>i:{;;7•&its'y+C~3~k+.,~{}.•,'.-T,+a
                                                                                                                                                                                                                                                                                                  ,vr.-.'r',Si'2,.
  b Less accumulated amortization ............ .
14 Other assets (attach schedule) ................... .                                                                                                                                                                              '
                                                        +k<.~"''2.:~„'::~":a>y.?~'p-y;311`:~fti~s~:?R                                                                                                               •'J'` >,a ";:'':.~,+f3"7~
                                                                                                                                                                                            ~'„~+~:k',~{~•~3:;+r0; g.R~.??$,                                          .
                                                                                                                                                                                                                 vtd
                                                                                                                                                                                                       . ' .Wr' ~K""4Y%}SY:~
15 Total assets                                         {' L:...•ni : ;}-C'i•:.            '~}:J•{v'.S                                                                                                                                      f+.,
                                                                                                                                                                      P                     .'~-,'..'~''~~rvz=::X.;ds<{:arc.;:~aY'xn•:x                                          188 772.
       Liabili ties and Sharehotders' Eq. 4 ' l                               '~::;.:.:n,'.x r.-,'i'•'.                                             f,.. },;;•J-                    a{::;Sa-+:.          <~'s *.i,s          t~:.$..-s r- : fig; +; >'t3                      ti:,s: a.K}::.
                                                                                 2:k..,.       -.#.        -.. +}a: ..t?                   .+.......>->ia.:t,Rs:..      ....::.•k%~5.;,~  . .`;~=                                                             >;R
                                                                                                                                                                                                                                               ,~.:.'-'.-.-.,:$<}x~':'+~-.-+~~~ft~
16 Accounts payable ......................... :4'v1.brie,.   -'                                  _,~'•,"t~r:fi_¢w:i;;~..+                                                                ;:;.ik: ,   ~t ,'~`fl`{f~{;nv:;.:x;~.ti:%?.<"::.c.J:?~..
                                                                                                                                                                                                                     .{fir: .. ,.;---•
                                                  rh:-.:-    4"x:}x"S'?:~?J'?'_/n.1                                                                                                                  :yy~4i} ~:::t:{ '..-_..::~.'~,:
                                                                                                                                                                                                R• ",..+
                                                           'YS;)r`'~~             -':1x,
                                                                                    }'v"~2C'~#>k-c•              r
                                                                                                                 Ns:Y'
                                                                                                                     : 'xt-                                                                                                                    's
                                                                                                                                                                                                                                                {.••5::
17 Mortgages, notes, bonds payable in less than t year . , .. .                                                                                                                             :X$fMp~~t?+
                                                                                                      i:A._.-.{wn?t`v{,', .>                                                                          i.
                                                                                                                                                                                                 .[ :
18 Other current liabilities (attach sch) ...... . . ....... . '3• cv                                       ; .f;:                                                                               tisYliafi•',-':-x.::.,
                                                                                                                                                                                            ..~.:.':                    ., ..{.>lf'f'.~-01~
19 Loans from shareholders .... • . , • • . , , • .. , - , , k= :.:horn--. -,:..:},"yJ~.-<.{O{$'      l  ' ~ {ti+.
                                                                                             r7fi:~'iY~.f~:n+i:,`
                                                                                                            ~'s$
                                                                                                                                                                                                             9?+..T
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                                                                                                                                                                                                                           }•:~,
                                                                                                                                                                                                                                      M s,Jri• Wit:-:
                                                              :iC`+<',iC4~ihi:$~•3.                                                                                                         : y$:y,~~yni ~:,c ~ -             .:7:'Q_~?,"}:S {-3y`
                                                                    '+ , Q.. +~ ~.?~'~i;c        -•%'=+:hMa;;                                                                                                              .Y        ri
20       Mortgages, notes, bonds payable in 1 year or more .... . :~'1~;Eq4•t>`kn^'.i:'
                                                                                    +;
                                                                                       :....
                                                                                             3i.'~       J~.
                                                                                                                                                                                            i~}.
                                                                                                                                                                                              .J:v.SjrYh4~ftik,'h>:.,
                                                                                                                                                                                                 'S her +.•i:jCi••+i:1'{j , „~.~':
                                                                                                                                                                                                                   '~Kn..~'
                                                                                                                                                                                                                        i":~{J_'+
                                                                                                                                                                                                                               "F-. :J
                                                                      r .o,:d:~%<<~~~~~~z~~?;'-`is'P'd                                                                                          1R.'~+iJv'iix.-n2~~yt~?y°%Y5;:c2+•;,v::ch~:,
21       Other" liabilities (attach schedule) .................. . 'sy::'-+J y``:r.a1?r3$:t}.{:~ ,:sex•~ >.                                                                                 :'.~~~,:Y,.1^"...
                                                                                                                                                                                                            ) u::'J,.~ib3.?':-~:~ M1=~`:"f~i
                                                                                                                                                                                                                                           .ỳt '.
                                                                                                                                                                                                                                          }+     +'?,~.
                                                                                                                                                                                             :?h{i.at?t._::...::             ~..~:-r
22 Capital stock: a Preferred stock .......,...                                                                                      .f:.eii-?:4_.,,~.~?:?~~..p::'.•';:.:._::.r...a. .v;
                                                                                                                                               +                         i 3_U=A.iti$!v
                                                                                                                                                                  ' {n`S"F                                                                                ~i~4tt~{:!-"    j:M~:yr'$n>lhst':3~.Li4'{ ran-Y'n.'•
                                                                                                                                     .?~?t= }V•:s~rf   •..... .:2\-:      -xY..`.t{i{wVk                                                      ~
                                                                                                                                                                                                                                                           -:k~;S:`_`..,ry'.stS::i:S_ry+'i:~~a:>..'~J'',.f:.t,;;" ~=
                                b Common stock ............                                           209 432.                                            209 432.                                                 209,432.                                                      209,432.
23 Additional paid-in capital ...................
24 Retained earnings — Approp (att sch) ........ . ..... .
25 Retained earnings — Unappropriated ........                                                                                                            —24,194. Fz                                                   a            sue_'                                        —20.660
 26 Adimnt to shareholders' equity (att sch) ..............
27 Less cost of treasury stock ............... .
28 Total liabilities and shareholders' a ub .... -                                                            nr'~                        'x:'
                                                                                                                           185. 2 3 8 . %%<~»::?~':,                                                                                    a
;~:~':~-;rte: '•:::>:.;• -:,:.w.                                                                                 :,>                                                                                                                        <.                                   188,772.
     b1~~:                    Reconciliation of Income                                                       Books With Income per Return
                              Nate: Schedule M-3 required in:                                                lute M-1 If total assets are $10 million or more — see instructions
 1       Net income (loss) per books .............. :                                                                           r            7 Income recorded on books this year not ';
                                                                                                                                                                                                                                                              OM                    s2 x'>'•
 2       Federal income tax per books ............. .                                                                                              included on this return(i temize):                                                                       ~~b'3 r"' f~"
 3       Excess of capital losses over capital gains ...                                                                                           Tax-exempt interest$                                                                                   vs{`}:`;ry~;y'{bA- 1"•4.4
                                                                                                                 •.ox,.;}}::{.c-,y                                                          —— — — — — —— — ——                                            ;iR;'q.Sta ~i:• {., ti:..
 4       Income subject to tax not recorded on books                                                                                                                                                                                                                                                      ~:'.
                                                                                                                                               — _ — — _. —                    ————————————                                                                                        . E + ~+YS.'J.;;;£?{}..t_c_
                                                                                                                                                                                                                                                          -iYi- ...Tat;.y?,,'F.+,,'a".~„J      •
         this year (itemize):
                                                                                                                                             8 Deductions on this return not charged —                                                             —
 5 Expenses recorded on books this year not
     deducted on this return (itemize):
                  ,. aTCQn .x       . ,:r '                                         .t>rf:Y_ifi~i.?S;fi t> •JkJlYx.' xr.;,~~:                      —Cha              °.:Cdi4h1 ,                                                                             .-';s:. , .•dFS'. ;.
                                                                                                                                                                                                                                                          ~-,>1
                                                                                                                                                                                                                                                                                               -----'i.'S
     b       I;             tftlhons
                                                                                                                                .              ----------------
         Travel 8hnte      inment .. $
                                                                                                                                               --------------------                                                                                       `=             k2:$:`~`=•`v;":3b~;•%=::<
   ———————                                                                                                                                                                                                                                                                                 8,606.
                                                                                                                                                                                                                                  _—
   — — — — — — — — — — — — — ----------                                                                            816.                      9 Add lines 7 and 8 ..........                                               ..........                                                    8,606.
 6 Add lines 1 through 5 ........ . .............                                 4 35 0 . 10 Income (page 1, line n) — line 6 less line 9 ....                                                                                                                                        —4,256-
                   W          Anal sis of Una                    ro riated Retained Earrtin s per Books Line 25 Schedule L
 1 Balance at beginning of year ...............                                                       —24,194.                               5 Distributions .... , . - ....... a Cash ...
 2 Net income (loss) per books . ...............                3 534.                                                                        b Stock                                                                     c Property . .
                                                               .,{; k
 3 Other increases (itemize):                              xi> ;t:3°- ? r f
                                                    ==`> :''¢`
                              — — — — — — — — — —:><.{                                                                                       6 Other decreases (itemize):
         ------            ----------------                                       -.M_>...;r-::::..::::::::.::.,:.                            ---     --------------_
                                                                        __                                                                   7 Add lines 5 and 6 ....... . ........... .
 4 Add lines 1, 2, and 3 ......................                                                       —20,660-                               8 Balance at end of year (line 4 less line 7) ......                                                                                 —2 0 660 -
                                                                                                          CPCAor3a 091071                                                                                                                                                 Form 1120 (2006)
    Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 42 of 71
GUISHARD, WILBURN & SHORTS, LLC XX-XXXXXXX'                                1

Form 1120, Page 1, Line 26
Other Deductions Statement

HEALTH CARE COVERAGE
COMMISSIONS/BONUS
Accounting                                             14,508.
LEGAL, AND PROFESSIONAL FEES
OUTSOURCING EXPENSE
TRAVEL EXPENSE
Bank charges                                              983.
OFFICE EQUIPMENT
Dues and subscriptions                                  2,611.
POSTAGE EXPENSE
PRINTING AND REPRODUCTION
.ACCOUNTING EXPENSE
UTILITY EXPENSE
SECURITY EXPENSE
BANK EXPENSES
 Insurance                                              8,275.
 SUBSCRIPTION EXPENSE
 PAYROLL EXPENSE
 Legal and professional                                95,026_
 Office expense                                        35,972•
 Outside services                                      44,505.
 Postage                   _                           24,221.
 Printing                                                 510.
 Security                                                 374
 Telephone             _                               19,073.
 Travel                                                86,504.
 Utilities                                              8,103.
 EDUCATION                                              5,357.
 SOFTWARE DEVELOPMENT                                   7,042.
 PAYCHEX FEE                                            2,236.
 COMMUNICATION EXP                                      3,745.
 EMPLOYEE REIMBURSEMENTS                      _-- -_    5,623.

Total                                                  367,668


 Form 1120, Page 2, Sch A, Line 5
 Other Costs Statement

 LEGAL, DOCUMENT RETRIEVAL                              40,048.

 Total                                                  40,048.
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                                                                                                                                                                            OMB No. 1545-0172

Form   4562                                                               Depreciation and Amortization
                                                                    (including Information on Listed Property)                                                                 2006
Department of the Treasury                                                                                                                                                  Attachment
Internal Revenue Service                                      ► Sap cpnarato inctmrHnns-                      ► Attach to vnur tax rpt                                      Sequence No.          67
Narne(s) shown on return                                                                                                                                              identifying number
GUISHARD, WILBURN & SHORTS, LLC                                                                                                                                     174-3025861
Business or activity to which this form relates
Form 1120 Line 20
          >~~'x` Election To Expense Certain Property Under Section 179
          Note: If you have aily listed property, complete Part V before you com lete Part 1.
   1 Maximum amount. See the instructions for a higher limit for certain businesses ............................                                                      1                $108,000-
   2 Total cost of section 179 property placed in service (see instructions) .............                                       . .......................            2                      . 1, 336 .
   3 Threshold cost of section 179 property before reduction in limitation ..................                                       . ....................            3                $430, 000.
   4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0. ...... ..........................                                               4                                      0.
   5 Dollar limitation for tax year. Subtract line 4 from line l: If zero or less, enter ,0-; If married filing
        separately, see instructions .............                                                                                .......... . ............           5                   108,000-
   6                                   ( a) Description of properly                                               Cost(business use only)         C Elected cost.          :^'~•_ i;•A>?=`-?:<' ;~_;;~;;;        :i.2
   FURNITURE                                                                                298.                      298.
   MISC EQUIPMENT                                                                        1 038.                   1 , 038 . ;'.~:j:v:2'.C>i{ice::<:.i:.; r'::f'~•~•~'+.. ::r'kJ
                                                                                                y                           -:. :`:::z_: .~.:tC;" ws ':><#v>.0
   7 Listed property.. Enter the amount from line 29 ..... . ...........................         f                          fii`.:n'•,'`t~.'+; ✓         r~.`~i~.:"h>.~3~15; }'!f
   8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ....... . ................    8                                 1, 336.
   9 Tentative deduction. Enter the smaller of line 5 or line 8 .................................................                                                     9                           1 336.
 10  Carryover of disallowed deduction from line 13 of your 2005 Form 4562 ....................................       10                                                                     21,159.
 11  Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instrs) ... 11                                                                          0.
 12  Section 179 expense.deduction. Add lines 9 and 10, but do not enter more than line 11 .....................      12                                                                          0.
 13  Carryover of disallowed deduction to 2007. Add lines 9 and 10, less line 12 .        "'F-13T_             22, 4 95.
Note: Do not use Part 11 or Part Ill below for listed property. Instead, use Part V.

 14 Special allowance for qualified New York Liberty or Gulf Opportunity Zone property (other than listed
    property) placed in service during the tax year Zsee instructions) ................. . ........................                                                 14
  15 Property subject to section 168(f)(1) election ........................................................... 15
  16 Other depreciation (inciudinq ACRS) ...................................................................                                                        16

                                                                                                     Section A
  17 MACRS deductions for assets placed in service in tax years beginning before 2006 ........... . ............. 17                                                                              8 606
  18 If you are electing to group any assets placed in service during the tax year into one or more general
     asset accounts, check here ... . ...............................................................       ®     '?: 4i. - -                                                      ':f•Y~'✓titY •i;i~r.~.~i?::̀~r:
                                                                                                                                                                                   {


                       5ect>on B — Assets Placed in Ser Ace During AM lax Year Using isle Lieneral ue recmuon a      m
                     (a)                           (b) Month and                 (C) Basis for depreciation         (d)                  (e)                 (t}                   (g) Depreciation
          Classification of property                  y?ar placed                (busineseiinveshnent use      Recovery period       Convention          Method                         dedurtion
                                                        n service                 only — see instructions)
                                                  i."•~='k`»com; .-::. - -:.,-
  19a 3-year property .                             x> s:<;=:-0
                                             01
       b 5-year property .                    "iz
       c 7-year pro
                                      ::':3;3:'x,-.•-_.  .+ - 3:.+:C;vct:;-
       d 10- ear r
       e 15 ear o
       f 20-year property ...........
         25-year property ......... . .ui:: - -r:,~y;~~:;: ':,                                                  25 rs                                        S/L
       h Residential rental                                                                                    27.5 Vrs                  MM                  S/L
         property . . ..............                                                                           27.5 vrs                  VIM                 S/L
       i Nonresidential real                                                                                     39 vrs                  MM                  S/L
         property ................                                                                                                       MM                  S/ L .
                              Ce.rfinn P — A eee+fe Plnraef in CanAca 1leerinn %= Tay Vpar licinn the Aitemativa lapmociahm Svstem
   20a Class life                             " z ..•~~.v               .. •.                                                                                S/L
     b 12-year ,                                                                                                 12   rs                                     S/ L
       c 40- ear .                                                                                            ___ j0 yrs                 MM                  S /L

   21 Listed property. Enter amount from line 28 ...........................................................                                                        21
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter here and on
      the appropriate lines of your return. Partnerships and S corporations — see instructions ...................................                                  22                             8,606-
  23 For assets shown above and placed in service during the current year, enter                                                                                                             s.
      the portion of the basis attributable to section 263A costs .................. . ... 23
 BAA ' For Paperwork Reduction Act Notice, see separate instructions.                   FDR0812 06= 06                                                                               Form 4562 (2006)
                                Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 44 of 71
                                                                                                                                                Return                                                    No. 1545-012
'.   Form 1120                                                             U.S. Corporation Inc                                       T                                                              OMB ((~}
     Department of the Treasury                     For calendar year 2004 or tax year beginning ------_       ---- ,ending ------- ----------            211
     Internal Revenue Service                                                   Jo- See separate instructions.
i                                     -                   Name                                                                       B Employer Identification number


                                                             Number, street, and room or suite no. If a P.O. box, see page 9 of

i                                                             t71   rnvnrvnr Gra
                                            pool or            ity o                                               State                          ZI      de
     4 ScheduleM-3 required                 type.
1          (attach Sch. M 3)                                [FAYEZTEVILLE                                           GEORGIA                         021
     E Check it         (1) ❑      Initial return       (2) ❑ Final return (3) ❑                Name change            (4) ❑       Address change
               1 a Gross receipts or sales        1,131,1341    b Less returns and allowances          01 ( c Bal                                                                      ►
               2 Cost of goods sold (Schedule A, line 8) . . . . . . . . . . . . . . . . . . . .
               3 Gross profit. Subtract line 2 from line I . . . . . . . . . . . . . . . . . . . . . . . .
               4     Dividends (Schedule C, line 19) . . . . . . . . . . . . . . . . . .                                             . . . . . . . .
               5     Interest . . . . . . . . .                        ,                      . . ... . .                                                                      .
               6     Gross rents       . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         .
     5         7     Gross royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
               8     Capital gain net income (attach Schedule D (Form 1120)) . . . . . . . . . . . . . . . . . . . . . .
               9     Net gain or (loss) from Form 4797, Part 11, line 17 (attach Form 4797)
              10     Other income (see page 11 of instructions—attach schedule) . . . . . . . . . . . . . . . . . . . .
                                  V11,6+/'fVLJ IItIGJ J Ii IIV4 /1 IV
              12     Compensation of officers (Schedule E, line 4) . . . . . . . . . . . . . . . . . . . . . . . . . .
              13     Salaries and wages (less employment credits)                  . . . . . . . _ . . . . . . . . . .
      00      14 Repairs and maintenance . . . . . . _                 _                         . . . . . . . . . . . . .
              15 Bad debts . . . . . . . . . . . . . . .               _ _ _           .            . . . . . . . . . . . .
              16 Rents .       . . . . . . . . . . . . . . . . .                             . . . . . . . . . . . . . . .
              1T Taxes and licenses . . . . . . . . . . . . . . . . . . .                  . . . . . .     . . . . . . . . .
      0       18 Interest . . . . . . . . . . . . . . . . . . . . . . . . . . .                  . . . . . _ . . . _ . . .
              19 Charitable contributions (see page 14 of instructions for 10% limitation)           .
              20 Depreciation (attach Farm 4562)                                            . . . .     20             4,854I
              21     Less depreciation claimed on Schedule A and elsewhere on return                                                           21a                                 0
              22     Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      J
      r,      23     Advertising . . . .         . . _ . . . . . . .      . . . . . .    . . . . . . . . . . . . . . .
              24     Pension, profit-sharing, etc., plans . . . . . . . . .        . . . . . .                _                                                                                                 1
              25     Employee benefit programs                  . . . . . . . . . . . . .                          . . . . . . . . . .                  . . . . . . . .
              26     Other deductions (attach schedule) . . . . . . .                 ,                                                          .               .
              27     Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . .                                                . . . . . . . . . . . ►
              28     Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 . . .
              29     Less:     a Net operating loss deduction (see page 16 of instructions)                 29a 1            —~   01—
                                    b SDecial deductions (Schedule G_ line 20) . _ _ . . _                                     _          _I 29b 1                                 VI
              30     Taxable income. Subtract line 29c from line 28 (see instructions if Schedule C, tine 12, was completed). . .                                                             30
              31 Total tax (Schedule J, line 11) . . . .                                          . . . . .                                                                                   31
              32 Payments: a 2003 overpayment credited to 2004 . . 32a                                                   0
      a         b 2004 estimated tax payments . . . .              32b
                   c Less 2004 refund applied for on Form 4466 . 32c                         01   d Bat ► 32d                                                                  _0
                   e Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . .               32e                                                                   0
      °-           f Credit for tax paid on undistributed capital gains (attach Form 2439) . . . . .      32f                                                                   0
      m            g Credit for Federal tax on fuels (attach Form 4136). See instructions                 32                                                                       0        323
              33 Estimated tax penalty (see page 17 of instructions). Check if Form 2220 is attached . . . . . . . . ► ❑                                                                     33
              34 Tax due. If line 32h is smaller than the total of lines 31 and 33, enter amount owed                                                                                        34
              35 Overpayment. If line 32h is larger than the total of lines 31 and 33, enter amount overpaid .                                                         . . .                 35
              36 Enter amount of fine 35 you want Credited to 2005 estimated tax                                             ®                               0 Refunded ► 36
                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements,and to the best of my knowledge and belief, it is true,
                correct,and complete. Declaration of preparer (other than taxpayer) is based on all Information of which preparer has any knowledge.
           'Vn                                                                                                                                                                     May the iRS discuss this return with
     Here                                                                                                                                     RAO&                                 the preparer shown below (see
                       Signature of o                                                                       Date                               de                                  instructions)? EJYes ® No
                              Preparer's                                                                                  Date                                                             Preparers SSN or PTIN
                                                                                                                                                        Check ifself-
     Paid                     signature                                                                                        5/17/2005                em Io ed          ~             P00521819
      Preparer'S               Firm's name (or yours ACCOUNTING CONSULTANTS                                                                                                    [    EIN            XX-XXXXXXX
      Use      Only           if selfemptoyed), L PO BOX 360822                                                                                                                    Phone no_       614-258-7996
                      and address   IF COLUMBUS                                                                                            state OH                                 ZIP code       43236-0822
      For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                                                                   Form 1120 (2oo4)
     (HTA)
                     Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 45 of 71
Form 1120
                                                                              (S
  1     Inventory at beginning of year. . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                1                           u
 2      Purchases . .                                     . . . . . . .                                                                                        2                       0
 3      Cost of labor . . . . . . . . . . . . . .                   . . . . . . . . . . . . . .                                                                3                       0
 4      Additional section 263A costs (attach schedule) .     . . . . . . . . . . . . . . . . . .                                                              4                       0
 5      Other costs (attach schedule) . . . . . .               . . . . . . . . . .             . . . . . . . .                                                5                 791,906
 6      Total. Add lines 1 through 5 . . .          .                       . . . . . . . . . . . . . . . . .                                                  6                 791,906
 7      Inventory at end of year . .                                    . . . . . . . . . . . . . . . . . . .                                                  7                           0
  8 Cost of goods sold. Subtract line 7 from lime 6. Enter here and on page 1, line 2 . . . . . . . . . . . . . .                                              8                 791,906
  9 a Check all methods used for valuing closing inventory:
          (f) 1rM
               A l Cost as described in Regulations section 1.471-3
         (if) ❑ Lower of cost or market as described in Regulations section 1.471-4
        (iii) Q    Other (Specify method used and attach explanation.)                                                                                          ----
      b Check if there was a writedown of subnormal goods as described in Regulations section 1.471-2(c) . . . . .                                   . . . . . . . . .
      c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) .                                                         -       -       ❑
      d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of dosing
        Inventory computed under LIFO . . .       . . . . . . . . . . . . . . . . . . . . . . .                                              _ . . .          9d
      e If property is produced or acquired for resale, do the rules of section 263A apply to the corporation?. . . . . . . . . .                                                Yes ❑         No
      f Was there any change in determining quantities, cast, or valuations between opening and closing
        inventory? If "Yes," attach explanation . . . . . .                        . . . . . . . . . . . . . . . . . . . . . .                                             ❑    Yes El No
        ••    -            Dividends and Special Deductions (see page 18 of                                          (a) Dividends                  (b)
                                                                                                                                                          %
                                                                                                                                                                       (c) Special deductions
                        instructions                                                                                      dived                                                (a) x (b)
  1     Dividends from less-than-20%-owned domestic corporations that are subject
        to the 70% deduction (other than debt-financed stock) . . . . . . . . . . .                                                                 70%                                         0
  2     Dividends from 200/o-or-more-owned domestic corporations that are subject to
        the 80% deduction (other than debt-financed stock) . . . . . . . . . . . .                                                                  80%                                         0
  3     Dividends on debt-financed stock of domestic and foreign corporations (section 246A)                                                 see instruct.                                      0
  4     Dividends on certain preferred stock of less-than-200/6-owned public utilities                                                          42%                                             0
  5     Dividends on certain preferred stock of 20%,4-or-more-owned public utilities                                                            48%                                             0
  6     Dividends from less-than-20%/6-owned foreign corporations and certain FSCs
        that are subject to the 70% deduction . . . . . . . . . . . . . . . . . .                                                                   70%                                         0
  7     Dividends from 20%~-or-more-owned foreign corporations and certain FSCs
        that are subject to the 80% deduction . . . . . . . . . . . . . . . . .                                                                     80%                                         0'
  8     Dividends from wholly owned foreign subsidiaries subject to the 100% deduction (section 245(b)) .                                           1000/0                                      0
                                                                                                                                      gas
  9     Total. Add lines 1 through 8. See page 19 of instructions for limitation . . . . .                                                                                                      0
 10     Dividends from domestic corporations received by a small business investment
        company operating under the Small Business Investment Act of 1958 . . . . .                                                                 100%           1                            0
 11     Dividends from affiliated group members and certain FSCs that are subject to the 100% deduction                                             100%
 12     Dividends from controlled foreign corporations subject to the 85% deduction (attach Form 8895) . .                                           85%                                        0
 13     Other dividends from foreign corporations not included on lines 3, 6, 7, 8, 11 or 12
 14     Income from controlled foreign corporations under subpart F (attach Form(s) 5471)
 15     Foreign dividend gross-up (section 78) . . . . . . . . . . . . . . . . .
 16     IC-DISC and former DiSC dividends not included on lines 1, 2, or 3 (section 246(4))
 17     Other dividends . . . . . . . . . .                              . . . . . . . .
 18     Deduction for dividends paid on certain preferred stack of public utilities . . . .
 19     Total dividends. Add lines 1 through 17. Enter here and on page 1, line 4                        ►                             0
 20     Totals ecial deductions. Add lines 9 10,11 12 and 18. Enter here and on paLe i line 29b .          ►                                                                                    0
         •            Compensation of Officers (see instructions for page 1, line 12, on page 13 of instructions)
                           Mnfw^ rmmnfafa f-harii.rn F nnf f ifWaf raraink ffina fa nfus Ernes 4 fhmuoh f0 on Dane fl a►e $500.000 or rnom.
                                                                             (c) Percent of                  Percent of corporation
         (a) Name of officer             (b) Social security number          time devoted to                     stock owned                                  (f) Amount of compensation
                                                                                business              d Common              a Preferred
  1 ALLEN PENDERGRAS                          XXX-XX-XXXX                                100%                  100%                        0%                                                   0
                                                                                              0%/0                0%/0                     0°/%                                                 0
                                                                                              0%/0                0%                       0%/0                                                 0
                                                                                              Q%/0                0 %/D                    Q%/ tl                                               0
                                                                                                                                              !/
                                                                                                                  Q%~                      Q%/O                                                 Q
  2     Total compensation of officers . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           _
  3      Compensation of officers claimed on Schedule A and elsewhere on return . . . . . . . . . . .
  4      Subtract line 3 from line 2. Enter the result here and on oaae 1. line 12 . . . . . . . . . . . . . .
                                                                                                                                                                               Farm 1120 (2004)
                     Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 46 of 71
Form   1120 (2004)                                   GUISHARD_ WILBURN & SHORTS,

 1   Check if the corporation is a member of a controlled group (see sections 1561 and 1563) . . . .              .► C
     Important: Members of a controlled group, see page 20 of instructions-
 2 a If the box on line 1 is checked, enter the corporation's share of the $50,000, $25,000, and $9,925,000 taxable
     income brackets (in that order):
         0)1_ $                        01    I        (z)1$                          01 1 (3) $                       t
   b Enter the corporation's share of: (1) Additional 5% tax (not more than $11,750)              $
                                          (2) Additional 3% tax (not more than $100,000)                              t
 3 Income tax. Check if a qualified personal service corporation under section 448(d)(2) (see page 21) . . . .► C
 4 Alternative minimum tax (attach Form 4626) . . . . . . . . . . .                 . . . . . . . . . .
 5 Add lines 3 and 4 . . . . . . . . . . . . .                 . . . . . . . .           .    _          . . . . . .
 6 Foreign tax credit (attach Form 1118) . . . . . . . . . . . . . . . . . . .                    6a
   b Possessions tax credit (attach Form 5735)                                          . . .     6b
   c Check: ® Nonconventional source fuel credit ❑ QEV credit (attach Form 8834) 6c
   d General business credit. Check box(es) and indicate which forms are attached:                   IN
     ® Form 3800           M  Form(s)(specify)     ► --------------------------------- 6d
   e Credit for prior year minimum tax (attach Form 8827) . . . . . .                             6e
   f Qualified zone academy bond credit (attach Form 8860) . . .                                  6f
 7 Total credits. Add lines 6a through 6f. . . . . . .            . . . . . .        . . . . . .     . . . . . . . . .
 8 Subtract line 7 from line 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 9 Personal holding company tax (attach Schedule PH (Form 1120 ). .
10 Other taxes. Check if from:                ❑ Form 4255                Lj
                                                                         Form 8611               ❑ Fort 8697
                                                  Form 8866              Other (attach schedule)
11 Total tax. Add lines 8 throuah 10. Enter here and on oaae 1- line 31. . . . . . . . . . . .             . . . . . .

 1  Check accounting method:             a ® Cash                             7      At any time during the tax year, did one foreign person
     b F-1 Accrual c [] Other (specify)                                              own, directly or indirectly, at least 25% of (a) the total
  ® ------------------------------------------                                       voting power of all classes of stock of the corporation
                                                                                     entitled to vote or (b) the total value of all classes of stock
 2 See page 25 of the instructions and enter the:                                    of the corporation? . . . _ . . .
  a Business activity code no. ► , ---- 561440 _                                     If "Yes," enter: (a) Percentage owned          ►
  b Business activity      ► Asset Rec_over_Y .......                                and (b) Owner's country ►                                       _
  c Product or service No. Services          -                                     c The corporation may have to fife Form 5472, Information
 3 At the end of the tax year, did ------------------
                                    the corp ration                                  Return of a 25% Foreign-Owned U.S. Corporation or a
    own, directly or indirectly, 50% or more of the                                  Foreign Corporation Engaged in a U.S. Trade or Business.
    voting stock of a domestic corporation? (For rules                               Enter number of Forms 5472 attached             100-
    of attribution, see section 267(c).) . . . . . .
                                                                              8       Check this box if the corporation issued publicly offered
        If "Yes," attach a schedule showing: (a) name and                             debt Instruments with original issue discount . . . ► []
        employer identification number (EIN), (b) percentage
        owned, and (c) taxable income or (loss) before NOL                            If checked, the corporation may have to file Form 8281,
        and special deductions of such corporation for the                            Information Return for Publicly Offered Original Issue
        tax year ending with or within your tax year.                                 Discount Instruments.
 4      Is the corporation a subsidiary in an affiliated                       9      Enter the amount of tax-exempt interest received or
        group or a parent-subsidiary controlled group? .                              accrued during the tax year     ► $ ...................
        If "Yes," enter name and EIN of the parent                            10      Enter the number   of shareholders at the end of the tax
        corporation ►
                                ----------------------------
                                                                                      year(if75orfewer)        ► ------------------------- 2
 5      Sithe end of the tail year, did anyindividual, partnership, "         11      If the corporation has an NOL for the tax year and is
        corporation, estate, or trust own, directly or Indirectly,                    electing to forego the carryback period, check here          []
        50% or more of the corporation's voting stock? (For rules
        of attribution, see section 267(c).) ...            .                         If the corporation is filing a consolidated return, the
        If 'Yes," attach a schedule showing name and identifying                      statement required by Temporary Regulations section
        number. (Do not include any information already entered                       1.1502-21T(b)(3)(i) or (ii) must be attached or the
        In 4 above,) Enter percentage owned           ►        50.00%-                election will not be valid.
 6      During this tax year, did the corporation pay                         12      Enter the available NOL carryover from prior tax
        dividends (other than stock dividends and                                     years (Do not reduce it by any deduction on line
        distributions in exchange for stock) in excess of                             29a.) ► ' $................                      _---__ 76,587
        the corporation's current and accumulated earnings                    13                                             (line 1a plus lines 4
                                                                                      Are the corporation's total receipts --------
        and profits? (See sections 301 and 316.) . . . .                              through 10 on page 1) for the tax year and its total assets
                                                                                      at the end of the tax year less than $250,000? . . . . .
         If "Yes," file Form 5452, Corporate Report of
         Nondividend Distributions.                                                If "Yes," the corporation is not required to complete
                                                                                   Schedules L, M-1, and M-2 on page 4. Instead, enter the
      If this is a consolidated return, answer here for                            total amount of cash distributions and the book value of
      the parent corporation and on Form 851,                                      property distributions (other than cash) made during the
      Affiliations Schedule, for each subsidiary_                                  tax year. ► $___________________________________
Note: If the corporation, at any time during the tax year, had assets or operated a business in a foreign country or U. S. possession, it may be
required to attach Schedule N Eonn 1120), areign Operations of U.S. Corporations, to this return. See Schedule N fordetafls.
                                                                                                                                               Form 1120 (2oo4y
                        Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 47 of 71
    Form 1120 (2004)                                                     & SHORTS, LLC                                                                 2

                                                                                      of tax                                End of tax

      1 Cash . . . .                  . . . . . . _        .
      2 a Trade notes and accounts receivable . . . . . .
        b Less alkmaance for bad debts . . . . .
      3 Inventories . . .          . . . . . . . . . . . .
      4 U.S. government obligations . . . .        . . . . . .
      5 Tax-exempt securities (see instructions) . . . . . .
      6 Other current assets (attach schedule) . . . . . .
      7 Loans to shareholders . . . . . . . . . . . . .
      8 Mortgage and real estate loans
      9 Other investments (attach schedule) . . .                                                          111
     10a Buildings and other depreciable assets . . . . . .
        b Less accumulated depredation . . . . . . . . .
     11 a Depletable assets . . . . .         . _ . . . . . .
        b Less accumulated depletion          . . . . . . . .
     12 Land (net of any amortization) . . . . . . . . . .
     13a Intangible assets (amortizable only) . . . . . . . .
        b Less accumulated amortization . . . . . . . . .
     14 Other assets (attach schedule) . . . . .                                                                                                      0
                                                                                                                                               1

!    16        Accounts payable                    . . . . . . . . . .
     17        Mortgages, notes, bonds payable in less than 1 year
     18        Other current liabilities (attach schedule)
{    19        Loans from shareholders
     20        Mortgages, notes, bonds payable in 1 year or more . _
I    21        Other liabilities (attach schedule) . . . . . . . _ .
     22        Capital stock:         a Preferred stock . . . . . . .
i                                     b Common stock
     23        Additional paid4n capital                                                                                                               0
     24        Retained eamings—Appropriated (attach schedule) .
     25        Retained earnings—Unappropriated . . . .           _
     26        Adjustments to shareholders' equity (attach schedule)
     27        Less cost of treasury stock . . . . . . . . . . .

           -                  Reconciliation of Income (Loss) per Books With Income per Return (see page 24 of instructions
      1   Net income (loss) per books . . . . . . . . . . .                  2 588    7  Income recorded on books this year not
      2   Federal income tax per books . . . . . . . . .                         0       included on this return (itemize):
      3   Excess of capital losses over capital gains . _ . . .                  0       Tax-exempt interest $------------- 0
      4   Income subject to tax not recorded on books                                     --------------------------------- 0
          this year (itemize): --- ---------------
                                        -              ------- 0                         ----------------------------- ---- 0                          0
                                                               0                      8 Deductions on this return not charged
       5 Expenses recorded on books this year not                                        against book income this year (itemize).
          deducted on this return (itemize):                                           a Depreciation . . . .$......... 4,854
        a Depreciation . . . . . . . . . $ --------------                              b Charitable contributions $ ---------- --- 0
        b Charitable contributions . . . . .$
                                                 ---------- -- 0                          -------------------------------- 0
        c Travel and entertainment . . . . $              1,234
                                              ---------- -- -                             •---------------------------------00                      4,854
               --------------------------------------------0                               ---------------------------------
                                                                  0          1 234 9      Add lines 7 and 8. . . . . . . . . .                      4,854
       6       Add lines 1 throuvh 5 . . . . . . . .        . . . .          3,822 10     Income (page 1, line 28)-4ine6 less line 9               -1,032

       1       Balance at beginning of year . . . . . . . .                 -30,242   5 • Distributions:      a Cash
       2       Net income (loss) per books . . . . . . . . . . .                                              b Stock . . . . .
       3       Other Increases (itemize):                                                                     c Property . . . .
               -----------------------                         0                      6   Other decreases (itemize):
                                   -----------------------
           ----------------------------------------------                                 •-------- ---------------------------                         0
                                                             0                    0   7    Add lines 5 and 6 . . . . . . _ . .                          0
               ----------------------------------------------
       4       Add lines 1. 2, and 3 . . . . . . . . . . . .                -30.242   8    Balance at end of year (line 4 less line 7)             30,242
                                                                                                                                         Form 1120 (2oo4)
                Case
UUISHARD, WILBURN     1:17-cr-00224-AT-CMS
                  SHORTS, LLC                                Document 79-1 Filed 11/19/18 Page 48 of 71                          XX-XXXXXXX


   1 Travel, Meals and Entertainment
         a Travel . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . la                           31,567
         b Total meals and entertainment . . . . . . . . . . . . . . . . . . . . 1b                            2,467
         c 50% of line b . . . . . . . . . . . . . . .              . .        . . . . . . 1c                  1,234
         d Subtract line c from line b . . . . ..      .    . .  . .  .  . . . .  . .  . .   .   . .  .   .  .  . . 1d       1,233
   2 ------------------------------
       Auto                                                                                                           2      1,462
                                         --------------------------------------------------------------------- 3               421
   3 Bank chaWes-------- ------------------------------------------
    4 Dues and subscrip        ns                                                          _   _                      4        150
                   ------ -----------------------------------------------------------                   -             5      1,422
   5 Insu
        ----rance ---------------------------------------------------------------------------------      ---------
    6 -Office                                                                                                   ----~ 6      8, 75
        -- - supplies
                -        and_expense _ -_
                                                                                                                      7     10,953
   7 Posta-qg
          -- ---------------
   8 Print    and co                                                                                                • 8      5,059
         ---and- py------------------- ------------------------------------------------------------------ 9                 58,655
       Professional
    9 ------           fees
                --------------------------------------------------------------------------------------------
   10 Security                                                                                                        10       168
                                                                                                                             6,645
   11 ----------------------------------------------------------------------------------
       Software                                                                                    -------------- 11  12    11,723
   12 -Telephone
         --          _     - --------------------------------------------------------------------------------- 13
   13 -Utilities                                                                                                             3,615
        -- -------    -- ----------------------------------------------------- ---- -- ----------------------                5,680
   14 Business
          -        Services
                     - -                                                         ------------------- -------------
                                                    --------------------------------------------------------      ___,14
                                                                                                                            16,010
   16 Data C°llectian                                           --------------------- -------------------------' 1S          6,215
   16 Document      imaging-------------  -                                                                           16
        -------------                       ------------------------------------------------ ------------- - _ 17              115
   17 Education/Text Rooks
   18 ----
       Office Egupmenfi __                                                                                            18       704
   19 Research
                                  ------------------------------------------------------------------------- - 19             9,779
   20 Total other deductions                                           .                                   .          20   1$6,011



    1 Travel, Meals and Entertainment
         a Travel .................................... . 1a
         b Total meals and entertainment . . . . .          . . . . . . . . . . . . . . 1b
         c 50% of line b .         . . . . . . . . . . . . . . . . . . . . . . . . 1c                           0
         d Subtract line c from line b . . . . .       . . . . . . . . . . . . . . . . . . . . . . . . 1d                         0
    2 Depreciation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2                               -     -
    3 Compensation of officers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
    4 Salesperson wages and commissions . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
     5 Indirect labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
    6Rent.......................................6
    7 ---
       Amortization                                                                                                 7
          --------------------------------------------------     ---------------------- --- ------------------- 8
    8 Freight-in  ------------                  -------------------------------------------------
    9 Supplies----- ------------------------------------------------------------------------------ ------ 9
    10 Taxes                                                                                                        10
    11 Utilities                                                      ------------------------------------------ -• 11
    12                                    ---------------------------------------________-------------------' 12           762,991
       Claims exp-----------------------------------------------------------------------------------------. 13
    13 ---------
    14 Claims exp                                                                                                   14      28,915
                                                                                                                    is            0
    i5 --- - ------------------ ---:---:'----'-----__ :         - _- -_ - --------------------------                16     791,906
    16 Total other costs
    17 Reduction of expenses for offsetting credits (see attached statement) . . . . . . . . . . . . . . . 17                    0
    18 Total other costs less expenses for offsetting credits                                                  . 18        791,906


                    KU-171M           1,   i •'

    1 OTHER --------------- ------------------- ------------------ - ----- --------. 1
    2                                                                                     2
        ------------------------------------------------------------------------------- 4
    4
    5 --------------------------------------------------------------------------------• 5 6
    6
     7                                                                                    7
       --------------------------------------------•------------------------------------•
    9 ------------------------------------------------------------------------------- 9
    10                                                                                    10
                   CaseL111:26
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                                6148631773                                                                  Document
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                                                                                                                                                 of 71 06

FOM          1120                                                     U.S.Corpomdon I ncome Tax Retum


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                                                                                                                                                                                 PW

                                                                                  ,~ -                                                                       ..
                                                                     7J I ,,

                .:.0 PM*.             r    ':':r                 i
              f,-



              G:r.
                                                                          r           !            a                t:
                                                                                                                    r
         l    1'1              r4                                    ,i       .

        It   Taw           1         ..,   r       f          ,i u    , 1'        !                                                                                        .Jy
        12               of Oftem (                                           Er NO 4) . _ . . _ .   . . . . . . . . . . . . . .
        13   Saladw aid wagm (tom                                                     ) . . . . . . . .     . . - . . . . . . . .
        14 RepakswidmakUnoum ......_ .....................
        18 MW debft         ........ ....... .....I...I..
        tr T                                                                          ...                                        ...............
        It   ChafftbW                                                                                           iw t                       j
        n     DO                                   Pam 4W )                                                . . . . .                 . . .              20             8
        21                                                                            A                                  a1 Mium                       u•
        22                          ...........................__......
        Ml                           ..............  . I . . . . ...... ,
        34    PP   d W7r                               , ~w                               .    .       .    .   .   .    .   .   .    _    .   .   _   .
              ~ran
        25     C                                                              . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                  ,. '. . _   _
        27    Tatty                  M Add &M 12 }
        28    Twobis kwmw bwkw not                                        it a dpiacthm and speow oaducums. subbwA Ow 27                                          fI
        26            :         a wa opmft lass ("oL)                                         (me pap t2 ot                               ) - .. 1 2% t                    d




                J   ..._             IWZ




+"re:                                                                                                                                                                            Fam 4120y
               Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 50 of 71


1   inventory at beginning of year _ .               . . . . . '. . . . . . .            _                         1                   _ 0
2 Purchases . . . . . . . . . . . . . . . .                                            _         . ...             2                       0
3 Cost of labor . . . . . . . . . . . . .                                  . '.      ..                            3                       0
4 Additional section 263A costs (attach schedule) . _ . . . . . .                                                  4                       0
5 Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . .... . . .                         _         5            1,763,364
6 Toga#. Add lines 1through 5 . . .                                                                                ti           1,763 364
7 Inventory at end of year .              _                      . _ . . . . . . .                                 7                       0
8 Cost of goods sold. Subtract line 7 from line 6. Enter here and on line 2, page 1 . . . . . . . . 8                           1,763,364
9 a Check all methods used for valuing closing inventory.
      (V F- 1 Cost as described in Regulations section 1.471-3
     (a) F-~ Lower of cost or market as described in Regulations section 1.4714
      m EJ Other (Specify method used and attach explanation.► ______________---_----------------------------------------
  b Check if there was a writedown of subnormal goods as described in Regulations section 1.471-2(c) . . .                 . . . . i►❑
  c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach         Form   970) .               ► o
  d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of closing
    inventory computed under LIFO. . . . . . . . . . . . . . . . . . . . . . . . .                                 9d
  e if property is produced or acquired for resale, do the rules of section 263A apply to the corporation? . - - . Dyes F~No
  f Was there any change in determining quantities, cost, or valuations between opening and closing
    inventory? if "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . .                        . . . . .        QYes QNo
   - • - * Dividends and Special Deductions (see instructions                              (a) Dividends                 (c) special deductions
                                                                                                              ) '               (a) x (b)
                beginning on page 15)                                                         received
1 Dividends from less-than-20%-awned domestic corporations that are subject
    to the 70% deduction (other than debt-ftnced stack) . . . .              . . - -                        70%                                0
2 Dividends from 20%-or-more-owned domestic corporations that are subject to
    the So% deduction (other than debt-financed stock) . . . . . . . . . . . . .                            80%                                0
3 Dividends on debt4 financed stock or domestic and foreign eorporadom (swum 2468)                       see instruct.                         0
4    Dividends on certain preferred stock of ks%*tan-20%-owned public utilities   _                                       42%                          0
5    Dividends on certain preferred stock of 20%-or-more-owned public utilities _                                         48%                          0
a    Dividends from Jess-than-20%-owned foreign corporations and certain FSCs                                                _
     #rat are subject to the-70% deduction . . . . . . . . . . . . . . . . . .                                            70%                           0
7    Dividends from 20%-or-more-owned foreign corporat'sarts and certain FSCs
     that are subject to the 80% deduction . . . . . . . . .               . . . . . . .                                  80%                           0
 8   Dividends from wholly owned foreign subsrdraiiessubject to Ow IW% deduction (section 245                             100%.                         0
 9   Total, Add lines 1 through 8-See page 16 of instructions for limitation . . . . .                                                                  0
10   Dividends from domestic corporations received by a small business investment
     company operating under the Small Business Investment Act of 19W . . . . . .                                         100%                          0
11   Dividends from certain FSCs that are subject to the 100% deducUon (section 245(x)(1))                                100%                         0
12   Dividends from aftirWed group members sub)ect to the 101396 deduction (section 243(a)(3))                            100%                          0
13   Other dividends from foreign corporations not included on fines 3, 6, 7, 8, or 1 t . .
14   Income from controlled foreign corporations under subpart F (attach Form(s) 5471)
15   Foreign dividend gross-up (section 78)       _    .. . . . . . . . . . . . . . .
16   iG-DISC and former DISC dividends not included an tines 1, 2, or 3 (section 246(d))
17   Other dividends . . . _ . . . .           . . . . . . . . . . . . . . . . . .
18   Deduction for dividends paid on certain preferred stock of public utilities . . . . .
19   Total dividends, Add lines 1 through 17. Enter here and on One 4, page 1 - . - ®                                 0
20   Tatar      fal deductions. Add lines 9,10,11,12, and 18. Enter here and on line 29b,           e1                                                  0
@ME=              Compensation of Officers (see instructions for line 12, page 1, on page 10 of instnictlons)
                  nl^+a• f`n,nn/afa c..r,a, r„i C n»hw iFfnfn/ -;nM           Mina +Ya nlr,c lino, B thmwTh 117 nn nanp 'f) am SSW 000 or more-
                                                                                             Percent of corporation          M Amountof compensation
     (a) Name of officer         (b) Social security number      time devoted to
                                                                    business           (dA Common         fel Preferred
 1ALLEN PENDERGRA                     284-344                        100%                 100%                0%                                 `23.519
                                                                      0%                   0%                 0%                                       0
                                                                      0%                   0%                 0%                                       0
                                                                      0%                    0%                0%                                        0
                                                                                                               0%                                     0
 2   Total compensation of officers . . . . . . . . . . . . . . . . . . . . . . . .                                                              43,519
 3   Compensation of officers claimed on Schedule A and elsewhere on return . . . . . . . .                                                             0
 4   Subtract line 3 from line 2. Enter the result here and on line 1 page 1 _                                                                    43,519
                                                                                                                                        roan -r -14V k4wo)
                   Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 51 of 71
Form 1120 PM)                           GUiSHARD, WILBURN & SHORTS, LLC                      XX-XXXXXXX
      $ -         Tax Corn utatiion see P29e 17 of instructions
 1 Check if the corporation is a member of a controlled group, (see sections 1569 and 1563)
      Important Members of a controlled group, see instructions on page 17.
 2 a If the box on line 1 is checked, enter the. corporation's share of the $50,000, $25,000, and
       $9,925,000 taxable income brackets (in that order):
         (1)# $                 of 1           (2)1 $                                    01 1 (3)                             o
     b Enter the corporatiorfs share of.        (1) Additional 5% tax (not more than $11,750)          $                      0
                                                (2) Additionai 3% tart (not more than $100,000)        $                      0
 3     Income tax. Check if a qualified personal service corporation under section 448(d)(2) (seepage 17)               _ ► Q      .      3
 4     Alternative minimum tax (attach Form 4626) . . . ' . . . . . . . . . .                           . . .          . . .              4
 3     Add lines 3 and 4 . . . . . . . . . . . . . . . .                                                                                  5
 6     Foreign taut credit (attach Form 1118) . . . . . . . . . . . . . . 6a                                                  0
     b Possessions tax credit (attach Form 5735)                              . . _ . . 6b                                    d
     G Check: F-1 Nonconventional source fuel credit Q QEV credit (attach Form 8834) 6c                                       0,
     d General business credit. Check box(m)and indicate which forms are attached.
      [—] Form 3800 C] Form(s) (specify)                    ._____--                   _ --------      6d                     t)
  e Credit for prior year minimum tax (attach Form 8827) -.--. _ -.                                     6e                  0
  f Qualified zone academy bond credit (attach Form 8860)                                             1 6f                  0
 7 Total: credits. Add lines 6a through 6f . . . . . . . . . .                                    .              . .    . . . .           7
 8     Subtract line 7 from line 5 . . . . . . . . . . . . . .                             _ .         . .        .                       8
 9  Personal holding company tax (attach Schedule PH (Form 1120))                                                               9
10  Other taxes. Check if from:                  ® Form 4255 iJ Form 8611                       Form 8697
                                                 F-1 Form 8866 r_~ Other (attach schedule)                .........            10
11 Total tax. Add lines 8 throe h 10. Enter here and online 31 a e 1                                                        . 11
   -• -               Other Information see page 19 of instructions
 1 Check method of accounting:               a Q Cash          Yes No  7 At any time during the tax year, did one foreign person                               No
     b ❑ Accrual c Ej Other (specify)                                      own; directly or indirectly, at least 25% of (a) the total
  r=--------------------------- ------------.                              voting power of all chissesof stock of the corporation
 2 S~ page 21 of the instructians and enter the:                           entitled to vote or (b) the total value of ad classes of stock
  a Business activity oxide no. ►              561440                      of the corporation? . . . _ . . . . . . . -                  . .
  b Business activity        ► Assett3}geCvvery                            If"Yes," enter (a) Percentage owned            r'-------------
  c Product or service ► Sti;Xciii                                         and (b) Owners country b,                                      __
 3 At the end of the tact year, ct-iri @te corporation --_ _ -          c The corporation may have to file Form6472,Information -
    own, directly or indirectly, 50% or more of the                        Return of a 2596 Foreign-Owned U.S. Corporation or a
    voting stock of a domestic corporation? (For rules                     Foreign Corporation Engaged in a U.S. Trade or Business.
    of attribution, see section 267(o).) . . . . . . .             X       Enter number of Forms 5472 attached
    tf "Yes," attach a schedule snowing: (a) name and                  8 Check this box if the corporation issued publicly offered ----
    employer identification number M", (b) paiceniage                      debt instruments with original issue discount           .
    owned, and (c) taxable income or (lass) irefore NOL                    If checked, the corporation may have to file Form 8281,
    and spacial deducUons of such corporation forthe                       Information Retum for Publicly Offered Original Issue
    tax year ending with or within yourtax year.                           Discount Instruments.
 4 Is the corporation a subsidiary In an afftTtited                    9 Enter the amount of tax-exempt intefestr+eceived or
    group or a parerrt-subsidiary controlled gmup?                 X       accrued during the tax year ► $                             - __
    It -Yes; enter name and E1N of the parent                         10 Enter the number of shareholders at the end of the tau
      corporation to---------- - ---------- __---                                      year (if 76 or fewer) ® -------------------------2
      --- -------------------------                           --__-              11    if the corporation has an NOL for the tax year and is
      At the end of the tax year, did any ind- Waal- partnership,
                                            -M                                         electing to forego the carryback period, check here ►     El
       corporation, estate, or trust own,directly or indirectly,                       If the corporation is filing a consolidated return, the
       SD% or more of the corporallons voting stack! (For rules                        statement required by Temporary Regulations section
      of attribution, see section 267(c).)             ..              X               1.1502-21T(b)(3)(i) or (11) must be attached or the
       If "Yes,- attach a schedule showing name and 'uterddyire                        election will not be varrd.
      number. (Do not include any information atready entered                    12    Enter the available NOL carryover from prior tax
       in 4 above) enter percentage owned W 50.00% .                                   years (Do not reduce it by any deduction on line
 6     During this tax year,'did the corporation paydivi lends                         29a.) ► $ .                                     ___-__ 26_.870
       (other than stmt dividends and, dstnbudons in                            13     Are the corporation'S total receipts (line 1a plus lines4
       exchange forstock) in excess of the corporation's                               through 10 m page1) for the tax year and its total assets
       current and accumulated earnings and profds? (See                               at the end of the tax year less than $250,0007 . . . .
       sections 341 and 316.) . . . . . . . . . . . . .                                if "Yes," the corporation is not required to complete
       If "Yes," Me Form 5432, Corporate Deport of                                     Schedules L, M-1, and M-2 on page 4. Instead, enter the
       Nondividend Distributions.                                                      total amount of cash distributions and the book value of
       If this is a consolidated return, answer here for                               property distributions (other than cash) made during the
       the parent corporation and on Form 551,,                                        tax year_ V> $
       Affiliations Schedule, for each subsfdlary.
Note: If the corporation, at any time during the tax year, had assets or operated a business in a foreign country or U-S. possession, It maybe
 Qquirad to attach Schedule N (F'omr 1120), Foreign operations of U.S. Corporations, to this return. See Schedule N fordetaffs.
                                                                                                                                                   Form 1120 (2003)
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      1120 (200$)                            GUiSHARD. WILBURN                            LLC                              74302:                             we 4
                                                                                          2 if Question -13 on SZhedufe h
                                                                                          ;f tax near - -

  1 Cash
  2 a Trade notes and accounts receivable      . .
    b Less allowance for bad debts      . . . . .
  3 Inventories . . . . . . . . . . . . .
  4 U.S. government obligations . . . . . . .                                                                        0
  6 Tax.--exempt securities (see instructions)                                                                       0
  6 Other current assets (attach schedule)
  7    Loans to shareholders . . . . .                . .
  8 Mortgage and real estate loans . . . . .
  9 Other investments (attach schedule)
 10 a Buildings and other depreciable assets
    b Less accumulated depreciation . . . . .
 11 a Depietable assets      . . . . . . . . . . .
    b Less accumulated depletion . . . . . . .
 12 Land (net of any amortization) . . . . . .
 13 a Intangible assets (amortizable only)
    b Less accumulated amortization . . . . -
 14 ether assets (attach schedule)                                                                                   0
 15    'total assets . . . . . . . . . .                                                                  517
                                                                                                                                glg




                                                                                                                                        ~~~
       "'.lr    ~.             ter'•   ,r_    n.._
                                                              ~~~~~i




Schedule MA              •         •     •      •       •       •        d r • TIFTYPIlialm                •                      e_a    ! •              •
                                                                         m
                                                                         ~            7        income recorded an books this year
                                                                                               inctuded on this return (itemize):
                                                                                               Tax-exempt interest       $ -------------          MY


                                                                                                               isretm not charged
                                                                                               ag*inat book income this year(Itemize):
                                                                                                                                                      i
                                                                                                                                               M
                                                                                                                                               INE,

           - - • - «.                                  t~ ~
                                                          ~         i ii'%~ //j                                                          ►     j', f/ j%~%/%/
                                                                                                                                               off/i%
                                                                                                                                                             %
                                                                                                                                                             /
                                                                                                                                                         / %;fiJi
                                                                                                                                         r
                                                                                               ----------------------------------        !                     '
                                                       1                                       A.• lines 7 and

Schedule M-2'                            .. , . : a     ' -          •            •       •-
                                                                                      5        Distribi        ns.
                         0- Poo                                                                                          b Stock
                                                                                                                         c Property
                                                                                      6        Other
                           Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 53 of 71


          4562                                     Depreciation and ,amortization                                                OMB NO.
                                             (Including Information on Listed Property)                                            2403
       rMwdolMe Tre2sury                                                                                                         Attachment
                                                 ► See se rate instructions. ► Attach to yWr tax return.                              uence No. 6'
   Name(s) shown on return                           Business or activity to which this form relates              identifying number
   GUISHARD, WILBURN & SHORTS, LLC                   Assets Recover                                               XX-XXXXXXX
               Electron To Expense Certain Property Under Section 179
 I       Note: if you have any listed roe corn late Part V before You corn ete Part L
    1 Maximum amount See page 2 of the instructions for a higher limit for certain businesses . . . . . . . . .                     1
    2 Total cost of section 179 property placed in service (see page 2 of the instructions). _ . . . . . . . . .                    2
I 3 Threshold cost of section 179 property before reduction in limitation . . . . . . _ . .                                         3
 I 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0.                                               4
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. if married filing
      separately, see page 2 of the instructions                                                                                    5
                        fal Descri on of                                       b Cost business use oni               c Elected cost
 f Ei
   COMPUTER INSTALLATION                                                                                 28,505               281 50,
    7 Listed property. Enter the amount from line,29 . . . . _                                                1 7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 . . . . _ . . . . .                      8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 _ _ - -          . . . . _ . . . . . . .                           9
   10 Carryover of disallowed deduction from line 13 of your 2002 Form 4562 . . . . . . . . . . .                                  1t
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions) _ 7 ,                     Q
   12 Section 179 expense deduction. Add lines 9 and 10, but do not enter more than line 11 _                                      11              n
i 13 Ca over of disallowed deduction to 2004. Add lines 9 and 10, less line 12                            1'.1131              28 50,
   Note, Do not use Part ti or Part Ili below for listed property. instead use Part V.
I              S ecial Depreciation Allowance and other Depreciation Du not include listed property.)
   14 Special depreciation allowance for qualified property (other than listed property) placed in
      service during the tax year (see page 3 of the instructions) . . . . . . . . . . . . . . . . . . . . . . 1,4
   15 Property subject to section 168(f)(1) election (see page 4 of the instructions) . . . . . . . . . . . . . . . 1.
    9 Other depreciation(including ACRS see a e 4 of the instructions                                                           . 1(
      a        IVIACRS        nrpe~intinn inn not inerbr ~. tic#wri mm~earty 1 I.RPA nari ? 4 of the instructinnS_)

   17 MACRS deductions for assets placed in service in tax years beginning before 2003 . _ . . . . _ . . . . .
   18 If you are electing under section 168(i)(4) to group any assets placed in service during the tax
      year into one or more general asset accounts, check here                              i
                   Snriinn R , ©aarata Prarroei in Qa_ir•a nerrinm ?nr4A Tay Vmnr flainn t#iae Cprieral neoreciation Sys




                                                                                                                                                 _
          Residential                                                                                                                                r
          property
          Nonresidential                                                                 =              s►
           ro
                                                                                         r
   20 a Class life
                x                                            %%~~~lE'

           r    summa see page 6 of the instructions
   21 Listed property. Enter amount from line 28 . . . . . . . .               . . . . .      . . . . . .                         21                 0
   12 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
       Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instructions               [ 22          8,089
   [3 For assets shown above and placed in service during the current year, enter the portion
       of the basis attributable to section 263A costs                                                 . '
   For Paperwork Reduction Act Notice, see separate instuctions.                                                                   Form 4562. (2003)
  (HTA)
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Form      1120                                      U.S. Corporation Income Tax Return                                                            ON
Departmen# cr the Treasury            For calendar year 2062 or tax year beginning .__.__.__._.. __ r ending
                                         ►     Instructions are separate. See pale 26 for Paperwork Peduvffill~et_


                                                                   room or suite no. (if a P.O. box, see page
                                                                                                                                                1/1/1998
                                          or                                                                                                    s (see page
   see. 1.MH3(c)-sue
   instructions)             C]                                                        OH
E Cheek applicable boxes:         (1) LJ Irdliat rewm    (2)L J Final return    (3) L..1 Mama change       (4) U Address change        $                      561
                                                                                                                                                                , 5`13
      1 a Gross receipts or sales 1  1,290,0961 1 b Lew returns and allowances I                           I I c Bat ► 1c                                  1,290 096
      2 Cost of goods sold (Schedule A, line 8) . . . . . . . . . . . . . . . . . . . . . . . . . 1 2                                                        930,916
      3 Gross profit Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . .                        3                                 359180
      4 Dividends (Schedule C, fine 19) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            4                                        0
      5 Interest . . . . . . . . . . .                                                . . . . . . .                        5                                   1,069
      6 Gross rents . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    6                                        0
 .ra 7 Gross royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . _ . . . . .                                7                                         0
      8 Capital gain net income (attach Schedule D (Form 1120)) .                . . . . . . . . . . .                     a                                        0
      9 Net gain or (loss) from Form 4797, Part ii, line 18 (attach Form 4797) . . . . . . . . . . . .                     9                                        0
     10 Other Income (see page 9 of instructions-attach schedule) . .              . . . . . . .        . _ . . . .       10                                        0
     11 TOTAL INCOME. Add lines 3 through 10                                                                       . . ► 11                                  360,249
     12 Compensation of officers (Schedule I- fine 4)               . . . . . . . . . . . . . . . . . . .                 12                                  30,531
     13 Salaries and wages (less employment credits)                    . . . . . . . . . . .           . . . . .         13                                  64.616
     14 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 14                                     740
     15 Bad debts . . . . . . . . . . . . .                            . . . . . . . . . . . . . . . .                    15                                        0
   8 16 Rents . . . . . . . . . . . . . .                 . . . . . . . . . . . . . . . . . . . . . . .                   1`6                                  6,()60 _
     17 Taxes and licenses . . . . . .                  _            . . . . . . . . . . . . .                            17                                   4,398
     18 Interest .                                                                                  . . . . . . . .       18                                        0
     i9 Charitable contributions (see page 11 of instructions for 10% limitation) .                  . . . . . . .        19                                        0
   e 20 Depreciation (attach Form 4562) . . . . . . . . . . . . . .                            20               3 304
   j 21 Less depreciation claimed on Schedule A and elsewhere on return .                     21a                    01 21b                                    32,304
   1 22 Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 22                                        0
   ° 23 Advertising                      . . . . . .         . . . . . . . . . . . . . . . . . . . . . .                  23                                    2,179
     24 Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . .                          24                                        0
     25 Employee benefit programs                           . . . . . . . . . . . . . . . . . . . . . .                   25                                        0
     26 Other deductions (attach schedule) . . . . . . . . . . . . . . .                       . . . . . .                26                                  174,300
     27 TOTAL DEDUCTIONS. Add lines 12 through 28 . . . . . . . . . . . . . . . . .                                   . ► 27                                  317,128
     28 Taxable income before net operating loss deduction and special deductions. SuMrad line 27 from line 11 . . . .                                         43121
     29 LESS: a Net operating loss (N0Q deduction (see page 13 of kWhiccffaons) .              29a              43121
  ra                  b S cial deductions Schedule C One 20                                    29b                   0 * 29c                                    43,121
     30 TAXABLE INCOME. Subtract line 29c from line 28 . . . . . . . . . . . . . .                          _ -           30                                         0
     31 TOTAL TAX (Schedule J, line 11) .                       . . . . . .                                               31                                         0
       32      PAYMENTS: a 2001 overpayment credited to 2002      32a
            b 2002 estimated tax payments . . .           . . . 32b
      G less 2002 round applied for on Form 4466 .   32al                  0   d Bat ► 32d              0
      a Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . 32e                            0
  a   f Credit for tax paid on undistributed capital gains (attach Form 2439) . . . 32f                 0
  V   g Credit for Federal tax on fuels (attach Form 4136}. See instructions . .      . 32              0   32h                                                        0
  X 33 Estimated tax penalty (see page 14 of instructions), Check if Form 2220 is attached . . . .0-0        33                                                        0
    34 TAX DUE if One 32h is smaller than the total of lines 31 and 33, enter amount owed . . . . . . .      34                                                        0
    35 OVERPAYMENT. if line 32h is larger than the total of Ones 31 and 33, enter amount overpaid . . .      35                                                        0
    36 Enter amount of line 35 you want CREDITED TO 2003 ESTIMATED TAX ►                      0 Refunded ► r 36                                                        0
                Under panaWes of penury, ! declarethat t have examined this retum, lnduft acwmpanong schedules and statements, and to the best of my rmowiedge and belief. it
                is true, correct, end canpiete. Declaration or prepwer (offwthme topayeo is based on an information of which preparer has any lawwhx4p.
 Sign                                                                                                                                     May the RS di.toss this return with
 Here                                                                                                                                 the preparer shown below (see insirue-
           Signature of offOr                                                   Date                        Title                     tions)?      ® Yes        ❑ No
           pteparer's                                                                       Date        Cherie if self                   preparer's SSt1 or PTIN
 Paid      signature                                                                            8i14i2003'
 Preparers Firm•srrame (a                  ACCOUNTING CONSULTANTS                                                                     E►N       XX-XXXXXXX
 Use Only ifselr-employed),                PO BOX 360822                                                                              Phone no. 614 338-8258
           and address                     COLUMBUS                                                      State OH                     Zip code 43236-0822
                                                                                WA)                                                           Form 1120    (2002)               1
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     1   Inventory at beginning of year                                  . . . . . . .    . . . . . .                                            1
     2   Purchases . . . . . . .             .          . . . . . . . .         . .                                                              2                      0-
     3   Cost of tabor                  .              . . . . . .                       . . . . . .                                             3                      0
     4   Additional section 263A costs (attach schedule) . .       . . . . . . . . . . . . . . . .                                               4                      0
     5   Other costs (attach schedule)             . . . . . . . . . . . . . . . . . . . . . . .                                                 5                930,916
     6   TOTAL. Add lines 1 through 5                                    . . . . . . . . . . . .                                                 6                930,916
     7   Inventory at end of year . . . . . . .         . . . . . . . . . . .                       .                                            7                      0
     8   COST OF GOODS SOLD. Subtract line 7 from line 6. Enter here and on line 2, page 1                                                       8                930,916
     9 a Check all methods used for valuing closing inventory:
           .(7)EJ Cost as described in Regulations section 1.471-3
           (#)Q Lower of cost or market as described in Regulations section 1.471-4
             (m)Qother (Specify method used and attach explanation.)!
       t) Check if there was a writedown of subnormal goods as described in Regulations section 1.471-2(c)
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                                                 ..
       d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of closing
           inventory computed under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . 9d
       e If property is produced or acquired for resale, do the rules of section 263A apply to the corporation?                                        .. QYes ❑ No
       f Was there any change in determining quantities, cost, or valuations between opening and closing
           inventory? If "Yes," attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . ❑ Yes                                                     1:1     No
                          Dividends and Special Deductions (see instructions                                            (a) Dividends         (b) %        (d) special deductions
                          beainnina on oaae 15)                                                                            received                               fa) X/b)
     1     Dividends from less-than-20%owned domestic corporations that are subject
           to the 70% deduction (other than debt-financed stock) . . . .                                                                       70%                              0
     2     Dividends from 20%-or-mere-owned domestic corporations that are subject                      to
           the 80% deduction (other than debt-financed shock) . . . . . . . . . . . .                                                          800/0                            0
     3     Dividends on debtAiinammd stock of domestic and foreign corporations (section 24M) . . .                                        see instruct.                        0
     4     Dividends on certain preferred stock of less-than-20%-owned public utilities _ .                                                    42%                              0
     5     Dividends on certain preferred stock of 20%-or-more-owned public utilities . . .                                                    48%                              0
     6     Dividends from lessAhan-20%-owned foreign corporations and certain FSCs
           that are subject to the 70% deduction                     _ _                                                                       70%                              0
     7     Dividends from 20%-or-more-owned foreign corporations and certain FSCs
           that are subject to the 80% deduction . . . . . . . . . . . . . . . .                                                               80%                              0
     8     Dividends from wholly owned forelon subsidiaries subjectto the 100% deduction (section 245(b)) . . . .                             100°/                             0
     9     TOTAL, Add Ones 1 through 8. See page 16 of instructions for limitation . . . .                                                                                      0
    10     Dividends from domestic corporations received by a small business investment
           company operating under the Small Business Investment Act of 1958 . . . . .                                                        100%                              0
    11     Dvidands from certain FSCs that are subject to the 1000A deduction (section 245(c)(1)) . .                                         100%                              0
    12     Dividends from aftirrated group members subject to the 100% deduction (section 243(a)(3)) ..                                       100%                              0
    13     Other dividends from foreign corporations not included on lines 3, 6, 7, 8, or 11
    14     Income from controlled foreign corporations under subpart F (attach Form(s) 5471)
    15      Foreign dividend gross-up (section 78) . . . . . . . . . . . . .                                    .
    16     tC-DISC and former DISC dividends not included on times 1, 2, or- 3 (section 246(d))                                                                    i
    17     Other dividends . . . . . . . . .                              . . . . . . . . . . . . . .
    18     Deduction for dividends paid on certain preferred stock of public utilities
    19     TOTAL DIVIDENDS. Add fines 1 through 17. Enter here and on fine 4, page 1                           .►                       0
    20     TOTAL SPECIAL DEDUCTIONS. Add lines 9 10 11 1Z and 18. Enter here and on line 29b                                      1                . , i►                        0
                           compensation of ofricelis (see instructions for line 12, page 1, on page 10 of instructions)
                          Note: Comotete Schedule F onhr N total rar.P.iots (line 1a plus lines 4 through 10 on pace 1) are 5500 M0 or more
                                                                                   (c) Percent of                Percent of corporation
          (a) Name of officer              (b) Social security number             time devoted to                    stock owned                  (t) Amount of compensation
                                                                                     business                  Common          a Preferred
     1     ALAN PENDERGRA                         XXX-XX-XXXX                          100%                   100%               100%                                     30 531




      2      Total compensation of officers . . . . . . . . . . . . . . . . . . .          _                                                                             30,531
      3      Compensation of officers claimed on Schedule A and elsewhere on return . . . . . .                                                                               0
      4      Subtract line 3 from line 2. Enter the result here and on line 12, page 1                                                                                   30,531
                                                                                                                                                     Form 1120            (2002)



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                       ran vvris u..®e.r.,rr      t .aya
                                                    , J66                 Yr
  I   Check if the corporation is a member a  of     controlled group (see sections 1561 and 1563)                       .► R
      Important: Members of a controlled group, see instructions on page 17.
  2 a If the box on line 1 is checked, enter the corporation's share of the $50,000, $25,000, and
      $9,925,000 taxable income brackets (in that order):
         (1)1 $                         0` 1                (2)1 $                     04   1 (3) $                           0
   b Enter the corporation's share of: (1) Additional 5% tax (not more than $11,750)          1 $                 0
                                        (2) Additional 3% tax (not more than $100,000)         Fs                 0
  3 Income tax. Check if a qualified personal service corporation under section 448(d)(2) (see page 17)        ►❑                      3                        0
  4 Alternative minimum tax (attach Form 4626) . . . . . . . . . . . . . . . . . . . . .                                               4                        0
  5 Add lines 3 and 4 . . . . . . . . . . . . . . . . . . . . .                                         . . . . .                      5                        0-
  6 Foreign tax credit (attach Form 1118) . . . . . . . . . . .                                 6a                0
   b Possessions tax credit (attach Form 5735) .                                                6b                0
   C Check: ❑ Nonoonventional source fuel credit          ® QEV credit (attach Form 8834) 6c                      0
   d General business credit. Check boxes) and indicate which forms are attached.
     ❑ Form 3800 ❑ Form(s) (specify)            ►                                               6d                0
-  e Credit for prior year minimum tax (attach Form 8827) . . . . . . . . 6e                                      0
   f Qualified zone academy bond credit (attach Form 8860) . . . . . . . 6f                                       0
  7 TOTAL CREDITS. Add lines Be through 6f . . .                               . . . . . . . .                      _                  7                 -~     0
  8 Subtract line 7 from line 5 . . . . . . . . . . . . . . . . . . . . . . . .                                                        8                        0
  9 Personal holding company tax (attach Schedule PH Form 1120)) . . .                                                                 9                        0
 10 Other taxes. Check if from:            [:]Form 4255           F1 Form 8611                 ❑ Form 8697
                                                        Form 8866 ®Other (attach schedule)                      ............              10                     0
  11 TOTAL TAX. Add lines 8 through 10. Enter here and on line 31 pNe 1                                                                . 11                      0
                        Other Infoffnation (see                  19 of instructions)
  1 Check method of accounting:                a ❑ cash           Yes Nu           7 At any time during the tax year, did one foreign person              Yes    No
       b ❑X, Accrual c ❑ Other (specify)                                               own, directly or indirectly, at lest 25% of (a) the total
    ►                                                                                  voting pourer of all classes of stock of the corporation
  2 Seepage 21 of the instructions and enter the:                                      entitled to vote or (b) the Mat value of all classes of stock
    a Business activity code no. ►               561440                                of the corporation? . . . . . . . . . . . . . . . .                        X
    b Business activity         ► Asset Recovery                                       if `Yes," enter_ (a) Percentage owned         ►
    c Product or service ► Services                                                    and (b) Owner`s country ►
  3 At the end of the tax year, did the corporation                                  C The corporation may have to file FORM 5472, Information
      own, directly or indirectly, 50% or more of the                                  Return of a 25% Foreign-Owned U.S. Corporation or a
      voting stock of a domestic corporation? (For rules                               Foreign Corporation Engaged in a U.S. Trade or Business.
      of attribution, see section 267(c).) . . . . . . .                    X          Enter number of Forms 5472 attached ►
      If "Yes," attach a schedule showing: (a) name and                            8 Check this box if the corporation issued publicly offered
      employer identification number (EIN), (b) percentage                             debt Instrunw is with original Issue discount . . . ► ❑
      wined, and (c) taxable income or (losm) before Not                               if checked, the corporation may have to file FORM 8281,
      and special deductions of such corporation for the                               Information Return for Publicly Offered Original Issue
      tax year ending with orwithin yourtax year.                                      Discount Insbuments.
  4 Is the corporation a subsidiary in an affiliated                               9 Enter the amount of tax-exempt interest received or
      group or a parent-subsidiary controlled group?                        X          accrued during the tax year ► $
      If "Yes," enter name and EIN of the parent                                  10   Enter the number of shareholders at the end of the tax
      corporation ►                                                                    year (if 75 or fewer) ►
                                                                                  11 if the corporation has an NOL for the tax year and is
  5 At the end ob the tax year, did any individual, partnership,                       electing to forego the carryback period, check here ►
      corporation, estate,or trust own, directly or indirectly,                        If the corporation is filing a consolidated return, the
      50% or more ofthe corporation's voting stock? (Far rules                         statement required by Regulations section 1.150221
       of attribution, sea section 267(c).) . . . . . . . . .               X          (b)(3)(i) or (ii) must be attached or the election wig
      If "Yes," attach a schedule showing name and identifying                         not be valid.
       number. (Do not include any information already entered                    12 Enter the available NOL carryover from prior tax
       in 4 above.) Enter percentage owned ►                                           years (Do riot reduce it by any deduction on line
  6 During this tax year, did the corporation pay dividends                            29a.) ► $                                                57,660
       (other than stock dividends and dWbutions in                               13   Are the corporation's total receipts (line 1a plus fines 4
       exchange for stock) in excess of the corporation's                              through 10 on page 1) for the tax year AND its total assets
      current and accumulated earnings and profits? (See                               at the end of the tax year less than $250,0007 . . . . . .                 X
      sections 301 and 316.) . . . . . . . . . . . . .                      X          If "Yes," the corporation is not required to complete
       If "Yes," file FORM 5452, Corporate Report of                                   Schedules L, M-1, and M-2 on page 4. Instead, enter the
       Nondividend Distributions.                                                      total amount of cash distributions and the book value of
        if this is a consolidated return, answer here for                               property distributions (other than cash) made during the
       the parent corporation and on FORM 851,                                         tax year. ► $
        Affiliations Schedule, for each subsidiary.
 Note: if the corporation, at any tine drning the tax year, had assets or operated a business Ina fmaign country or U.S. possession, it maybe
 required to attach SCHEDULE N (FORM 1120), Foreign Operations of U.5 Corporations, to figs return. See Schedule N for decals.
                                                                                                                                           Form 1120            (2002)
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                  -     Balance Sheets er Books                              tax year                           End of tax year _
                          Assets
 1 Cash . . . . . . . . . . . . . . . . . .
 2 a Trade notes and accounts receivable . . . . .
   b Less allowance for bad debts . . . . . . .
 3 Inventories . . . . . . . . . . . . . . .
 4 U S. government obligations . . . . . . . .
 5 Tax-exempt securities (see instructions)
 6 Other current assets (attach schedule)
 7   Loans to shareholders . . . . . . _ . . .
 8 Mortgage and real estate loans                  .
 9 Other investments (attach schedule) . . . . .
10 a Buildings and other depreciable assets
   b Less accumulated depreciation . . . _ . . .                                                                                    s• +
11 a Depletable assets . . . . . . . .               .
   b Less accumulated depletion . . . . . . . . .
12 Land (net of any amortization) . . . . . . . .
13 a Intangible assets (amortizable only) . . _ . . .
   b Less accumulated amortization . . . . . . .                                                 +
14 Other assets (attach schedule) . . . .          .
15 Total assets . . . . . . . . . . .
        Liabilities and Shareholders' Equity
16    Accounts payable . . _ . . . . . _ . . .
17    Mortgages, motes, bonds payable in less than 1 year .
18    Other current liabilities (attach schedule)
19    Loans from shareholders . . .                          .                                                                             I
20    Mortgages, notes, bonds payable in 1 year or more .
21    Other liabilities (attach schedule) . . . . . . ..
22    Capital stock          a Preferred stock . . . . .                                                                K
                             b Common stock . . . . .
23    Additional paid-in capital         .       .         .                                                                          000
24    Retained earnings - Appropriated (attach schedule) .                                                                            837
25    Retained earnings - Unappropriated . . . .               .                                                                      771
26    Adjustments to shareholders equity (attach schedule)
27    Less cost of treasury stock . . . . . . . . . .                                                                                   0
28    Total liabilities and shareholders' equity                                                                                      513
                         Reconciliation of Income (Los
  1  Net income (loss) per books . . . . . . . . .                  1 7        Income recorded on books this year not
  2  Federal income tax per books . . . . . . . . .                 0          included on this return (Itemize):
  3  Excess of capital losses over capital gains . . . .            0          Tax-exempt interest      $               0
  4  Income subject to tax not recorded on books
     this year (itemize):                            0                                                                                     0
                                                     0                   8     Deductions on this return not charged
  5 Expenses recorded on books this year not                                   against took income this year (demize):
     deducted on this return (itemize):                                      a Depreciation . . . . $
   a Depreciation . . . . . . . . s                                          b Ctmft 1e+carditutions $                 0
   b Charitable contributions          .$          350                                                                 0
   c Travel and entertainment           $            0
                                                     0                                                        0                            0
                                                     0             350   9     Add lines 7 and 8 . . . . . . . .                           0
  6 Add Fines 1 through 5 .
                         Analysis of Unappropriated fi
  1    Balance at beginning of year . . . . . . . . .               01 5        Distributions:  a Cash        .
  2    Net income (loss) per books . . . . . . . . .                1                           b Stock _ . . . .
  3    Other increases (itemize):                                                                c Property     ..
                                                                         6      Other decreases (itemize):
                                                                                                                                           0
                                                             0      0    7      Add lines 5 and 6 . . . . . . .                            0
  4    Add lines 1, 2 and 3 .                                       1    8      Balance at end of year (line 4less line 7)   1      42,771
                                                                                                                        Fomt 1120    (2w2)
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Form

(Rev. March 2002)                                        •   r     •            rA    r          .e      • •-                                2002
Department of the Treasury                                                                                                                 Attachment Seq. No.
Internal Revenue Service (W                                                                                                                       67
Names) shown on return                            Business or activity to which this form relates             Identifying number
NATIONAL UNCLAIMED FUNDS                          Asset Recovery                                              XX-XXXXXXX
          Election To Expense Certain Tangible Property Under Section 179
      Note: if you have any Wed~ro~erty complete Pert V b®fore You complete Part f.
 1 Maximum amount. See page 2 of the instructions for a higher limit for certain businesses
 2 Total cost of section 179 property placed in service (see page 2 of the instructions).         . - . . - .         -
 3 Threshold cost of section 179 property before reduction in limitation . . . . .
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . . . . . .
 5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-_ if married filing
    separately, see page 2 of the instructions                                                                                   51     24.000
                     a Description of                                     b   Cost   sines  use  2D               a  Elected ca
 6
Office Furniture                                                                                      4,582                   4 582
 7 Listed property. Enter the amount from line 29 . . . . . .               . . . . . . . . .              7
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 . . . . . . . . . . .
 9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . .                        - -
10 Carryover of disallowed deduction from line 13 of your 2001 Form 4562. . . . . • . . . . . . . .                            1 101 1.290.096
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions)
12 Section 179 expense deduction. Add lines 9 and 10, but do not enter more than line 11 . .
13 Carryover of disallowed deduction to 2003. Add lines 9 and 10, less line 12 . . . . . . . f-            131           1,270
Note. Do not use Part It or Part Flt below forested ro         Instead use Part V.
          Special Depreciation Allowance and Other Depreciation (Do not include listed property)
14 Special depreciation allowance for qualified property (other than listed property) placed in
     service during the tax year (seepage 3 of the instructions)      _                          . . . . . .              -
15 Property subject to section 168(f)(1) election (seepage 4 of the instructions)         .     . . . . . . . . .
16 Other depreciation(Including ACRS see page 4 of the instructions
           MACRS Depreciation (Do not include listed properly (See page 4 of the instructions.)
                                                                   Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2002 . . . . . . . . . . . .
18 If you are electing under section 168(i)(4) to group any assets placed in service during the tax
     year into one or more general asset accounts, check here . . . . . . . . .
                       x~ ~r•7rl-ice=F ~;EJ U •:   NEW"1~a Ei RIrNltl•    lri= ~F-?`~'(xitrf-3li ~fail'~c ital l!• ia ~~yN Fi d[•I i+1'
                                                                         ffmr _ .,        .        -



                                                       IFM



       -            property


           Residential renta
             .. -
           Nonresidential                                                                                                                                        1
           property




             tsununa         see page 6 of the instructions
  21 Listed property. Enter amount from line 28 .              . . . . . . . . . . . . . . .                                       .       21L            1 332
  22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21_
       Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instructions                          22 632
  23 For assets shown above and placed in service during the current year, enter the portion
       of the basis attributable to section 263A-costs _                                              [23
 (EFTA) For Paperwork Reduction Act Notice, see separate instructions.                                                                    Form 4562 (2002)
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                 t.J.7cFru    r•VjA'rq%Y    1 111VIuuv Out—COUVI—Y          ' v.r. aa••t vyi..+•     --        —,   .,..,......    ....     ".—   w,   v ........... .s...,,..........,    --..-

                 property used for entertainment, recreation, or amusement.)
                 Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete
                 2r& 24a, 24b, columns (a) through (c) of Section A, all of Section 8, and Section C if applicable.
Section A -Depreciation and Other Information Caution: See pagge 8 of the instructions for limits for passenger automobiles.
24a Do you have evidence to support the busines%finvestment use claimed?       fX Yes ❑ No 241b if "Yes;' is the evidence written?      L^1 Yes ❑ No
          (a)                 (b) Date I (c) Business!                   (d)   I (e) easistor     (t?            (g)            (h)         (h) Elected
    Type of properly           plard           imrestment use          Cast or    depreciation Recover•!      liAethodi    Depreciation     section 179


 25 Special depreciation allowance for qualified listed property placed in service during the tax
    Year and used more than 50% in a qualified business use fsee page 7 of the instructions) . 25 _ _                                                                          0




 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, Pagel
 29 Add amounts in column oil. tine 26- Enter here and online 7. oaae 1
                                                      Section 8 - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles to
your empiuyees, tics[ answer me quesuons in Eton r.: ro see tt         rneer an exoepwn w         Unq uus secuon rot muse venuaGs.
 30 Totai twsinessnavestment miles driven during                  (a)              (b)             ic)              (d)              (e)                M
      the year (do not include commuting miles -               Vehicle t         Vehicle 2      Vehicle 3        Vehicle 4        Vehicle 5          Vehicle 6
    see page 2 of the instructions) . . . . . .
 31 Total commuting miles driven during the year .
 32 Total other personal (noncommti ing)
    miles driven . . . . . . . . . . . . . .
 33 Total miles driven during the year,
    Add lines 30 through 32 . . . . . . , .                                            0                       0                       01               0                      0                        0
 34 Was the vehicle available for personal                               'Yes     No        Yes           No        Yes           No        Yes    No        Yes          No              Yes      No
      use during off-duty hours? . . . . . . . .
 35 Was the vehicle used primarily by a more than
      5% owner or related person? . . . .                     .
 36 Is another vehicle available for
      personal uses
                    lea    n (a - tAuestions ror Empioyers Who Provicie< vehicies for use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who
are not more than 5% owners or related persons (see pace 8 of the instructions).

 37 Do you maintain a mitten policy statement that prohibits all personal use of vehicles, including commuting,
      by your employees? . . . . . . . . . . . . . . . . . . .                                                 . . . . . . . . . . . . .                                   .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your employees?
    See page 8 of the instructions for vehicles used by corporate officers, directors, or t % or more owners                 .
 39 Do you treat all use of vehicles by employees as personal use? . . . . . . . . . . . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain Information from your employees about
    the use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . . .                     .
 41 Do you meet the requirements concerning qualified automobile demonstration use? (See page 9 of the instructions.)
      X1..6...    WtIA../    .......u..rM O7 00 96 An ..r 1l:.. "t1...     J......6 ..ww.wf..f... G•....f.'ww O F _ __ ..w..,..wJ ..w4:wi....




 43 Amortization of •        began before your 2002
                                          .
 44 Total. Add amounts in column (f). See--page 9 of the instructions for whqreAq_~ —                                                                  . ._ . _._—
                                                                                                                                                                                   Form 4562       (2=)
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E

    Line      (Form 1120) - Other Deductions
   1 Travel, Meals and Entertainment
        a Travel _-_--------                                                                                    is   97,063
                                          ---_-                                                                       3,481
  2 Bank charges                 _        _                                                                      2
  3 Cash Discounts ------------------------------ ------- -----------------------------------------• 3                   50
   4 Claims_Expense --- ------------.___                                                                         4   17,137
                                             ------------------------------------------ - -----------_                1,476
   5 Dues and Subscriptions_ --__-___                                                     --------------   _-_   5
   6 -------------------------------------------------------------------------------------------
      Insurance                                                                                         _ __ 6          198
   7 Mail                                                                                                        7    7,740
  a Of Tice _Suppiies----------------------------------------------------------------------------------- 8           16,014
   9 Professional Fees                                              ---------------------------------------. 9        15,931
  10 --
      Printing
        ----     and Reproduction---               ------------------------- _------------------------------- 10       2,493
                                                                                                                         221
  11 Security-------------           -------------                   ------------------------------------- -,11
  12 Telephone                                                                                      ------___ 12      10,498
- 13 -•Ues
        tiliti ----------    __ -----------------------------------------------------                           13     1,398
  14 Total other deductions                                                             -_--_-- -             . 14   174,300


    1 Travel, Meals and Entertainment
        a Travel . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1a
        b Total meals and entertainment . . . . . . . . . . . . . . . . . 1b
        c 50% of line b . . . . . . . . . . . . . . . . . . . . . . . 1c                     0
        d Subtract line c from line b . . . . . . . . . . . . . . . . . . . . . .              1d                         0
    2 Depreciation . . . . . .         . . . . . . . . . . . . . . .              . . . . . . 2
    3 Compensation of officers . . . . . . . . .       . . . . . . . . . . . .                  3                             -
    4 Salesperson wages and commissions . . . .       . . . . . . . . . . . .                   4
    5 Indirect labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
    6 Rent . . . . . . . . . . . . . . . .           . . . . . . . . . . . .                    6
    7 Amortization                                                                                              7
     8 Freight-in
                  ---------------------------------------------------------------------------------------. 8
     9 Supplies
                 ----------------------------------------------------------------------------------------- 9
    10 Taxes                                                                                               10
    11 Utilities                                                                                           11
    12 ------------------
       Cast of Goods Sold                                                                                            930,916
                          -------------------------------------------------------------------------------' 12
    13                                                                                                     13
    14                                                                                                     14
    15 -------------------                                                                                 15             0
       -------------------------------
    16 Total other costs                                                                        -_       _ 16        930,916

    Line 9, Sch L (Form 1120) - Other
    1 Stocks                                                                               1
        ------------------------------------------------------------------------------
    3                                                                                      3
         ------------------------------------------------------------------------------
    5                                                                                      5
      -------------------------------------------------------------------------------
    7 ------------------------------------------------------------------------------- 7
    8                                                                                       a
    10
        -------------------------------------------------------------------------------
                                                                            10
    11 Total other investments - - - - - - - - - - - - - - - - - - - - - - - -
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Form   1120                                                              Corporation Income Tax Return                                                                             OMB No. 1545-0123
          at
Mpartment of the Treasury                           For calendar year 2001 or tax year beginning ............... , ending ...............
                                                     P.         Instructions are se arate. See pa22 20 for PaE2rwork Reduction Act Notice.
                                                                                                                                                                                       2001
                                             Name                                                                                    B Employer identification number
                                            NATIONAL UNCLAIMED FUNDS                                                                                        XX-XXXXXXX
                                            Number, street, and room or suite no. (if a P. 0. box, see page 7,)                                           C Date incorporated
                                            6760 TOSSING ROAD                                                                                                          111/199$
                                ~-_--       City or town                            State                    ZIP code                                     D Total assets (see page 8
       see ns ruc Ions                      REYNOLDSBURG                            OH                       43068                                       1 of instructions)
  E Check applicable boxes:                 (1)F_~Initial return            (2) r_~Final return         (3) n     Name change           (4)      Address change               $                114,284
        1a     Gross receipts or sales           2,209,6641 b Less returns L           of       c Balance   ►                                                                     1c         2,209,664
        2      Cost of goods sold (Schedule A, line 8)       . . . . . . . . . . . . . . . . . . . . . .                                                                          2          2,025,237
 t       3     Gross profit. Subtract line 2 from line 1c                  . . . . . . . . . . . . . . . .                                                                        3            184,427
 n       4     Dividends (Schedule C, line 19) . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                              4                  0
 C       5     Interest . . . . . . . . . . . .                                           . . . . . . . . .                                                                       5                  0
 0       6     Gross rents . . . . . . . . . . . . . . . . . . .               . . . . . . . . . . .                                                                               6             1,526
 m       7     Gross royalties . . . . . . . . .                         . . . . . . . . . . . . .                                                                                7                  0
  e      8     Capital gain net income (attach Schedule D (Form 1120)) . . . . . . . . . . . . . . . . .                                                                          8                    0
         9     Net gain or (loss) from Form 4797, Part II, line 18 (attach Form 4797) . . . . . . . . . .                                                                         9                    0
        10 Other income (see page 8 of instructions - attach schedule) . . . . . . . . . . . . . . . .                                                                            10                   0
        11 Total income. Add lines 3 through 10                                                                                                         .110, 11 1                             185,953
        12 Compensation of officers (Schedule E, line 4) . . . . . . . . . . . .                                                        . . . . . . . .       12                                54,519
        13     Salaries and wages (less employment credits) . . . . . . . . . . . . . .                                                                                           13           101,423
        14     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                  14            10,890
        15     Bad debts . . . . . . . . . . .          . . . . . .              . . . . . . . . . . .                                                                            15                 0
  D     16     Rents . . . . . . . . .                                            .           . . . .                                                                             16             8,250
  e     17     Taxes and licenses . . . . . . . . . . . . . . .               . . . . . . . . . . . .                                                                             17 1          84,558
  d     18     Interest              . . . . .                                                                                                                                    18                 0
  u     19 Charitable contributions (see page 10 of instructions for 10% limitation) . . .                                                                  , . .                 19                   0
  C      20 Depreciation (attach Form 4562) . . . . . . . . . . . . . . . . . .                                                                 20               11,872
  It     21 Less depreciation claimed on Schedule A and elsewhere on return                                                                   I 21a 1                    0 21b                   11,872
  (      22    Depletion . . . . . . . . . . . . . . . .            . . . . . . . . . . . . . . . . . .                                                                           22                  0
  o      23    Advertising . . . . . . . . . . . .           . . . . . . . . . . .    . . . . . .    . .                                                                          23 1              596
  n      24    Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           24                  0
  S      25    Employee benefit programs . . . . . . . . . . . . . . . . . .           . . . . . . . . .                                                                          25             19,943
         26     Other deductions (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . .                  26                                                                          450 894
         27     Total deductions. Add lines 12 through 26                      . . . . . . . . . . . . . . ► 27                                                                                 746,945
         28     Taxable income before NOL deduction and special deductions. Subtract line 27 from line 11 . . . .   28                                                                         -560,992
         29     Less: a Net operating loss (NOL) deduction (see page 13 of instructions) .        29a             0
                      b Special deductions Schedule C, line 20                         29b 1                                                                             0 29C                        0
         30 Taxable income. Subtract line 29c from line 28       . . . . . . . . . . . . . . .                                                                              34                 -560,992
  T      31 Total tax (Schedule J, line 11) . . .     . . . . . . .   . . . . . . . . . . . . . . .                                                                         31                        0
  a      32 Payments:
  x          a 2000 overpayment credited to                      32a
             b 2001 estimated tax payments . .                   32b
  P          c Less 2001 refund applied for on Form 4466 . 32c                     0                                        d Bal ►            32d                        0
  a          e Tax deposited with Form 7004 . . . . .                                                                                          32e                        0
  y          f Credit for tax paid on undistributed capital gains (attach Form 2439)                                                           32fi
  m           g Credit for Federal tax on fuels (attach Form 4136). See instructions . . . . . . 32g                                                                      0 32h                        0
  e      33 Estimated tax penalty (see page 14 of instructions). Check if Form 2220 is attached . . . .                                                                           33                   0
  In     34 Tax due. If line 32h is smaller than the total of lines 31 and 33, enter amount owed . . . . . . .                                                                    34                   0
   t     35 Overpayment. If line 32h is larger than the total of lines 31 and 33, enter amount overpaid . . . . .                                                                 35                   0
   s     36 Enter amount of line 35 you want: Credited to 2002 estimated tax ►                         Refunded ►                                                                 36                   0
                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief,
                t is true, correct, and complete. Declaration of preparer (oth er than ttayer)
                                                                                         axpayer) is based on all information of which preparer has any knowledge.
 Sign                                                                                                                                                                                   .—
                                                                                                                                                                May the IRS discuss this return
 Here                       +                                                                                                                                   with the preparer shown below (see
                    Signature of officer        A
                                                                                                Date                            Title                           Instructions)? QYes E]No

                    Preparer's                                                                                  Date                    I Check if self-            Preparer's SSN or PTIN
 Paid               sl nature                                                                                      9/18/2003             em to ed           X
 Preparer's Firm's name                    ACCOUNTING C                           A                                                                             1EIN                   XX-XXXXXXX
 Use Only           (or yours)             P.O. BOX 360822                                                                                                      1 Phone no.            614-338-8258
                    and address            COLUMBUS                                                                         State OH                            IZIP code              43236-0822
                                                                                                (HTA)                                                                                   corm i iwu ttw-i)
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                                                                                                                              31-161

 I   Inventory at beginning of year . .             .   .   . .   .   .   .                             .   .   . .   .   .   .   .                 1
 2 Purchases                           . . . . . . . . . . . . . . . . . . . . . . . . .                                                            2                        0
3 Cost of labor . . . . . . . . .           . . . . . . . . . . . . . . . . . . . . . .                                                             3                        0
4 Additional section 263A costs (attach schedule) . . . . . . . . . . . . . . . . . . . .                                                           4                        0
5 Other costs (attach schedule) . . . . . . . . .            . . . . . . . . . . . .                                                                5                2,025,237
8 Total. Add lines 1 through 5 . . . . .         . . . . . . . . . . . . . . . . .                                                                  8 1              2,025,237
7 Inventory at end of year . . .                       . . . .         . . . . . .      . . . . . .                                                 7                        0
8 Cost of goods sold. Subtract line 7 from line 6. Enter here and on line 2, page 1 . . . . , . . . . .                                             8                2,025 237
9a Check all methods used for valuing closing inventory:
     (i)QCost as described in Regulations section 1,471-3
       (V)[]Lower of cost or market as described in Regulations section 1.471-4
       (iii)[]Other(Specify method used and attach explanation,)                                            W                          -----------------------------
 b   Check if there was a writedown of subnormal goods as described in Regulations section 1.471-2(c) .                                     .   .   .    .          Q
                                                                                                                                                                    W
 c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                                            _         WEI
 d If the LIFO inventory method was used for this tax year, enter percentage (or amounts) of closing
   inventory computed under LIFO . . . . . . . . . . .               . . . . . . . . . .                                              . .           9d
 e' If property is produced or acquired for resale, do the rules of section 263A apply to the corporation? . . QYes            ❑ No
 f Was there any change in determining quantities, cost, or valuations between opening and closing inventory?
    If "Yes," attach explanation . , . . . , .          . .           . . . . . . . .         . . . . . . . .     E] Yes       ❑ No
Schedule C Dividends and Special Deductions                                         I    (a) Dividends  I (b) o/6    (c) Special deductions

 1 Dividends from less4han-20%-owned domestic corporations that are subject to
   the 70% deduction (other than debt-financed stock) . . . . . . . . . . . . . . ..                                                        70%                               0
 2 Dividends from 20%-or-more-owned domestic corporations that are subject to
   the 80% deduction (other than debt-financed stock) . . . . . . . . . . . . . . ..                                                        80%                               0
 3   Dividends on debt-financed stock of domestic and foreign corporations (section 246A)  ..                                         See instruct.                            0
 4   Dividends on certain preferred stock of less-than-20%-owned public utilities . . . _ . _                                             42%u                                 0
 5 Dividends on certain preferred stock of 20%-or-more-owned public utilities . . . .   .,                                                  48%                               0
 6 Dividends from less-than-20%-owned foreign corporations and certain FSCs
   that are subject to the 70% deduction . . . . . . . , . .        . . . . . . . . . .                                                     70 %                               ❑
 7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs
   that are subject to the 80% deduction . . . .     . . . . . . . . . .           . . . .                                                  80%                                0
 8    Dividends from wholly owned foreign subsidiaries subject to the 100% deduction (section 245(b))                                       100%                               0
9 Total. Add lines 1 through 8. See page 16 of instructions for limitation         ,,                                                                                          ❑
10 Dividends from domestic corporations received by a small business investment
   company operating under the Small Business Investment Act of 1958 . . . . . . . ..                                                    100%                                  0
 11 Dividends from certain FSCs that are subject to the 100% deduction (section 245(e)(1)) . . . .                                          100%             1                 0
12 Dividends from affttiated group members subject to the 100% deduction (section 243(a)(3))     ..                        100%                       0
13 Other dividends from foreign corporations not included on lines 3, 6, 7, 8, or 11
14 Income from controlled foreign corporations under subpart F (attach Form(s) 5471)
15 Foreign dividend gross-up (section 78) . . , . . .            . . . . . . . . . . . . ..
16 IC-DISC and former DISC dividends not included on llnes 1, 2, or 3 (section 246(d))           ..
17 Other dividends . . . . . . . .             . . . . . . . .         . _ . . . . . . . . ..
18 Deduction for dividends paid on certain preferred stock of public utilities , . . . . . ..
19 Total dividends. Add lines 1 through 17. Enter here and online 4, page 1                        ®                     0
20 Total special deductions. Add lines 9 10 11 12, and 18. Enter here and on line 296 a e 1                                       ®                   C
Schedule E Compensation of Officers                                 (See instructions for line 12, page 1.)
                 Note: Gom iete Schedule E oni it totai recei is line 1a plus lines A+mrou n iu on pagei. rorm rr2u are aow vuu ur mure.
                                                                   (c) Percent of              Percent of corporation
    (a) Name of officer            (b) Social security number      time devoted to                  stock owned            (f) Amount of compensation
                                                                       business            d Common          a Preferred
 1 ALLEN PENDERGRA                      XXX-XX-XXXX                     100%                 100%              100%                              54,519




  2 Total compensation of officers . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                     54,519
  3 Compensation of officers claimed on Schedule A and elsewhere on return  . . . . . .                                                                                         0
  4 Subtract line 3 from line 2. Enter the result here and online 12 page 1             J                                                                                54,519
                                                                                                                                                                 Form 1120 (2001)
                              Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 63 of 71
       1120 (2001)                                          NATIONAL UNCLAIMED FUNDS                                                       XX-XXXXXXX                                              Pace 3

  1q ChecR if the corporation is a member of a controlled group (see sections 1561 and 1563) . . . .       D
     Important. Members of a controlled group, see instructions on page 16.
 2a If the box on line 1 is checked, enter the corporation's share of the $50,000, $25,000, and $9,925,000
     taxable income brackets (in that order):
       (1) 1 $                         1             (2) 1 $                     J    (3) ' $
   b Enter the corporation's share of:   (1) Additional 5% tax (not more than $11,750)       $                                                                          0
                                                         (2)     Additional 3% tax (not more than $100,000)                          L$                                 0
  3 Income tax. Check if a qualified personal service corporation under section 448(d)(2)              ► ❑                                                                    3                           0
  4 Alternative minimum tax (attach Form 4626)             . . . . . . . . . .        . . . . . . . . . .                                                                     4                           0
  5 Add lines 3 and 4 . . . . . . . . . . . .            . . . . . . . . .                                                                                                    5                           0
 6a Foreign tax credit (attach Form 1118) . . . . . . .                                     6a                                                                          0
   b Possessions tax credit (attach Form 5735)                                  . .         6b                                                                          0
   c Check:          0
                   Nonconventional source fuel credit ❑ QEV credit (attach Form 8834)       6c                                                                          0
   d General business credit. Check box(es) and indicate which forms are attached.          6d                                                                          0
        Form 3800        Q Form(s) (specify)
   e Credit for prior year minimum tax (attach Form 8827)                        . . . .    6e                                                                          0
   f Qualified zone academy bond credit (attach Farm 8860)                                [6!                                                                           0
  7 Total credits. Add lines 6a through 6f . . . . . . . . . . . . . . . . .             . . . . . . . . . .                                                            .     7                           0
  8 Subtract line 7 from line 5 . . . . . . . . . .           . . . . . . . . . . . . . . .                                                                                   8                           0
  9 Personal holding company tax attach Schedule PH Form 1120)) .                   . . . . . . . . .                                                                         9                           0
 10      Other taxes. Check if from:                  U Form 4255                   F] Form 8611                    ❑     Form 8697
                                                  ❑ Form 8866                ❑ Other (attach schedule) .               . . . . . . .                        10                                            0
 11 Total tax. Add lines 8 through 10. Enter here and on line 31, page 1                                                       _                      . 11                                                0
Schedule K Other Information                                           (See page 19 of instructions.)
  1 Check method of accounting: a ® Cash
      b F ] Accrual c E-] Other (specify)                                                       If this is a consolidated return, answer here for the parent
                                                                                                corporation and on Form 851, Affiliations Schedule, for
  2 See page 21 of the instructions and enter the:                                              each subsidiary.
   a Business activity code no.                    561440
   b Business activity            ASSET RECOVER                                            7 At any time during the tax year, did one foreign person
   C Product or service           SERVICES
                                    _._. .................. .--                                  own, directly or indirectly, at least 25% of (a) the total
  3 At the end of the tax year, did -----
                                        the corporation      _- _-----                           voting power of all classes of stock of the corporation
     ow,m, directly or Indirectly, 50% or more of the                                            entitled to vote or (b) the total value of all classes of stock
     voting stock of a domestic corporation? (For rules                                          of the corporation? . . . . . . . .                                         .                        0
     of attribution, see section 267(c).) . . . . .                                             If "Yes," enter: (a) Percentage owned
     If "Yes," attach a schedule showing: (a) name and                                           and (b) Owner's country            - __.-_ ,-
     employer identification number (EIN), (b) percentage                                     c The corporation may have to file Form 5472, Information
     owned, and (c) taxable income or (loss) before NOL                                          Return of a 25% Foreign-Owned U.S. Corporation or a
     and special deductions of such corporation for the                                          Foreign Corporation Engaged in a U.S. Trade or Business.
     tax year ending with or within your tax year.                                               Enter number of Forms 5472 attached
  4 Is the corporation a subsidiary in an affiliated
     group or a parent-subsidiary controlled group?                                         8    Check this box if the corporation issued publicly offered
     If "Yes," enter name and EIN of the parent                                                  debt instruments with original issue discount . . . . ❑
     corporation                                                                                 If checked, the corporation may have to file Form 8281,
                                                                                                 Information Return for Publicly Offered Original issue
  5 At the end of the tax year, did any individual,                                              Discount Instruments.
     partner- ship, corporation, estate, or trust
      own, directly or indirectly, 50% or more of the                                       9 Enter the amount of tax-exempt interest received or
      corporation's voting stock? (For rules of                                                  accrued during the tax year                           _ .......... _.._..--
      attribution, see section 267(c).) . . . . . . .                              X
     If "Yes," attach a schedule showing name and                                          10 Enter the number of shareholders at the end of the tax
         identifying number. (Do not include any information                                                 year (if 75 or fewer)
         already entered in 4 above.) Enter percentage
        owned       _ _.._ ..,..___._.  - . ,,. ,.. _ _ ..                        11 If the corporation has an NOL for the tax year and is
   6    During this tax year, did the corporation                                      electing to forego the carryback period, check here
        pay dividends (other than stock dividends                                      If the corporation is filing a consolidated return, the
        and distributions in exchange for stock)                                       statement required by Regulations section
        in excess of the corporation's current                                         1.1502-21(b)(3)(i) or (ii) must be attached or the election
        and accumulated earnings and profits?                                          will not be valid.
        (See sections 301 and 316.)                                         X     12 Enter the available NOL carryover from prior tax years
        If "Yes," file Form 5452, Corporate Report of                                  (Do not reduce it by any deduction on line
        Nondividend Distributions.                                                     29a•)       $ ....._.__---..-..._...-.........._...._.___ ........... ...._.._.--._...._......._.
 Note: If the corporation, at any time during the tax year, had assets or operated a business in a foreign country or U.S. possession, it may be
 required to attach Schedule N (Form 1120), Forelon Operations of U.S. Corporations,_ to this return. See Schedule N for details,
                                                                                                                                                                                           Form 1120 (2001)
                                    Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 64 of 71
                                                                                                                      UNCLAIMED                                                                                                       4
Schedule_ L                      Balance Sheets per Books                                                                                        of tax year                      I               End of tax
       15                Assets
 4
  1 Cash               . . . . . . . . . . . . . . .
 2a Trade notes and accounts receivable  .
  b Less allowance for bad debts . . . . . . . .   .
 3 Inventories . . . . .      . . . . . . . . . . . .
 4         U. S. government obligations . . . . . . .         .
 5         Tax-exempt securities (see instructions) . . . . .
 6         Other current assets (attach schedule) . . . . .
 7         Loans to shareholders . . . . . . . . . . . . .
 8         Mortgage and real estate loans       . . . . .
 9         Other investments (attach schedule) . . .      . . .
10a Buildings and other depreciable assets . . . . .                                                                                   _
  b Less accumulated depreciation . . . . . . .      .
11a Depletable assets . . .                            .
   b Less accumulated depletion . . . . . .
12 Land (net of any amortization)
13a Intangible assets (amortizable only) . . . . . . .
  b Less accumulated amortization . . . . . . . . .
14 Other assets (attach schedule)           . , . . . . .
 15 Total assets .
                       Liabilities and Shareholders' Equity
 16        Accounts payable . . . . . . . . . . . . . . .                                                                                                                                                                             W
 17 Mortgages, notes, bonds payable In less than 1 year . . .
 18 Other current liabilities (attach schedule) . . . . .
 19        Loans from shareholders .              . . .
 20        Mortgages, notes, bonds payable In 1 year or more
 21        Other liabilities (attach schedule)
 22        Capital stock:      a Preferred stock . . . . . . . .
                               b Common stock . . . . . . . .
 23        Additional paid-in capital . . . . . . . . . . .
 24        Retained earnings - Appropriated (attach schedule) . . .
 25 Retained earnings - Unappropriated . . . . . . .                                                                                                                         -4,653                                             21,360
 26         Adjustments to shareholders' equity (attach schedule) . .                                                                      j                                                                                          0
 27         Less cost of treasury stock . . . . . . . . . .                                                                                                                                                                           0
 28 Total liabilities and shareholders' equity                                                                                                                              126,613                                            114,284
Note: The corporation is not required to complete Schedules M-1 and M-2 if the'                                                            ets on line_ 15, col. (d).of Schedule L are less than $25,000.
Schedule M-1 Reconciliation of Income (Loss er Books                                                                                       ncome per Return                  I X ICheck to comptete Sch M1 & M2
  1     Net income (loss) per books                                                                                                        2 7 Income recorded on books this year not
  2     Federal income tax per books                                                                     .                                 0    included on this return (itemize):
  3     Excess of capital losses over capital gains                                                                                        0    Tax-exempt interest                  $_         . .......
  4     Income subject to tax not recorded on books this                                                                                       _......_............ _....._............., -------_ .........-.
        year (itemize):      _..........._........................................ --- ._._........ -                                                --------------------                                        0                     0
                                                                                                        0                                  0 8 Deductions on this return not charged
     5 Expenses recorded an books this year not                                                                                                 against book Income this year (itemize):
        deducted on this return (itemize):                                                                                                    a Depreciation             $        11,872
      a Depreciation . . . . . . , . . . $                                            ...... ... ...........                                      b Charitable contributions $                             0
      b Charitable contributions . . . . . $ ----..............__....__._0..                                                                        nnisc.........................                     a Aso
      c Travel and entertainment                                                                     33
                                                                                                                                                                                                                                 14 633
                                  _........... ....__                             _....                                 .....
                                                                                                ..._..._...-.._----- 8'-~  . 1.                  _..._.........------- ...-- .............__._._0..
                                                                                                                                           13 9 Add lines 7 and 8 . . . . . . . .                                                14,633
             ._.._......__._.....                   -._. --                        --           _.. ...._.......,
     6      Add lines 1 through 5 -----                                                                                                    i9 10 Income fine 28, pale I)-line 6 less line 9                                    -560,992
Schedule M-2 Analysis of Unappropriated Retained Earn                                                                                      er Books Line 25 Schedule L
 1 Balance at beginning of year . . . . .                                                                                                  i3l 5 Distributions:                       a Cash .                       .
     2       Net income (loss) per books . . . . . . . . . . .                                                                             )5                                         b Stock                    .
     3       Other increases (itemize):                                                                                                                                               c Property                 .
            _...................... .............. ......... ........_ ....._..........._..._...----..........---_........._......~.             6 Other decreases (itemize):
                                                                                                                                                                                                                                       0
                                                                                                                                            0 7 Add lines 5 and 6 . . . . . . . .                                                      0
     4       Add lines 1, 2, and 3 . . . . . . . . . . . . .                                                                               i8 8 Balance at end of year (line 4 less line 7)                                      -54,458
                                                                                                                                                                                                                         Form 1120 (2001)
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    Form   8594                                          a            i


•   (Rev. July 1598)                                                          Section
    Department of the Treasury                                                                                                        Attachment Sequence No.
                                                                                                                                                61
    Name as shown on return                                                                                Identification number as shown on return
    NATIONAL UNCLAIMED FUNDS                                                                              131-1613327

    Check the box that identifies you:                   L_^_.I Buyer                                     =Seller
    Part I         General Information                   To be completed by all filers.
      1    Name of other party to the transaction                                                             Other party's identification number

                 HARD WILBURN &                                                                               XXX-XX-XXXX
           Address (number, street, and room or suite no.)
           6760 TUSSING ROAD
           City or town                                                                           State                              ZIP code

      2    Date of sale                                                                                        3 Total sales price
              2/1/2001                                                                                    1               25,000
    Part II        Assets Transferred                        To be completed by all filers of an original statement.
      4            Assets            Aggregate Fair Market Value Actual Amount for Class I                             Allocation of Sales Price

    Class 1                      $

    Class 11                     $                                                                             $

    Class III                    $                                                                             $

    Class IV and V               $                                                                             $

    Total                       $                  0                                                     $               0
     5 Uld the buyer and seller provide for an allocation of the sales price in the sales
          contract or in another written document signed by both parties?                              =Yes                ® No
          If "Yes," are the aggregate fair market values listed for each of asset Classes I, 11, 111, IV and V the amounts
         agreed upon in your sales contract or in a separate written document?                         =Yes                =No
     6 In connection with the purchase of the group of assets, did the buyer also purchase a license or a covenant not
         to compete, or enter into a lease agreement, employment contract, management contract, or similar arrangement
         with the seller (or managers, directors, owners, or employees of the seller)?                 =Yes                ONo
          If "Yes," specify (a) the type of agreement, and (b) the maximum amount of consideration (not Including interest) paid or to
          be paid under the agreement. See the instructions for line 6.


                                           Type of Agreement                                                       Maximum Amount of Consideration




     For Paperwork Reduction Act Notice, see Instructions.                          (HTA)                                              Form 8594 (Rev. 7-98)
                                Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 66 of 71
Form     4562                                     Depreciation and Amortization                                                     OMB No. 1545.0172


(Rev. Match 2002)                            (Including Information on listed Property)                                                2001
Department of the Treasury                                                                                                          Attachment Seq. No.
Internal Revenue Service (99)
                                                    See separate Instructions. Attach to your tax return.                                  67
Name(s) shown on return                             Business or activity to which this form relates              Identifying number
NATIONAL UNCLAIMED FUNDS                            ASSET RECOVERY                                              131-1613327
Part I        Election To Expense Certain Tangible Property Under Section 179
         Note: If you have anv listed mmnertv_ cmmnlete Part V before you comnlete Part 1.
1 Maximum amount. See page 2 of the instructions for a higher limit for certain businesses . . . . . . . . . . 1                               24,000
 2 Total cost of section 179 property placed in service (see page 3 of the instructions), . . . . . . . . . . . . 2                                 0
 3 Threshold cost of section 179 property before reduction in limitation . . . . . . . . . . . . . . . . . . . 3                              200,000
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . . . .                  4                      0
5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
   separately, see page 3 of the instructions                                                                                5 1                    000
                   a Description of property                               (b)Cost business use only)         c Elected cost
 6    Equipment                                                                                       16,976           16 976
                                                                                                                              0
 7 Listed property. Enter the amount from line 29                                                          7                  0
 8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7                                      8                  16,976
 9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . 9                                     16,976
10 Carryover of disallowed deduction from line 13 of your 2000 Form 4562. . . .                                             10                       0
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions)       11                       0
12 Section 179 expense deduction. Add lines 9 and 10, but do not enter more than line 11                                     12                      0
13 Carryover of disallowed deduction to 2002. Add lines 9 and 10, less line 12                             13          16,976
Note: Do not use Part ll or Part 111 below for listed r roverty. Instead, use Part V.
Part II Special Depreciation Allowance and Other Depreciation Do not include listed property.
14 Special depreciation allowance for certain property (other than listed property) acquired after
   September 10, 2001 (see page 3 of the instructions) . . . . . . . . .                 . . . . . . . . . . . . . . 14                                   0
15 Property subject to section 168(f)(1) election (see page 4 of the instructions) . . . . . . . . . . . . .                 15
16 Other depreciation(including ACRS see page 4 of the instructions                                                         16                    5,400
Part III MACRS Depreciation (Do not include listed orooertv.) (See page 4 of the instructions.)

17 MACRS deductions for assets placed in service in tax years beginning before 2001 . . . . . . . . . . . . 17                                   3,443
18 If you are electing under section 168(i)(4) to group any assets placed in service during the tax
    year into one or more general asset accounts, check here
                 Sontinn R - Ansats Planarl in Sarvina nurinn 2(101 Tax Year Usina the General Depreciation Svstem
                                                       (b) Month and (c) Basis for (d) Recovery           (e)             (f)               (g)
            (a) Classification of property               year placed   depreciation      period      Convention        Method          Depreciation
                                                          in service bus(nessfinvestmen                                                 deduction
19 a 3-year property                                                                                                                                 o
    b 5-year proRerty                                                                                                                                0
    c 7-year property                                                           21,200            7       HY       1200db                        3,029
    d 10-year property                                                                                                                               0
     e 15-year propeq                                                                                                                                0
     f 20-year property                                                                                                                              0
       25-year property                                                                  25 Yrs.                         S/L                         0
     h Residential rental                                                               27.5 vrs, I       MM              S/L
       property                                                                         27.5 vrs.         MM              S/L                        0
     i Nonresidential real                                                               39 yrs.          MM              S/L                        0
         roe                                                                                              MM              S/L
               Section C - Assets Placed in Service During 2001 Tax Year Using the Alternative Depreciation System
20 a Class life                                                                                                           S/L                        0
     b 12-year                                                                           12 yrs.                          S/L                        0
     c 40-year                                                                           40 vrs.          MM              S/L                        0
tart iv Summary (bee page 6 of the instructions.)
21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . .                                              . . . 1211              0
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
     Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instruction                                  1
 23 For assets shown above and placed in service during the current year, enter the portion
     of the basis attributable to section 263A costs                                                          . 23
For Paperwork Reduction Act Notice, see separate instructions.                                      (HTA)                Form 4562 (2001) (Rev. 3-2002)
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Form
   e
       8594                                                     a
                                                                     f         •        Mlri=-
                                                                                             11

(Rev. July 19%)
                                                                                           Ir
Department of the Treasury                                                                                                         Attachment Sequence No.


Name as shown on return                                                                               Identification number as shown on return
NATIONAL UNCLAIMED FUNDS                                                                            1 XX-XXXXXXX

Check the box that identifies you:                  ®       Buyer                                             Seller
Part I         General Information                     To be completed by all filers.
  1    Name of other party to the transaction                                                            Other party's identification number

       GUISHARD WILBURN & SHORTS LLC                                                                1284-54-5344
       Address (number, street, and room or suite no.)
    6760 TUSSING ROAD
    City or town                                                                            State                                 ZIP code
    REYNOLDSBURG                                                                            OHIO                                  43229
  2 Date of sale                                                                                          3   Total sales price
         2/1/2001                                                                                    1                 25.000
Part II        Assets Transferred                      To be completed by all filers of an original statement.
  4           Assets             Aggregate Fair Market Value Actual Amount for Class I                            Allocation of Sales Price

Class I                      $                                                                            $

Class II                     $                                                                            $

Class III                    $                                                                            $

Class IV and V               $                                                                            $

Total                        $                     0                                                      $                  0
  5 Did the buyer and seller provide for an allocation of the sales price in the sales
        contract or in another written document signed by both parties?                              =Yes                         (^     a No
        If "Yes," are the aggregate fair market values listed for each of asset Classes I, Ii, 111, IV and V the amounts
       agreed upon in your sales contract or in a separate written document?                         =Yes                         =No
  6     In connection with the purchase of the group of assets, did the buyer also purchase a license or a covenant not
       to compete, or enter into a lease agreement, employment contract, management contract or similar arrangement
       with the seller (or managers, directors, owners, or employees of the seller)?    riYes                  ~    No
        If "Yes," specify (a) the type of agreement, and (b) the maximum amount of consideration (not including interest) paid or to
        be paid under the agreement. See the instructions for line 6.



                                       Type of Agreement                                                      Maximum Amount of Consideration




 For Paperwork Reduction Act Notice, see instructions,                        (HTA)                                                    Form 8594 (Rev. 7-98)
                             Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 68 of 71

Form
    e
         QQ61                                            Welfare-to-Work reit                                                          2001
Department of the Treasury                                                                                                        Attachment Sequence No.
Internal Revenue Service
                                                              Attach t0 your return.                                    107
Name(s) shown on return                                                                             Identifying number
NATIONAL UNCLAIMED FUNDS                                                                                       XX-XXXXXXX
Part I Current Year Credit
  1 Enter on the applicable line below the qualified first- or second-year wages paid or incurred
      during the tax year and multiply by the percentage shown for services of employees who are
      certified as long-term family assistance recipients and who began work for you before January
      1, 2002. Members of a controlled group, see instructions.

   a   Qualified first-year wages . . . . . . .                                            $             10,000 X 35% (,35)          1a          3,500
   b   Qualified second-year wages . . . . . . . . . . .                                   $              5,000 X 50% (.50) 1b                   2,500
   2   Current year credit. Add lines 1a and 1b. You must subtract this amount from your deduction for
       salaries and wages . . .                                                                                            . . . .    2          6,000
                                                   If you are a- Then enter total of welfare-to-work credits from-
  3 Welfare4o-Work                             a Shareholder Schedule K-1 (Form 1120S), lines 12d, 12e, or 13
        credits from                           b Partner            Schedule K-1 (Form 1065), lines 12c, 12d, or 13
        pass-through                           c Beneficiary        Schedule K-1 (Form 1041), line 14
        entities                               d Patron             Written statement from cooperative . . . . . . . . . .            3
  4 TOTAL CURRENT YEAR WELFARE-TO-WORK CREDIT. Add lines 2 and 3. (S corporations,
        partnerships, estates, trusts, cooperatives, regulated investment companies, and real estate
        investment trusts, see instructions.) . . . . . . . . . . . . . . . . . . . . .                                               4          6,000
Part 11 Tax Liability Limit                   See WHO MUST FILE FORM 3800 to find out if you complete Part 11 or file For 3800.)
  5 Regular tax before credits:
     * Individuals. Enter the amount from Form 1040, line 40
     * Corporations. Enter the amount from Form 1120, Schedule J, line 3; Form 1120-A,
        Part 1, line 1; or the applicable line of your return                                     . . . . . . . . . . .               5               0
     * Estates and trusts. Enter the sum of the amounts from Form 1041, Schedule G, lines 1 a
        and 1 b, or the amount from the applicable line of your return
  6 Alternative minimum tax:
     * Individuals. Enter the amount from Form 6251, line 28
     * Corporations. Enter the amount from Form 4626, line 15 . . . , . . . . . . . .                                                 6               0
     * Estates and trusts. Enter the amount from Form 1041, Schedule I, line 39
   7 Add lines 5 and 6 . . . . . . . .                     . . . . . . . . . . . . . . . .                              . . . . . 7                   0
  Ba Foreign tax credit                            . . . . . . . . . . . .                                      _ 8a               0
   b Credit for child and dependent care expenses (Form 2441, line 9) . . .                                        8b              0
   c Credit for the elderly or the disabled (Schedule R (Form 1040), line 20)                                      8c              0
  d Education credits (Form 8863, line 18) . . . . . .                       . . . . . . . . . . .                 8d              0
  e Rate reduction credit (Form 1040, line 47) .                                          . . . . . . .            8e              0
   f Child tax credit (Form 1040, line 48) . . . . . . . . . . . . .                           . . . . . . 8f                      0
   g Mortgage interest credit (Form 8396, line 11) . . . . . .                      . . . . _ .            _       8g              0
   h Adoption credit (Form 8839, line 14) . . . . . . . . . . . . . .                              . . . . . 8h                    0
   i    District of Columbia first-time homebuyer credit (Form 8859, line 11)                                      8i              0
   j Possessions tax credit (Form 5735, line 17 or 27) . . . . . . . . . . . .                                     8'              0
   k Credit for fuel from a nonconventional source                    . . . . . .                              _ 8k                0
   I     Qualified electric vehicle credit (Form 8834, line 20) . . . . . .                                        81              0
  m Add lines 8a through 81 . . . . . . . . .                                    . . . . . . . . . . .                . . . . . . 8m                  0
   9 Net income tax. Subtract line 8m from line 7. If zero, skip lines 10 through 13 and enter -0- on line 14                         9               0
  10 Tentative minimum tax (see instructions):
      * Individuals. Enter the amount from Form 6251, line 26
      * Corporations. Enter the amount from Form 4626, line 13                         . . . . . , . . , 10                        0
      * Estates and trusts. Enter the amount from Form 1041, Schedule I, line 37
  11 Net regular tax. Subtract line 8m from line 5. If zero or less, enter -0- . . . . . . . 11                                    0
  12 Enter 25% (.25) of the excess, if any, of line 11 over $25,000 (see
         instructions) . . . . . . . . . . . . . . . .                                         . . . . .           12              0
  13 Enter the greater of line 10 or line 12 . . . . . . . . . . . . . . . . . . . . . . . . . . . 13                                                  0
  14     Subtract   line 13 from line 9. If zero or  less,  enter -0-  .  .   .  . .  .  .  .  .   .   .  .  .   . .  .  .     . . .  14              0
  15 WELFARE-TO-WORK CREDIT ALLOWED FOR THE CURRENT YEAR. Enter the SMALLER of
         line 4 or line 14 here and on Form 1040, line 50; Form 1120, Schedule J, line 6d; Form
         1120-A, Part I, line 4a; Form 1041 Schedule G, line 2c; or the applicable line of your return                                15               0
 For Paperwork Reduction Act Notice, see page 3.                                                 (HTA)                                  Form 8861 (2001)
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NATIONAL UNCLAIMED FUNDS •                                                                                            31-1 61 3327


                         1    !        I-•    414101AR

1 Travel, Meals and Entertainment
     a Travel . . . . . . . . .                                                          . . . . . . . . 1a          136,194
     b Total meals and entertainment                          . . . . . . . . . . . 1b                17,266
     c 50% of line b                               . . . . . . . . . . . . . . . 1c                    8,633
     d Subtract line c from line b . . . . . .       . . . . . . . . . . . . . .       .  . .          . . . 1d        8,633
 2 Auto                                                                                                         2      1,799
 3 ----------
   Bank charges_ - _              -------------------------------------------------------------------------- 3             9
 4 Accaunting______________                                                                        _____---- 4         6,827
 5 Commissions                                                    ------------------------------------------ 5        80,170
6 Dues and subscriptions                                                                                        6      3,088
 7 Eguip mentraat--------------- - ---- ---- -- - -------- -- ---- -------- -- - ------ --•-- ---- -- 7                  495
 8 ----------------------
   Insurance                                                                                                     8     1,802
                           ---------------------------------------
 9 Legal and Professional                                  ------------------------------------------------- 9        38,431
10 ------------------------------------------------------------------------------------------------------
   Outside Services                                                                                             10     5,851
11 Office sup lies and ex ense                                                                            _-- - 11    24,346
12 Postage--- ---------------------------                                                                       12    13,383
13 Print and copy .                                                                                             13     5,097
   ------------           -- _ ------------------ ---------------------------------------------------------
14 Payroll Processing      -          - _                                                                       14     1,430
15 Professional Research                                                                                        15     7,709
16 Security_________________                                                                                    16       538
17 Data Expense --- -                                                                                           17    42,461
                                 ----- ------ - ---- - -- -- ----- ---------- - -- ----- -- --- - ---- -- 18          28,506
18 Title Exam
   --- --- -- --------------------------------------------------------------------------------------                  23,360
19 Telephone
           --                                                                                           _ _ 19
20 Utilities                                                                                                    20     4,690
21 Utilities - Other                                                                                _           21    16,075
22 Total other deductions                                                                                - .22       450,894_ _ _
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              N vu                 Mail             Call,          Processing           Paid                Invalid            Total
Claims          697                993              608                46               15                   i 111            14606
Worth     $42,080,484.07      $43,6401257.40   $20,0320 278.70    $1,065;906.42     $3,237,066.30    $373:,860,616.34    $483,906,609.23




              0=3.. _E)a,ys      31-60 Days        61-9a Days -         91420 bays             121-180 Days             Qver. i8Q Days
 Claims            0                                        0                4                       0                       2
                                                                                                                             _:.1.
 Worth           $0.00              $0.00              $0.00                $0.00                   $0.00               "$486,623,33
                          Case 1:17-cr-00224-AT-CMS Document 79-1 Filed 11/19/18 Page 71 of 71




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EXHIBIT NO.            DETAILS                         PARAGRAPH   PAGE   AMT PAIT-OUT TO CLIENTS


EXHIBIT A              NUF 2001 US CORP TAX RETURN                                        2,025,237
EXHIBIT B              NUF 2002 US CORP TAX RETURN                                          930,096
EXHIBIT C              GWS 2002 US CORP TAX RETURN                                        2,530,080
EXHIBIT D              GWS 2003 US CORP TAX RETURN                                        1,763,364
EXHIBIT E              GWS 2004 US CORP TAX RETURN                                          791,906
EXHIBIT F              GWS 2006 US CORP TAX RETURN                                          811,212
EXHIBIT G              GWS 2007 US CORP TAX RETURN                                          619,783
EXHIBIT H              GWS 2008 US CORP TAX RETURN                                          478,511
EXHIBIT I              GWS 2009 US CORP TAX RETURN                                          616,712
EXHIBITJ               GWS 2002 US CORP TAX RETURN                                                  0
EXHIBIT K              GWS 2002 US CORP TAX RETURN                                                  0
EXHIBIT L              GWS 2002 US CORP TAX RETURN                                          427,835
TOTAL OF CLAIMS PAID                                                                     10,994,736
EXHIBIT M              CLAIM STATUS REPORT 2004-2010
